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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


    MIGUEL COCA, et al.,

                 Plaintiffs,
                                                      Case No. 6:22-cv-01274-EFM-RES
          v.

    CITY OF DODGE CITY,

                 Defendant.



     PLAINTIFFS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

        Plaintiffs filed this lawsuit under Section 2 of the Voting Rights Act (“VRA”), 52 U.S.C.

§10301, and 42 U.S.C. § 1983. 1 On February 26, 2024, the Court held a five-day bench trial on all

claims. The Court thereafter instructed the parties to submit their proposed findings of fact and

conclusions of law. Plaintiffs respectfully request that the Court make the following findings of

fact and conclusions of law and enter judgment in Plaintiffs’ favor.




1
 Plaintiffs’ claim under the Equal Protection Clause of the Fourteenth Amendment to the U.S.
Constitution was dismissed during trial following Defendant’s Motion for Judgment on Partial
Findings. Order, Doc. 200. Plaintiffs maintain their claims under Section 2 of the VRA and 42
U.S.C. § 1983.
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                                          FINDINGS OF FACT

     I.    Parties

           1.        Plaintiff Alejandro Rangel-Lopez is a resident of Dodge City, Kansas. Mr. Rangel-

Lopez identifies as Latino/Hispanic, 2 is a citizen of the United States, and is over the age of

eighteen. 3

           2.        Mr. Rangel-Lopez was born and raised in Dodge City, Kansas, 4 and is a first

generation Mexican-American. His parents immigrated to the United States in the 1990s. 5 Mr.

Rangel-Lopez attended Dodge City schools for pre-kindergarten through high school. 6

           3.        Mr. Rangel-Lopez lives within Dodge City limits on the west side, south of

Comanche Street, 7 and is registered to vote in Dodge City, Kansas. 8 He has voted in every election,

including for the Dodge City Commission, since he registered to vote in 2018, 9 and plans to vote

in future elections. 10




2
 Plaintiffs have previously used the term “Latine” as a gender-neutral substitute for Latino. For
accuracy in citations to the transcripts of the trial testimony, Plaintiffs use “Latino” and/or
“Hispanic” in this filing.
3
    Trial Tr. Vol. I, 7:6–7 (Rangel-Lopez); Stipulation of Facts and Exhibits, Doc. 178 ¶ 8.
4
    Id. at 7:21–8:3 (Rangel-Lopez).
5
    Id. at 7:21–8:3 (Rangel-Lopez).
6
    Id. at 7:21–8:6 (Rangel-Lopez).
7
    Id. at 7:2–5 (Rangel-Lopez); Stipulation of Facts and Exhibits, Doc. 178 ¶ 11.
8
    Trial Tr. Vol. I, 7:8–11 (Rangel-Lopez); Stipulation of Facts and Exhibits, Doc. 178 ¶ 9.
9
    Trial Tr. Vol. I, 7:12–18 (Rangel-Lopez); Stipulation of Facts and Exhibits, Doc. 178 ¶ 10.
10
     Trial Tr. Vol. I, 7:19–20 (Rangel-Lopez); Stipulation of Facts and Exhibits, Doc. 178 ¶ 10.


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          4.      Mr. Rangel-Lopez is employed by Loud Light, an organization dedicated to youth

civic engagement. He is a campaign manager for Loud Light’s New Frontiers project, helping

youth in southwest Kansas become more civically involved in order to advocate for issues they

care about. 11

          5.      Plaintiff Miguel Coca is a resident of Dodge City, Kansas. He identifies as

Latino/Hispanic, is a citizen of the United States, and is over the age of eighteen. 12

          6.      Mr. Coca was born and raised in Dodge City. He first lived in a trailer park called

Lazy Acres in south Dodge City, 13 and now lives on the east side. 14 He has always lived south of

Comanche Street. 15 Mr. Coca attended public school in Dodge City, specifically Beeson

Elementary, Comanche Intermediate, Dodge City Middle School, and Dodge City High School.16

          7.      Mr. Coca has voted in every Dodge City Commission election since 2019 and plans

to vote in future elections. 17

          8.      Defendant is the City of Dodge City, Kansas, a municipal entity capable of being

sued under Kansas state law.




11
     Trial Tr. Vol. I, 11:22–12:6 (Rangel-Lopez).
12
     Stipulation of Facts and Exhibits, Doc. 178 ¶ 3.
13
     Trial Tr. Vol. III, 121:9–23 (Coca).
14
     Id. at 126:12–19 (Coca); Stipulation of Facts and Exhibits, Doc. 178 ¶ 5.
15
     Id. at 126:21–25 (Coca).
16
     Id. at 124:21–125:5 (Coca).
17
     Id. at 129:23–130:10 (Coca); Stipulation of Facts and Exhibits, Doc. 178 ¶ 7.


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 II.      Plaintiffs’ Experts

          9.      Plaintiffs introduced expert testimony from four individuals, whose qualifications

and expertise are discussed below.

          A. Dr. Matthew Barreto

          10.     Dr. Matthew A. Barreto is a tenured Professor of Political Science and Chicano

Studies at the University of California, Los Angeles. 18 Prior to his appointment at the University

of California, Los Angeles, Dr. Barreto was a tenured professor at the University of Washington. 19

          11.     Dr. Barreto holds a Ph.D. from the University of California, Irvine, a Master of

Science from the University of California, Irvine, and a B.A. from Eastern New Mexico University.
20



          12.     He is also a cofounder and faculty director of the Latino Policy and Politics Institute,

and the cofounder and director of the UCLA Voting Rights Project 21 and is also affiliated with the

Chicano Studies Research Center and Center for the Study of Los Angeles at Loyola Marymount

University. 22




18
     Dr. Barreto CV, Ex. 111 at 1.
19
     Id. at 1; Trial Tr. Vol. II, 41:8–13 (Barreto).
20
     Dr. Barreto CV, Ex. 111 at 1.
21
     Id. at 1; Trial Tr. Vol. II, 41:8–13 (Barreto).
22
     Dr. Barreto CV, Ex. 111 at 1.


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           13.    Dr. Barreto has published over eighty peer-reviewed articles, primarily regarding

race and ethnicity in the political system and voting patterns, ecological inference, Latino politics,

and survey methodology. 23 His research has been cited by others over 5,800 times. 24

           14.    Dr. Barreto has published four books and has won the American Political Science

Association (APSA) Best Book Award for Race, Ethnicity, Politics in 2014. 25

           15.    Dr. Barreto has served as an expert witness in over fifty federal voting rights cases

and has testified in federal court around forty times, with most of this testimony concerning racially

polarized voting analysis. 26

           16.    Dr. Barreto has been found credible as an expert witness in federal voting rights

cases all over the country, including in the District of Kansas. 27

           17.    Here, Dr. Barreto testified as an expert in social science methods, mapping, racially

polarized voting, demographic change, racial and ethnic politics and Gingles preconditions II and

III. 28

           18.    Having observed Dr. Barreto’s testimony and reviewed his analysis and tables, the

Court credits his analyses, opinions, and testimony, finds his opinions and conclusions largely

uncontested, and grants them substantial weight.


23
     Id. at 2–6; Trial Tr. Vol. II, 44:6–20 (Barreto).
24
     Dr. Barreto CV, Ex. 111 at 2.
25
     Id. at 2; Trial Tr. Vol. II, 47:1–12 (Barreto).
26
     Trial Tr. Vol. II, 51:24–52:7 (Barreto).
27
  Fish v. Kobach, 309 F. Supp. 3d 1048, 1059 (D. Kan. 2018), aff’d sub nom, Fish v. Schwab, 957
F.3d 1105 (10th Cir. 2020).
28
  See, e.g., Trial Tr. Vol. II, 68:1–13, 73:5–24; 109:1–110:25 (Barreto); Trial Tr. Vol. IV, 206:12–
207:12 (Barreto).


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          B. Dr. Kassra AR Oskooii

          19.     Plaintiffs’ expert Dr. Kassra AR Oskooii is a tenured Professor of Political Science

at the University of Delaware. 29 His main areas of academic expertise are in redistricting,

American political behavior, race and ethnic politics, and political methodology. 30

          20.     Dr. Oskooii received a Bachelor’s Degree in Political Science in 2008 from the

University of Washington. He also received a Master’s and Doctorate in Political Science from the

University of Washington in 2013 and 2016, respectively. 31

          21.     Dr. Oskooii has taught classes related to voting rights and representation,

redistricting, American politics and political behavior, and race and ethnic politics. As part of his

courses on redistricting, Dr. Oskooii covers apportionment, the Census, and traditional districting

criteria, and teaches students how to draw single-member district maps for jurisdictions that

currently employ at-large election systems. 32

          22.     Dr. Oskooii has published 22 peer-reviewed journal articles. He has published peer-

reviewed articles related to Section 2 of the VRA, ecological inference, and Latino politics, and

frequently uses surveys in his peer-reviewed work. 33

          23.     Dr. Oskooii has been retained as an expert witness or government consultant in




29
     Trial Tr. Vol. II, 222:16–223:2 (Oskooii).
30
     Id. at 223:5–7 (Oskooii).
31
     Id. at 222:7–15 (Oskooii); Dr. Oskooii CV, Ex. 63.
32
     Trial Tr. Vol. II, 223:8–225:1 (Oskooii).
33
     Id. at 225:2–22 (Oskooii).


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voting matters “about a dozen times.” 34 In addition to this case, Dr. Oskooii has submitted

redistricting maps as a retained expert in two other instances—he submitted remedial maps for

Washington State’s legislative redistricting, and drew maps for the Roswell Independent School

District. A federal court recently adopted his map for the Washington State Legislature, and the

Roswell Independent School District also adopted Dr. Oskooii’s map, which remains in place

today. 35

           24.    In a recent decision in Soto Palmer v. Hobbs, the Western District of Washington

adopted Dr. Oskooii’s remedial map for the Washington State Legislature. 36 The Court found that

Dr. Oskooii “was diligent” in drawing the map and that he “adher[ed] to state law, traditional

redistricting criteria, and public input.” 37 The Court also found that Dr. Oskooii “drew the adopted

map without reference to political or partisan criteria,” and that Dr. Oskooii’s map “was not drawn

or adopted to favor or discriminate against either political party.” 38

           25.    Dr. Oskooii has also served as a racially polarized voting expert for the second and

third Gingles preconditions. 39 In Petteway v. Galveston, the Southern District of Texas “credit[ed]

[Dr. Oskooii’s] analyses, opinions, and testimony and grant[ed] them substantial weight.” 40


34
     Id. at 226:21–25 (Oskooii).
35
 Id. at 227:1–14 (Oskooii); Soto Palmer v. Hobbs, No. 3:22-cv-05035, Doc. #290, slip op. (W.D.
Wash. Mar, 15, 2023).
36
     Soto Palmer v. Hobbs, No. 3:22-cv-05035, Doc. #290, slip op. (W.D. Wash. Mar, 15, 2023).
37
     Id. at 8.
38
     Id. at 5, 9–10.
39
     Trial Tr. Vol. II, 227:22–24 (Oskooii).
40
  Petteway v. Galveston Cnty., No. 3:22-cv-57, 2023 WL 6786025, at *9 (S.D. Tex. Oct. 13, 2023);
Trial Tr. Vol. II, 228:4–9 (Oskooii).


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          26.     The Defendant did not put forth any expert testimony rebutting Dr. Oskooii’s

findings.

          27.     Dr. Oskooii spent around three hours on the stand including over two hours of cross-

examination. 41 The Court was able to question and observe him closely. Throughout Dr. Oskooii’s

live testimony, his opinions were clear, consistent, and forthright, and he had no difficulty

articulating the bases for his mapping decisions. He was forthright with the Court when discussing

the characteristics of Plaintiffs’ illustrative maps.

          28.     The Court finds Dr. Oskooii highly credible, including with respect to his bottom-

line conclusion, which he unequivocally adhered to and which he supported with specific detailed

testimony, that the illustrative maps he drew properly balance all of the traditional districting

principles set forth in Gingles I.

          C. Dr. Christina Bejarano

          29.     Plaintiffs’ expert Dr. Christina Bejarano has been a Professor of Political Science

with tenure at Texas Women’s University since 2019. 42 She was previously a Professor of Political

Science at the University of Kansas for 12 years. 43

          30.     She has a Bachelor’s degree in Psychology from the University of North Texas, and

a Master’s and Doctorate in Political Science from the University of Iowa. 44

          31.     Dr. Bejarano’s areas of academic expertise include American electoral politics,

specifically the political representation and political behavior of Latinos and women, both as voters


41
     Trial Tr. Vol. III, 94:11–12 (Oskooii).
42
     Trial Tr. Vol. I, 66:2–14 (Bejarano).
43
     Id. at 66:1–7 (Bejarano); Dr. Bejarano CV, Ex. 43.
44
     Trial Tr. Vol. I, 65:22–24 (Bejarano).


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and candidates. Dr. Bejarano has been researching Latino politics for about 20 years and for 17

years as a professor. Much of her Latino politics research focuses on the state and local level. 45

          32.    Dr. Bejarano teaches classes related to Latino Politics, State and Local Politics,

Racial Minority Politics, and American Politics. As it relates to Latino politics, Dr. Bejarano’s

work has focused largely on Latino political behavior; obstacles Latino voters and political

candidates face, including those presented by electoral design; and the characteristics of Latino

elected officials. 46 While teaching at the University of Kansas, she incorporated “information

about Kansas politics, especially as it pertains to obstacles that voters and candidates would face

as women and Latinos in Kansas.” 47

          33.    Dr. Bejarano has published seven peer-reviewed journal articles that focus on

Latinos and women in U.S. politics, seven book chapters on Latinos and women in U.S. politics,

two peer-reviewed books on Latino political involvement, and has co-authored a political science

textbook on U.S. government. 48

          34.    In forming her opinions, Dr. Bejarano employed sources and methods consistent

with standard practice in her field of political science and the methodology in her own published

work. She relied on about 100 sources, including, among others: quantitative data, including from

the American Community Survey (“ACS”) and decennial Census; election data and results in

Dodge City and Kansas; social science literature; news reports and articles; and Dodge City




45
     Id. at 66:15–67:1, 70:2–10 (Bejarano).
46
     Id. at 67:2–9, 67:21–68:16 (Bejarano).
47
     Id. at 67:11–15 (Bejarano); Dr. Bejarano CV, Ex. 43.
48
     Trial Tr. Vol. I, 68:18–70:1, 71:4–11 (Bejarano).


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Commission meeting minutes. Dr. Bejarano testified that there was a “high degree of agreement”

among the sources she reviewed in this case. 49

          35.     Defendant did not put forward any expert testimony rebutting virtually any of Dr.

Bejarano’s findings.

          36.     The Court finds Dr. Bejarano credible, her methodology to be sound, and

conclusions largely uncontested and reliable. Accordingly, the Court credits Dr. Bejarano’s

testimony and conclusions.

          D. Dr. Rubèn Martinez

          37.     Plaintiffs’ expert Dr. Rubén Martinez is a sociologist who specializes in the areas

of political sociology, social stratification, and race relations. 50

          38.     Dr. Martinez has a Bachelor of Science from the University of Southern Colorado,

a Master’s in Sociology from Arizona State University, and a Doctorate in Sociology from the

University of California Riverside. 51

          39.     Dr. Martinez has been a Professor of Sociology at multiple universities, a Sociology

department chair, and a director of multiple sociological research institutes. 52 He has taught

various courses in Sociology, including Sociological Theory and Race and Ethnic Relations. 53




49
     Id. at 73:19–74:25, 75:12–16 (Bejarano).
50
     Trial Tr. Vol. II, 180:15–181:1 (Martinez).
51
     Id. at 178:14–17 (Martinez).
52
     Id. at 178:20–179:4 (Martinez); Dr. Martinez CV, Ex. 139.
53
     Dr. Martinez CV, Ex. 139.


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           40.   Dr. Martinez has published approximately 50 peer-reviewed journal articles, has

written chapters of several books, and been awarded several grants in the field of Sociology. 54

           41.   In forming his opinions, Dr. Martinez relied on sources and methodologies that he

would typically employ as a Sociologist. 55

           42.   Defendant did not put forward any expert testimony rebutting Dr. Martinez’s

findings.

           43.   The Court finds Dr. Martinez credible, his methodology to be sound, and

conclusions reliable. While Dr. Martinez’s analysis was mostly focused on treatment of Hispanics

in Kansas and the Southern Midwest generally, rather than Dodge City specifically, there was no

reason presented to suggest that his conclusions do not apply to Dodge City as part of the larger

area. Accordingly, the Court credits Dr. Martinez’s testimony and conclusions.

III.       Demographics of the Dodge City Electorate

           44.   Dodge City has two primary racial/ethnic groups that comprise the electorate: Non-

Hispanic whites (whites) and Latinos. 56

           45.   In 2000, non-Hispanic whites comprised 51.5% 57 and Latinos comprised 42.9% of

the total population of the City of Dodge City. 58




54
     Trial Tr. Vol. II, 182:8–20 (Martinez); Dr. Martinez CV, Ex. 139.
55
     Trial Tr. Vol. II, 188:16–189:23 (Martinez).
56
     Id. at 197:23–198:7 (Martinez).
57
     Barreto Report Table 1, Ex. 112.
58
     Id.


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           46.    In 2000, non-Hispanic whites comprised roughly 75% of the Citizen Voting Age

Population (CVAP) in Dodge City 59 and Latinos comprised 19.53%. 60

           47.    Since 2000, Dodge City has experienced a large and consistent growth of Latinos

as a share of the total population and a decline of non-Hispanic whites as a share of the total

population. 61

           48.    In 2020, non-Hispanic whites comprised 29.3% of the total population in Dodge

City—a 37.2% decline from 2000. 62 By contrast, in 2020, Latinos comprised 63.9% of the total

population in Dodge City—a 64.6% growth from 2000. 63

           49.    In 2021, non-Hispanic whites comprised 43% of Citizen Voting Age Population in

Dodge City.64 By contrast, in 2021, Latinos comprised 46.1% of the Citizen Voting Age Population

in Dodge City.65

           50.    The Latino population in Dodge City is located primarily south of Comanche

Street. 66 The non-Hispanic white population in Dodge City is located primarily north of Comanche

Street. 67



59
     Trial Tr. Vol. II, 130:23–131:2 (Martinez).
60
     Id. at 130:12–21 (Martinez).
61
     Id. at 126:24–127:8 (Martinez).
62
     Barreto Report Table 1, Ex. 112.
63
     Id.
64
     Trial Tr. Vol. II, 130:23–131:9 (Martinez); Dodge City CVAP Estimates, Ex. 149.
65
     Trial Tr. Vol. II, 84:3–13 (Martinez); Dodge City CVAP Estimates, Ex. 149.
66
     Barreto Report Figure 1, Ex. 115.
67
     Id.


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           51.    Despite their 64.6% population growth, Latinos are not close to being a majority of

the registered voters in Dodge City.68

           52.    In the November 2022 General Election, voters south of Comanche Street, an area

with a high density of Latinos, accounted for just 34% of all registered voters in Dodge City. 69

           53.    In the November 2022 General Election, voters north of Comanche Street, a high-

density non-Hispanic white area, accounted for 66% of all registered voters in the city, constituting

a majority. 70

           54.    Similarly, Latinos are not close to making up a majority of actual voters in Dodge

City because their voter turnout is extremely low, especially in odd-numbered election years. 71

           55.    In the November 2022 General Election, despite making up 46.1% of Citizen

Voting Age Population, Latino voters accounted for just 30% of actual voters in Dodge City.72

White voters in Dodge City accounted for 64% of actual voters. 73

           56.    As Dr. Barreto demonstrated and the U.S. Census data shows, non-Hispanic whites

and Latinos are highly segregated within Dodge City. Comanche Street marks a stark divide

between the Latino and non-Latino populations. 74




68
     Trial Tr. Vol. II, 84:20–85:3 (Barreto).
69
     Id. at 84:20–85:3 (Barreto).
70
     Id.
71
     Id. at 85:5–13 (Barreto).
72
     Id.
73
     Id.
74
     Id. at 69:3–6 (Barreto).


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          57.     Census block groups south of Comanche Street have a high density of Latinos,

while census block groups north of Comanche Street have a high density of non-Latinos, or

whites. 75

          58.     For example, Census Block Group 1, Track 9618.01, which is south of Comanche

Street on the southeast side of Dodge City, has a density of 96.1% Latino. 76

          59.     Slightly further south, Census Block Group 1, Track 9621.01 has a density of 86.9%

Latino. 77

          60.     In contrast, an L-shaped census block group north of Comanche Street and the

United States Highway 50 has a density of 93% non-Latino. 78

IV.       The Gingles Preconditions

          61.     Thornburg v. Gingles, 478 U.S. 30, 47 (1986), sets out three threshold requirements

Plaintiffs must meet to demonstrate that an at-large voting system unlawfully dilutes the minority

group’s vote and prevents them from electing candidates of choice. Evidence presented at trial

regarding each Gingles precondition is set forth below.

          A. Gingles I

          62.     The Court heard significant evidence regarding the first Gingles precondition: that

the Latino population is sufficiently large and geographically compact to constitute a majority in

a single-member district. 79


75
     Barreto Report Figure 1, Ex. 115.
76
     Barreto Report Table 3, Ex. 114; Trial Tr. Vol. II, 64:15–24 (Barreto).
77
     Barreto Report Table 3, Ex. 114; Trial Tr. Vol. II, 64:25–65:3 (Barreto).
78
     Barreto Report Figure 1, Ex. 115; Trial Tr. Vol. II, 65:8–13 (Barreto).
79
     Thornburg v. Gingles, 478 U.S. 30, 50 (1986).


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          63.     Based on this evidence, the Court finds that it is possible to draw a map for the

Dodge City Commission—while respecting traditional districting principles—that contains five

single-member districts and in which Latinos comprise a numerical majority of the Citizen Voting

Age Population in at least one district. Defendant conceded this point, confirming on the record:

“[T]here’s no dispute that you can create one or more CVAP districts where Hispanics have more

than 50 percent.” 80

          64.     Indeed, the Latino population in Dodge City is large and geographically compact

enough to comprise a majority in three districts in a five-district map for the Dodge City

Commission.81

          65.     In fact, it is virtually impossible to draw a map for the Dodge City Commission

that contains less than two majority-Latino districts. 82

          66.     Plaintiffs put forth 14 demonstrative maps through mapping expert Dr. Kassra AR

Oskooii. Dr. Oskooii drew his illustrative maps to reflect different conceptions of Dodge City’s

communities of interest 83 using Dave’s Redistricting Application (“DRA”) mapping software, “a

very well-known and publicly available application that is also used by independent [redistricting]




80
  Trial Tr. Vol. V, 44:13–15 (Def’s Closing); see also Trial Tr. Vol. V, 45:15–16, 47:1–4 (Def’s
Closing).
81
  Trial Tr. Vol. II, 228:18–229:7 (Oskooii); Oskooii Tables and Maps, Exs. 69, 71, 73, 75, 77, 79,
81, 83, 85, 87, 89, 91, 93, 95–109.
82
     Trial Tr. Vol. II, 272:17–273:5 (Oskooii).
83
     Id. at 229:21–230:8 (Oskooii).


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commissions around the country.” 84 Each of Dr. Oskooii’s 14 maps contains three majority-Latino

districts—Districts 1, 2, and 3. 85

          67.     All 14 of Dr. Oskooii’s maps follow applicable districting guidelines—they all

achieve population equality; the districts are relatively compact, reasonably shaped, and

contiguous to the extent the city boundaries allow; and respect different conceptions of

communities of interest in Dodge City. 86

          68.     Defendant did not offer any maps of its own, nor did it provide any witness that

disagreed with or contradicted Dr. Oskooii’s testimony that it is possible to draw three majority-

Latino districts in a map for the Dodge City Commission. Moreover, none of Defendant’s

witnesses disagreed with, rebutted, or contradicted any of Dr. Oskooii’s findings about Dodge City,

especially and including his testimony about communities of interest in Dodge City. Defendant

did not present evidence that it was even possible to draw a map for the Dodge City Commission

that contains no districts where Latinos make up a numerical majority.

          69.     Dr. Oskooii was asked to rely on traditional redistricting criteria to determine

whether the Hispanic population in Dodge City, Kansas is sufficiently large and geographically

compact to allow for the creation of at least two Hispanic Citizen Voting Age Population majority

single-member districts in a five districted plan. 87

          70.     In drawing the illustrative maps, Dr. Oskooii was guided by applicable districting


84
     Id. at 229:13–17 (Oskooii).
85
  Id. at 253:6–16 (Oskooii); Oskooii Tables and Maps, Exs. 69, 71, 73, 75, 77, 79, 81, 83, 85, 87,
89, 91, 93, 95–109.
86
  Trial Tr. Vol. II, 252:12–253:23 (Oskooii); Oskooii Tables and Maps, Exs. 69, 71, 73, 75, 77, 79,
81, 83, 85, 87, 89, 91, 93, 95–109.
87
     Trial Tr. Vol. II, 228:20–229:1 (Oskooii).


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principles: population equality, compactness, contiguity, reasonable shape, and respect for

communities of interest. 88

          71.     As to population equality, for jurisdictions like Dodge City, “courts generally

tolerate a 10 percent threshold between the most populous district and the least populous.” 89 All

of Dr. Oskooii’s 14 maps achieve this level of population equality. 90

          72.     As to compactness, contiguity, and reasonable shape, traditional districting

principles provide that a mapmaker cannot “change or alter the boundaries of a jurisdiction,” which

requires consideration of the “particularities of the jurisdiction.” 91

          73.     Dodge City is neither particularly compact nor contiguous. In the southwest part

of the city, there are “three small pieces of non-populated parcels that are part of city

boundaries.” On the eastern side of the city, the airport is disconnected from the rest of Dodge

City as is the entertainment district on the western side. 92

          74.     Dr. Oskooii’s illustrative maps are reasonably shaped, reasonably compact, and

contiguous to the extent the city boundaries allow.

          75.     Certain redistricting criteria that are applicable in some jurisdictions were not

applicable here. For example, Dr. Oskooii did not consider preserving the core of prior districts,




88
     Id. at 230:9–22 (Oskooii).
89
     Id. at 232:11–19 (Oskooii).
90
  Id. at 252:12–18 (Oskooii); Oskooii Tables 1–17, Exs. 69, 71, 73, 75, 77, 79, 81, 83, 85, 87, 89,
91, 93, 95.
91
     Trial Tr. Vol. II, 232:23–233:9 (Oskooii).
92
     Oskooii Report Figure 1, Ex. 64; Trial Tr. Vol. II, 233:20–234:17 (Oskooii).


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avoiding pairing incumbents, or splitting counties or cities because Dodge City is currently an at-

large jurisdiction completely entailed within a single county and city. 93

          76.      Dr. Oskooii considered avoiding the splitting of precincts, or VTDs, to the extent

it was practical. Yet Dodge City has about 20 voting-tabulated districts of precincts—the majority

of which have zero population. 94 Six precincts hold around 95% of the total population and none

of them are “populous enough to comprise a single district that would meet the requirements of

population parity.” 95 In light of these challenges, “some of these VTDs, but not all of them, have

to be split to meet all the applicable redistricting criteria.” 96

          77.     Traditional districting principles provide that communities of interest are

“geographic regions or areas in which residents have commonalities based on factors such as social,

cultural, ethnic, racial, or economic interests that may subject them to a common legislation.”97

Communities of interest are “fluid” and “don’t have rigid boundaries.” 98

          78.     Dr. Oskooii determined relevant communities of interest in Dodge City in three

main ways: (1) publicly available resources in which the City of Dodge City describes itself and

its areas; (2) hearing “directly from as many residents and citizens of Dodge City,” and (3) his

“own observations driving and walking through nearly every single street and corner” in Dodge




93
     Id. at 230:23–231:18 (Oskooii).
94
     Id. at 231:19–232:2 (Oskooii).
95
     Id. at 232:1–7.
96
     Id. at 231:19–232:10 (Oskooii).
97
     Id. at 234:20–24 (Oskooii).
98
     Id. at 235:2–4 (Oskooii).


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City during a four-day trip there. 99 Those Dodge City resources included dodgecity.org, the Dodge

City Housing Authority website, the Ford County and Dodge City Business and Retail

Development Guide, and historical maps of the City, among others. 100

          79.     He spoke to residents in every part of Dodge City to understand the major themes

that “emerge about different communities of interest or geographic regions.” 101 Just as

jurisdictions and map drawers around the country hold “public hearings, town halls, [or] online

forums” to get input from residents about their communities before drawing maps, Dr. Oskooii

conducted these interviews as part of “best practices” for map drawers. 102

          80.     The Court finds that Dr. Oskooii’s illustrative maps consider and respect

communities of interest. This is particularly true given Dr. Oskooii’s extensive testimony,

summarized below, about how his maps reflect Dodge City’s natural boundaries.

                  a. Dodge City’s Natural Boundaries

          81.     South Dodge City. There are three main boundaries that could demarcate south

Dodge City (“South Dodge”). The first conception of South Dodge is the area below the Wyatt

Earp Boulevard. The second conception is the area below Trail Street. The third conception is the

area beginning below the Arkansas River. 103 Dr. Oskooii’s 14 illustrative maps present these three

different conceptions of South Dodge. 104



99
     Id. at 235:7–8, 235:14–15 (Oskooii).
100
      Id. at 235:5–236:6 (Oskooii).
101
      Id. at 236:10–15 (Oskooii).
102
      Id. at 236:16–237:7 (Oskooii).
103
      Id. at 242:15–22 (Oskooii).
104
      Id. at 243:3–25 (Oskooii).


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          82.     Under the first conception, South Dodge is too populous to constitute a single

district. Moreover, the area under the third conception of South Dodge is not populous enough to

comprise a single district. 105

          83.     Notably, all three of these conceptions primarily exist south of Comanche Street.

The area below Comanche Street is far too populous to fit into one district. 106

          84.     South Dodge has some common characteristics. It is a commercial area, with two

of the largest employers, National Beef and Cargill meatpacking plants, as well as auto dealerships.

South Dodge “is socioeconomically less privileged than other regions of Dodge City,” with the

residential areas defined by “predominantly small to mid-size, single-family housing units,” as

well as public housing. 107

          85.     South Dodge is represented by District 1 across Dr. Oskooii’s maps. 108

          86.     Wyatt Earp Corridor. The Wyatt Earp Corridor is “a major four-lane intersection

that goes through the width of the City from west to east or east to west.” It is home to many hotels,

restaurants, shops, landmarks, and the Amtrak station. It is a high-population area. 109

          87.     In most maps, Dr. Oskooii used the Wyatt Earp Corridor as a natural boundary to

divide certain districts. However, the Wyatt Earp Corridor can also be considered its own




105
      Id. at 242:23–243:3 (Oskooii).
106
      Trial Tr. Vol. III, 116:1–6 (Oskooii).
107
      Trial Tr. Vol. II, 244:3–245:6 (Oskooii).
108
      Oskooii Maps 1–14, Exs. 96–109.
109
      Trial Tr. Vol. II, 245:7–246:5 (Oskooii).


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community of interest. In order to reflect this latter conception, Dr. Oskooii treated the Wyatt Earp

Corridor as its own community of interest in District 2 in Maps 9–12. 110

          88.     Central Dodge City. Center City Dodge or Old Dodge City, as it is known to some

residents, generally begins from Central Avenue to 14th Avenue, east-to-west, and goes from either

around Hoover Pavilion or Wyatt Earp Boulevard to Comanche Street, south-to-north. 111 This is a

distinct, high-traffic area that contains government buildings, certain tourist attractions like the

Boot Hill Museum, and shops and restaurants. It also has numbered streets, unlike those streets

east of Central Avenue. 112

          89.     Center Dodge is typically represented by District 3 in Dr. Oskooii’s illustrative

maps. 113

          90.     Mideast Dodge City. The area south of Comanche and east of Central Avenue is

heavily residential, with small single-family housing units, including affordable housing. This is

an economically distressed area. Unlike the area west of Central Avenue, it has lettered streets,

from A- to- P. 114

          91.     This area of Mideast Dodge City is typically represented by District 2 in Dr.

Oskooii’s 14 illustrative maps—save for Maps 9–12, in which District 2 covers the Wyatt-Earp

Corridor. 115


110
      Id. at 246:6–15 (Oskooii); Oskooii Maps 9–12, Exs. 104–07.
111
      Trial Tr. Vol. II, 246:19–23, 247:12–17 (Oskooii).
112
      Id. at 246:16–247:25 (Oskooii).
113
      Oskooii Maps 1–14, Exs. 96–109.
114
      Trial Tr. Vol. II, 248:1–21 (Oskooii).
115
      Oskooii Maps 1–14, Exs. 96–109.


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          92.    North Dodge City. North Dodge City—north of Comanche Street—is an affluent,

high-income neighborhood. North Dodge City is generally more affluent than the areas below

Comanche Street. 116

          93.    Dodge City itself recognizes this socioeconomic distinction between the areas

below and above Comanche Street. Dodge City has a Neighborhood Revitalization Program,

which has identified areas of economic need in the City. The City has designated the entire area of

the city below Comanche Street as an area in need of revitalization, while it has designated none

of the area above Comanche Street as an area in need of revitalization. 117

          94.    Northwest vs. Northeast Dodge City. Northwest and Northeast Dodge City share

some similarities—namely, their relatively high socioeconomic status, mentioned supra. Yet there

are some differences. Northeast Dodge City is particularly wealthy—with a country club, large

and impressive houses, and older money. Northwest Dodge, by contrast, has some newer and more

middle-class housing development, as well as several major retailers and the City’s community

college and high school. 118

          95.    Recognizing these differences, Sixth Avenue serves as a natural boundary that can

divide Northwest Dodge City and Northeast Dodge City. 119




116
      Trial Tr. Vol. II, 248:13–21; 249:14–250:14 (Oskooii).
117
      Id. at 250:15–251:20 (Oskooii).
118
      Id. at 244:21–245:1, 249:14–250:14 (Oskooii).
119
      Id. at 251:21–252:8 (Oskooii).


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          96.    In particular, North 14th Avenue generally serves as the demarcation point for West

Dodge. 120 The North 14th Avenue Corridor itself is an “important area” with national retailers, the

community college, and the city’s only high school. 121

          97.    In Dr. Oskooii’s 14 illustrative maps, Northwest Dodge City is generally

represented by District 4 and Northeast Dodge City is generally represented by District 5. 122

                 b. The Illustrative Maps

          98.    In Map 1, District 1 largely adopts the Trail Street conception of South Dodge.

District 2 covers the mideast portion of Dodge City, while Center City is conceived as between

Central Avenue and 14th Avenue and encompassed by District 3. Northern Dodge City is

conceived as above Comanche Street and is divided into two districts—Districts 4 and 5—by 6th

Avenue. 123

          99.    Map 2 presents a different conception of District 1, the South Dodge district, by

incorporating Wyatt Earp Boulevard as the upper boundary on the west side and Trail Street on the

east side. Because District 1 extends further northwest than in Map 1, District 3 loses some

population in the southwest part of the district. To gain population back for population equality

purposes, part of District 3 extends north of Comanche Street, taking part of District 5’s population.

Also, District 4 only extends as far south as West Wyatt Earp Boulevard, in light of District 1

taking the population in the southwest. 124


120
      Id. at 248:22–249:1 (Oskooii).
121
      Id. at 249:1–13 (Oskooii).
122
      Oskooii Maps 1–14, Exs. 96–109.
123
      Trial Tr. Vol. II, 254:4–18 (Oskooii); Oskooii Map 1, Ex. 96.
124
      Trial Tr. Vol. II, 259:25–261:2 (Oskooii); Oskooii Map 2, Ex. 97.


                                                  23
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          100.   In Map 3, District 3—instead of capturing the area north of Comanche Street as it

does in Map 2—instead extends further west of North 14th Avenue to pick up some population.

As a result, District 4 correspondingly captures some areas past North 14th Avenue, stopping at

9th and 6th Avenues for equal population purposes. Districts 1, 2, and 5 remain largely the same

as they did in Map 2. 125

          101.   Map 4 presents a different conception of District 3, the Center Dodge District, by

encompassing areas right below Wyatt Earp Boulevard and capturing the Hoover Pavilion and

Wright Park Zoo. As a result of this change, District 4, the Western Dodge District, does not extend

south past Division Street. Also as a result of the new District 3, District 1 extends all the way

north to the Wyatt Earp Boulevard on the east side and only up to the Arkansas River on the west

side. District 2, the Eastern Dodge City District, starts at Central Avenue—instead of Avenue A as

it does in Map 3—and does not extend further south beyond Wyatt Earp Boulevard. 126

          102.   Map 5 presents a slightly different conception of District 3, the Center Dodge

District, while still encompassing Hoover Pavilion and Wright Park Zoo as it did in Map 4. District

3 in Map 5 attempts to keep more of 6th through 9th Avenues within the Center City district than

it did in Map 4. As a result, District 4 must extend further south than it did in Map 4, but it still

does not need to go below the Wyatt Earp Corridor. Districts 1, 2, and 5 remain largely the same

as they did in Map 4. 127

          103.   Map 6 presents a new conception of District 1, the South Dodge District, by

incorporating the Arkansas River as its northeastern boundary. As Dr. Oskooii noted, the “area


125
      Trial Tr. Vol. II, 261:3–262:1; Oskooii Map 3, Ex. 98.
126
      Trial Tr. Vol. II, 262:5–263:2; Oskooii Map 4, Ex. 99.
127
      Trial Tr. Vol. II, 263:3–7 (Oskooii); Oskooii Map 5, Ex. 100.


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below [the] Arkansas River does not have enough population to be in one district.” 128 Accordingly,

the western part of District 1 extends above the Wyatt Earp Boulevard, for the first time, in order

to gain enough population to achieve population equality. 129

           104.   Consequently, in Map 6, District 4 loses some population. In order to gain sufficient

population, it captures some area directly above District 3’s northern boundary, cutting across 6th

Avenue and taking some population from District 5. District 3 reverts back to its almost-perfect-

square configuration that it had in Maps 1–3, while District 2 extends further south to capture the

population District 1 ceded in the southeast. 130

           105.   Map 7 presents the same conception of District 1, the South Dodge District, as Map

6 and incorporates the Arkansas River as its northeastern boundary. Yet rather than have District 4

gain population east of 6th Avenue in the central part of Dodge City, it gains that population east

of 6th Avenue in the northern part of the city. This conception of northwest Dodge unites new

housing developments with other soon-to-be other areas of growth in North Dodge. As a result,

District 5 loses population and needs to regain equal population by extending slightly below

Comanche Street, eating a bit into some of District 3’s population. 131

           106.   Map 8 attempts to (i) present a similar conception of District 4 as existed in Map

7, while also (ii) adopting the version of District 3, the Center City district, that extends further

south to include Hoover Pavilion and the Wright Park Zoo (as existed in Maps 4–5). In order to do

this while still abiding by equal population and other redistricting criteria, District 3 needs to


128
      Trial Tr. Vol. II, 263:212–24 (Oskooii).
129
      Id. at 263:18–264:4 (Oskooii); Oskooii Map 6, Ex. 10.
130
      Trial Tr. Vol. II, 264:5–18 (Oskooii); Oskooii Map 6, Ex. 101.
131
      Trial Tr. Vol. II, 264:19–265:17 (Oskooii); Oskooii Map 7, Ex. 102.


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extend a bit below the Arkansas River. District 1, in turn, extends further north on the east side to

East Trail Street, to pick up population, which cuts into District 2’s southern population. 132

          107.   As mentioned supra, Map 9 presents a new conception of District 2 by recognizing

the Wyatt Earp Corridor as its own community of interest. This conception is also reflected—with

some variations—in Maps 10–12. 133 By following an important intersection reflective of a notable

community in Dodge City, and given the particularities of the Dodge City boundaries, this district

is reasonably shaped and compact. 134

          108.   As a result, District 3, the Center Dodge District, moves further east in a way that

grabs some population in Mideast Dodge City. Districts 1, 4, and 5 are largely consistent with prior

illustrative maps. 135

          109.   Map 10 presents a slightly different conception of District 3 than was presented in

Map 9. In Map 10, District 3 moves west back to North 14th Avenue, in an attempt to recapture

some of the Center City Dodge area that it ceded in Map 9. Consequently, more of District 4—

which loses population when District 3 moves west in Map 10—proceeds further east of 6th

Avenue than it did in Map 9. That forces District 5 to extend a bit below Comanche Street to regain

some population. Districts 1 and 2 are largely similar to their configurations in Map 9. 136




132
      Trial Tr. Vol. II, 265:18–266:7; (Oskooii) Oskooii Map 8, Ex. 103.
133
      Trial Tr. Vol. II, 267:6–12; Oskooii Map 9, Ex. 104.
134
      Trial Tr. Vol. II, 267:2–22, 268:20–25 (Oskooii); Oskooii Map 9, Ex. 104.
135
      Trial Tr. Vol. II, 268:11–19 (Oskooii); Oskooii Map 9, Ex. 104.
136
      Trial Tr. Vol. II, 269:1–13 (Oskooii); Oskooii Map 10, Ex. 105.


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          110.   Map 11 presents a slightly different conception of District 2 than in Maps 9 and

10. 137In Map 11, District 2 “more fully captures both sides of Wyatt Earp Corridor” by extending

to the westernmost part of the city on both sides of the street. 138 The other districts are largely

similar to their configurations in either Map 9 or Map 10. 139

          111.   Map 12 presents a similar conception of District 2 as in Map 11, but District 2 here

extends farther south below the West Wyatt Earp Boulevard to capture more area on the western

side of the corridor. Consequently, District 1, which loses population in the west, extends above

Trail Street on the eastern side to make up for that population loss. The remaining districts are

fairly similar to their configurations in Map 11. 140

          112.   Dr. Oskooii used the same methodology to create Map 13 as he did for the previous

12 maps, but also considered race and ethnicity as an additional, non-predominant factor, as is

traditional in the Gingles I framework. When drawing Maps 1–12, Dr. Oskooii did not consider

race and ethnicity data when drawing his maps. When drawing Maps 13–14, Dr. Oskooii was

aware of where racial and ethnic groups were concentrated, but considered this along with all other

factors when drawing map lines. 141




137
      Oskooii Map 11, Ex. 106.
138
      Trial Tr. Vol. II, 269:17–18 (Oskooii); Oskooii Map 11, Ex. 106.
139
      Trial Tr. Vol. II, 269:14–20 (Oskooii); Oskooii Map 10, Ex. 105.
140
      Oskooii Map 11, Ex. 106.
141
      Trial Tr. Vol. II, 270:6–19, 271:16–17 (Oskooii).


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          113.    Because race was not a predominant factor, Map 13 looks very similar to the

previous maps—it largely reflects the same communities of interest of South Dodge, Mideast,

Center Dodge City, and northwest and northeast Dodge. 142

          114.    Dr. Oskooii also considered race and ethnicity as an additional, non-predominant

factor when creating Map 14. 143 Because race was not a predominant factor, Map 14 looks very

similar to previous maps. 144

          115.    District 4 is slightly different in Map 14 than in Map 13 in that it encompasses more

of the newer housing developments in the northeast. Consequently, District 5 extends below

Comanche Street to gain some population that it lost by virtue of District 4’s configuration. 145

          116.    Defendant presented no evidence that race predominated in any of Dr. Oskooii’s

maps. To the contrary, Dr. Oskooii testified repeatedly that he did not consider race or ethnicity

data when drawing twelve of his fourteen maps; that for Maps 13–14, he used race only as “an

additional factor” and “not the predominant factor”; and explained his many mapping decisions

almost without any discussion of race but rather concerns about population equality, compactness,

and communities of interest. 146

          117.    The reason why there is a majority of white voters in Districts 4 and 5 is “the

population distribution and concentration of the different demographic groups across Dodge City”;


142
      Id. at 271:13–272:4 (Oskooii); Oskooii Map 13, Ex. 107.
143
      Trial Tr. Vol. II, 270:9–11, 271:16–17 (Oskooii).
144
      Id. at 271:13–272:4 (Oskooii); Oskooii Map 14, Ex. 108.
145
      Trial Tr. Vol. II, 272:5–16 (Oskooii); Oskooii Map 14, Ex. 108.
146
   See, e.g., Trial Tr. Vol. II, 270:9–272:4 (Oskooii); Trial Tr. Vol. III, 54:2–6, 114:113:21–114:6
(Oskooii) (Dr. Oskooii testifying that race cannot predominate for a map drawer if he is not
considering race or ethnicity data when drawing maps).


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i.e., there are many white people who live in North Dodge. 147 If Dr. Oskooii wanted to make those

districts less white, the unrebutted testimony is that he would have had to violate other traditional

districting criteria to do so. 148 Simply put, no one—least of all Dr. Oskooii—controls where people

live in Dodge City.149

          118.    In Map 14, there are 3,284 eligible voters in District 3, which is majority-Latino,

as compared to 2,656 eligible voters in District 5, which is majority-white. 150 Thus, in one of just

two maps where Dr. Oskooii actually considered race and ethnicity, there are far more eligible

voters in a majority-Latino district than in a majority-white district.

          B. Gingles II and III

          119.    The second and third Gingles preconditions, together referred to as racially

polarized voting, ask whether (1) “the minority group is politically cohesive” (Gingles II), and (2)

“the white majority votes sufficiently as a bloc to enable it … usually to defeat the minority’s

preferred candidate,” (Gingles III). 151

          120.    Plaintiffs presented testimony regarding Gingles II and III through their expert

witness, Dr. Matthew Barreto.

          121.    Utilizing ecological inference methods, Dr. Barreto demonstrated that Latino voters

in Dodge City are cohesive, in that a large majority of Latino voters consistently favor the same



147
      Trial Tr. Vol. III, 114:11–25 (Oskooii).
148
      Id. at 115:1–6 (Oskooii).
149
      Id. at 114:11–25 (Oskooii).
150
      Id. at 115:7–24 (Oskooii); Oskooii Report Table 17, Ex. 95.
151
   Sanchez v. State of Colorado, 97 F. 3d 1303, 1310 (10th Cir. 1996); Thornburg v. Gingles, 478
U.S. 30, 32, 53 n.21 (1986).


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candidates across a series of elections. 152 Dr. Barreto also demonstrated that white voters within

Dodge City are also cohesive and vote sufficiently as a bloc to usually defeat Latino-preferred

candidates. 153 These results were consistent across several different data sources and over one

hundred forty statistical models. 154

          122.    There is no bright line for determining political cohesion, but rather it must be

determined by an analysis of several elections across time that show a particular pattern within a

relevant jurisdiction. 155

          123.    Ecological inference is “[t]he common technique that is used to study racially

polarized voting.” 156 Ecological inference was cited in the foundational Thornburg v. Gingles case

and has been refined and used since to assess racially polarized voting in a jurisdiction. 157

          124.    Two forms of ecological inference, King’s Iterative Ecological Inference (King’s

EI) and Rows by Columns (RxC EI), use aggregate data to identify voting patterns through

statistical analysis of candidate choice and racial demographics within a precinct. 158 Both forms



152
      Trial Tr. Vol. IV, 206:13–23 (Barreto).
153
      Id. at 207:3–13 (Barreto).
154
      Id. at 206:13–23 (Barreto).
155
    See Trial Tr. Vol. II, 93:2–18 (Barreto) (Dr. Barreto describing the need to review multiple
elections and election cycles to determine broader trends over time to determine cohesion.); Trial
Tr. Vol. IV, 206:13–207:2 (Barreto) (Dr. Barreto describing a conclusion on cohesion in terms of
the relative strength of voting patterns rather than as a numerically sufficient determination), see
also Trial Tr. Vol. II, 100:24–101:4 (Barreto) (Dr. Barreto describing that variances and differences
in numerical estimations do not change his opinion on racially polarized voting, where instead he
is looking for patterns and weighing the evidence).
156
      Trial Tr. Vol. II, 45:11–12 (Barreto).
157
      Trial Tr. Vol. II, 45:9–20 (Barreto).
158
      Trial Tr. Vol. IV, 145:5–12 (Barreto).


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of ecological inference have been established as reliable and standard methods of measuring

racially polarized voting. 159

            125.   Both King’s EI and RxC EI are appropriate for analyzing elections with more than

two candidates and/or more than two racial/ethnic groups. 160

            126.   Both King’s EI and RxC EI models produce point estimates that reflect the

estimated support a candidate received from a particular racial or ethnic group. 161 A point estimate

is the center of the distribution of an ecological inference model. 162 It is the number that is the

most accurate estimate of percentage of support from the ecological inference model. 163 Point

estimates for King’s EI and RxC EI are the best descriptors of the data on racially polarized voting

because they “contain[] the most probabilistic outcome.” 164

            127.   With respect to the analysis conducted by Dr. Barreto, the point estimates here

demonstrate the support that candidates received from white and Latino voters in Dodge City. 165




159
      Id. at 203:23–204:4 (Barreto).
160
      Id. at 204:15–205:4 (Barreto).
161
      Trial Tr. Vol. II, 96:8–18 (Barreto).
162
      Id. at 101:15–102:1 (Barreto).
163
      Id.
164
      Id. at 171:5–9 (Barreto).
165
      Id. at 96:6–18 (Barreto); Barreto Report Appendix A Table 1, Ex. 121.


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                  a. Bayesian Improved Surname Geocoding (BISG) Methodology

          128.    BISG analysis creates a probability that a given voter who participated in a given

election is of a particular racial/ethnic group based upon their surname and racial composition of

their Census block. 166

          129.    BISG was developed after Cisneros v. Pasadena Indep. Sch. Dist., No. 4:12-CV-

2579, 2014 WL 1668500 (S.D. Tex. Apr. 25, 2014), to deal with the precise problem in that case—

that the relatively few number of precincts made it harder to make determinations about racially

polarized voting.

          130.    Studies have validated the reliability of using BISG for conducting racially

polarizing voting analysis and have found the method especially useful for analysis of political

subdivisions that have a small number of precincts 167 and where voting turnout is relatively low,

such as in Dodge City. 168 Government entities have also utilized BISG for election-related research

and policy.

          131.    Both Plaintiffs’ and Defendant’s experts agree on the accuracy and probative value

of BISG when estimating race and ethnicity of a voter. 169

          132.    Today, because of BISG, “we have much more precise estimates” for racially

polarized voting in jurisdictions that have relatively few precincts. 170 In short, BISG has mostly




166
      Trial Tr. Vol. II, 89:19–90:4 (Barreto).
167
      Id. at 91:7–24 (Barreto).
168
      Id. at 91:9–16 (Barreto).
169
      Trial Tr. Vol. IV, 151:1–161:17, 179:10–17 (Katz).
170
      Trial Tr. Vol. II, 175:10–12 (Barreto).


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solved this issue of analyzing racially polarized voting in jurisdictions with relatively few

precincts. 171

          133.    Dr. Barreto’s undisputed BISG-based analysis of Dodge City shows strong

cohesion among Latino voters, with over 70% of Latino voters favoring the same candidates in a

bulk of the 24 elections assessed. 172

          134.    Utilizing BISG, Dr. Barreto was able to obtain precise and accurate point estimates

of racially polarized voting in Dodge City.173

          135.    The Court finds BISG a reliable methodology to use when conducting a racially

polarized voting analysis to determine the probability of a voter’s race and ethnicity.

                  b. Relevant Elections

          136.    All types of elections—both endogenous and exogenous elections—are relevant

and proper to analyze for the purpose of determining whether it is more likely than not that racially

polarized voting exists within Dodge City.

          137.    Both Plaintiffs’ and Defendant’s experts agree that exogenous elections (which are

elections for offices other than those that are the subject of the lawsuit) are relevant to analyze for

the purpose of a polarized voting analysis. 174




171
      Id. at 175:4–12; 176:8–13 (Barreto).
172
      Barreto Report Appendix A Table 1, Ex. 121.
173
      Trial Tr. Vol. II, 174:25–175:12 (Barreto).
174
      Trial Tr. Vol. IV, 156:10–22 (Katz).


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            138.   Both experts agreed that local exogenous elections that are “similar in kind” to

endogenous elections—for example, those elections that are nonpartisan or feature more than two

candidates—are useful and relevant to analyze. 175

            139.   Because polarized voting is determined based on a pattern of elections, all elections,

including statewide elections, have probative value and can be considered when determining

whether there are polarized voting patterns within Dodge City. 176

                   c. Political Cohesion Amongst Latino Voters in Dodge City.

            140.   In his ecological inference analysis, Dr. Barreto analyzed 24 elections over nine

election cycles, between 2014–2022. 177

            141.   As noted supra, Dr. Barreto ran these 24 elections each in two separate models—

(1) King’s Iterative Ecological Inference methodology (King’s EI), and (2) Rows by Columns

(RxC EI). In Dr. Barreto’s Ecological Inference table, the King’s EI model is represented on the

lefthand side of the table, while the RxC model is represented on the righthand side of the table.178

            142.   According to both models, it is clear that Latino voters in the City of Dodge City

are political cohesive. 179




175
      See generally Trial Tr. Vol. II, 156:3–13 (Barreto); Trial Tr. Vol. IV, 156: 17–157:11 (Katz).
176
      Trial Tr. Vol. II, 92:20–93:18, 99:22–101:8 (Barreto); Trial Tr. Vol. IV, 210:4–16 (Barreto).
177
      Barreto Report Appendix A Table 1, Ex. 121.
178
      Id.
179
      See generally Trial Tr. Vol. II, 95:1–103:6 (Barreto).


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                           i. Dr. Barreto’s Undisputed King’s Iterative Ecological Inference
                              Results Demonstrate Latino Voter Cohesion.

          143.    King’s EI is the gold standard of voting rights cases and federal and state courts

have relied on this method for determining polarized voting in both two-candidate and multi-

candidate elections. 180

          144.    King’s EI is the most accurate model to understand multi-candidate elections

because the model runs each candidate against the field, showing the results of running each

candidate against all others one at a time and producing less averaging. 181

          145.    The undisputed King’s EI results from 24 elections, over 9 election cycles occurring

over a ten-year period, demonstrate a strong, consistent pattern of Latino voter cohesion. 182

          146.    In Dodge City Commission races, the King’s EI results demonstrated that Latino

voters usually strongly preferred at least one candidate in the “pick three” races and usually

preferred different sets of candidates than non-Latinos. 183




180
      Trial Tr. Vol. IV, 203:23–204:7 (Barreto).
181
      Trial Tr. Vol. II, 100:10–17 (Barreto).
182
   Barreto Report Appendix A Table 1, Ex. 121; Trial Tr. Vol. II, 93:2–18 (Barreto) (Dr. Barreto
describing the need to review multiple elections and election cycles to determine broader trends
over time to determine cohesion.); Trial Tr. Vol. IV, 206:13–207:2 (Barreto) (Dr. Barreto describing
a conclusion on cohesion in terms of the relative strength of voting patterns rather than as a
numerically sufficient determination), see also Trial Tr. Vol. II, 100:24–101:4 (Dr. Barreto
describing that variances and differences in numerical estimations do not change his opinion on
racially polarized voting, where instead he is looking for patterns and weighing the evidence). See
Trial Tr. Vol. IV, 175:10–12 (Katz) (Dr. Katz describing that he did not run King’s Iterative
ecological inference for the four elections that he ran.).
183
      Barreto Report Appendix A Table 1, Ex. 121.


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            147.   For example, the King’s EI results for the 2014 Dodge City Commission election

show that Latina candidate Liliana Zuniga, who did not win election, was the most-preferred

candidate by Latinos and the least-preferred by whites. 184

            148.   The King’s EI results for the 2017 Dodge City Commission election show that

Charles Sellens, who did not win election, was the most-preferred candidate by Latinos and the

second-least-preferred candidate by whites. 185

            149.   In the 2019 Dodge City Commission election, the King’s EI results demonstrate

that Adam Hessman, who did not win election, was the most-preferred candidate by Latinos and

the second-least-preferred candidate by whites. 186

            150.   In the 2021 Dodge City Commission election, the King’s EI results demonstrate

that Jan Scoggins, who did not win election, was the most-preferred candidate by Latinos and the

second-least-preferred candidate by whites. 187

            151.   In other local elections that were multi-candidate, the King’s EI results

demonstrated that Latino voters usually strongly preferred their own sets of candidates and usually

strongly preferred at least one candidate in a “pick three” multi-candidate race. 188




184
      Id.
185
      Id.
186
      Id.
187
      Id.
188
      Id.


                                                  36
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            152.   For example, in the 2021 Dodge City School Board race, the King’s EI results

demonstrate that Nagel, who did not win election, was the highest vote-getter among Latinos but

received extremely low support among whites. 189

            153.   In the 2019 Dodge City Community College Trustees election, Garcia, who did not

win election, was the highest vote-getter among Latinos but the lowest vote-getter among

whites. 190

            154.   Both Dr. Barreto and Dr. Katz agree that in the 2017 Dodge City Commission

election, Zuniga was least preferred among white voters. 191

            155.   Since multi-candidate elections allow voters to pick more than one candidate, the

point estimates understandably show less stark numerical cohesion of Latino voters than county

or statewide elections. However, analysis shows that Latino voters consistently and strongly prefer

their own sets of candidates. 192

            156.   Based on the King’s EI results, in local and statewide elections that only featured

two candidates going head-to-head, Latino voters voted cohesively for a preferred candidate. 193

            157.   Latino cohesion was consistently strong in state and countywide elections.

Undisputed analysis of 2022 statewide elections using the King’s EI results demonstrated that on

average, Latino voters in Dodge City voted cohesively at levels up to 70%. In some elections




189
      Id.
190
      Id.
191
      See Barreto Report Appendix A Table 1, Ex. 121; Trial Tr. Vol. IV, 167:23–168:9 (Katz).
192
      Trial Tr. Vol. II, 100:1–101:9 (Barreto).
193
      Barreto Report Appendix A Table 1, Ex. 121.


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analyzed, including the Ford County Clerk election in 2018, Latino support for preferred

candidates reached over 75% based on the King’s EI analysis. 194

            158.   Undisputed analysis of the 2020 elections also shows Latino voter cohesion. In

2020 statewide and countywide elections, Dr. Barreto’s King’s EI analysis shows that Latino voters

supported the same candidate on average 75% of the time. 195

            159.   In the 2020 Ford County Clerk race, Dr. Barreto’s King’s EI analysis demonstrated

that Angie Gonzalez, the Latina candidate, received more than 75% of the Latino vote but less than

14% of the white vote. She lost the election. 196

            160.   Similarly, undisputed analysis of the 2018 statewide elections shows even higher

levels of Latino voter cohesion. In 2018 statewide elections, Dr. Barreto’s King’s EI analysis shows

that Latino voters supported the same candidate, on average, 85% of the time. 197

            161.   Dr. Barreto’s King’s EI analysis of 2016 and 2014 statewide elections show

similarly high levels of Latino voter cohesion, with Latino voters supporting the same candidates

at levels as high as 86%.

            162.   Based on the King’s EI results, Latino voters are highly cohesive in Dodge City.198

            163.   Notably, Defendant offers no evidence—from Dr. Katz or otherwise—that contests

or rebut any of Dr. Barreto’s King’s EI analysis. Dr. Katz only ran an RxC analysis for four




194
      Id.
195
      Id.
196
      Id.
197
      Id.
198
      Trial Tr. Vol. IV, 206:21–207:2 (Barreto); Barreto Report Appendix A Table 1, Ex. 121.


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elections, and did not run a King’s EI analysis. So, Dr. Barreto’s King’s EI analysis and testimony

are entirely unrebutted. 199

                            ii.     Dr. Barreto’s Largely Undisputed RxC Ecological Inference
                                    Results Demonstrate Latino Voter Cohesion

            164.   The RxC EI results from 24 elections, over 9 election cycles, demonstrate that

Latino voters exhibit strong levels of cohesion. 200

            165.   In election after election, there are clear Latino candidates of choice based on the

RxC EI results. 201

            166.   In Dodge City Commission races, the RxC EI results show that Latino voters

usually strongly prefer at least one candidate in the “pick three” races and usually prefer different

sets of candidates than non-Latinos. 202

            167.   In other local elections that are multi-candidate, the RxC EI results show that

Latino voters usually strongly preferred at least one candidate in “pick three” races and usually

preferred different sets of candidates than non-Latinos. 203

            168.   In exogenous elections, the undisputed RxC EI results demonstrate that in most

elections analyzed, almost over two-thirds of all Latino voters strongly preferred the same

candidates. 204




199
      Trial Tr. Vol. IV, 203:1–14 (Barreto).
200
      Barreto Report Appendix A Table 1, Ex. 121.
201
      Trial Tr. Vol. IV, 206:21–25 (Barreto); Barreto Report Appendix A Table 1, Ex. 121.
202
      Barreto Report Appendix A Table 1, Ex. 121.
203
      Id.
204
      Id.


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            169.   Latino cohesion was consistently strong in state and countywide elections.

Undisputed analysis of 2022 statewide elections using the RxC EI results demonstrated that Latino

voters in Dodge City voted cohesively, on average, almost 68% of the time. 205

            170.   Undisputed analysis of the 2020 elections also shows Latino voter cohesion. In

2020 statewide and countywide elections, Dr. Barreto’s RxC EI analysis shows that Latino voters

supported the same candidate, on average, almost 65% of the time. 206

            171.   Similarly, undisputed analysis of the 2018 elections show even higher levels of

Latino voter cohesion. In 2018 statewide elections, Dr. Barreto’s RxC EI analysis shows that

Latino voters supported the same candidate, on average, 73% of the time. 207

            172.   Dr. Barreto’s RxC EI analysis of 2016 and 2014 elections show similarly high levels

of Latino voter cohesion, with Latino voters supporting the same candidates at levels as high as

70%. 208

            173.   Even though there are some variations between King’s EI and RxC results, given

that RxC does more averaging in multi-candidate races, both models demonstrate clear patterns of

polarization and are accurate. 209

                   d. White Bloc Voting Occurs Within Dodge City

            174.   Based on both King’s EI and RxC EI, white voters in Dodge City engage in bloc

voting such that a large majority of Dodge City’s white voters favor, and vote cohesively for, their


205
      Id.
206
      Id.
207
      Id.
208
      Id.
209
      Trial Tr. Vol. II, 99:22–100:9 (Barreto).


                                                   40
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own set of candidates in state, county, and city-wide elections, 210 and these candidates are different

than, and run in opposition to, those favored by Latino voters. 211

            175.   This bloc voting by non-Hispanic white voters in Dodge City results in the

candidates favored by non-Hispanic white voters defeating the Latino candidate of choice. 212

            176.   White voters in Dodge City have more political influence in deciding elections

because they comprise 64% of the actual voters in Dodge City, whereas Latinos comprise only 30%

of all voters in Dodge City. 213

            177.   In recent Dodge City Commission elections, undisputed evidence shows that there

are clear patterns of non-Hispanic white voters usually preferring candidates running in opposition

to those preferred by Latino candidates. 214

            178.   As the Dodge City Commission elections contain multiple candidates, the point

estimates understandably show less stark numerical polarization; however, the pattern of

polarization between white and Latino voters is still clear and undeniable based on both models

used by Dr. Barreto. 215

            179.   In the 2021 Dodge City Commission election, for example, the two candidates most

preferred by whites won election despite receiving minimal support from Latinos. 216



210
      Barreto Report Appendix A Table 1, Ex. 121.
211
      Trial Tr. Vol. IV, 207:3–13 (Barreto).
212
      Id.
213
      Trial Tr. Vol. II, 84:20–85:9.
214
      Barreto Report Appendix A Table 1, Ex. 121.
215
      Trial Tr. Vol. II, 100:1–101:8.
216
      Barreto Report Appendix A Table 1, Ex. 121.


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            180.   In the 2019 Dodge City Commission election, Hessman, who garnered the highest

proportion of support from Latino voters, received minimal support from white voters in Dodge

City and ultimately lost the election. 217

            181.   Similarly, in the 2019 Dodge City Community College Trustees race, white voters

bloc voted against Garcia, the Latino-preferred candidate. Garcia lost the election. 218

            182.   Undisputed analysis of state and countywide general elections similarly displays

the presence of white voters consistently and cohesively voting for candidates running in

opposition to the Latino-preferred candidates. 219

            183.   In 2022, on average, over 70% of white voters in Dodge City voted for candidates

running in opposition to the Latino-preferred candidates. These levels of cohesion amongst white

voters in Dodge City reached as high as 84%. 220

            184.   Similarly, in 2020, in state and countywide general elections, on average, over 75%

of white voters in Dodge City voted for candidates running in opposition to the Latino-preferred

candidates. These cohesion levels reached as high as 86%. 221 For example, in the Ford County

Clerk race in 2020, more than 86% of whites voted for Debbie Cox, according to the King’s EI

model, over the Latina candidate. Cox won the election. 222




217
      Id.
218
      Id.
219
      Id.
220
      Id.
221
      Id.
222
      Id.


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            185.   White voters showed similar levels of bloc voting in the 2018, 2016, and 2014 state

and countywide general elections, with white voters consistently voting cohesively for candidates

running in opposition to the Latino-preferred candidates at high levels, with some elections

demonstrating white voter cohesion at over 90% cohesion. 223

            186.   As stated infra, white voters located in North Dodge have clear electoral

preferences that differ from the heavily Latino South Dodge. 224 If a candidate for an election was

equally preferred by all racial or ethnic groups, there would be no difference in voting patterns in

the heavily white North Dodge compared to the heavily Latino South Dodge. 225 There are clear

patterns based on the 2014 Dodge City Commission election, 2017 Dodge City Commission

election, and 2018 Ford County Clerk election, however, that white-preferred candidates receive

more of their average vote share in white areas of Dodge City and receive less of their average

vote share in Hispanic areas of Dodge City. 226 This means there is cohesive white voting occurring

in Dodge City. 227

            187.   Additionally, a finding of white bloc voting within Dodge City is supported based

on the fact that Hispanic-preferred candidates rarely are successful. 228




223
      Id.
224
      Trial Tr. Vol. II, 70:3–81:1 (Barreto).
225
      Id. at 74:4–9 (Barreto).
226
      Id. at 70:3–81:1 (Barreto).
227
      Trial Tr. Vol. IV, 207:3–13, 211:19–23 (Barreto).
228
      Id. at 207:3–9 (Barreto).


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          188.   Further, based on both the King’s EI and RxC EI point estimates, when there are

Latino-preferred candidates, white voters within Dodge City do not vote for identified Latino-

preferred candidates. 229

          189.   The undisputed evidence demonstrates that white voters in the City of Dodge City

are political cohesive and vote as a bloc to usually defeat Latino-preferred candidates.

                 e. Dr. Katz’s Testimony is Extremely Limited and Entitled to Little, If Any,
                    Weight

          190.   The Court does not find the testimony of Dr. Katz persuasive on the issue of Latino

cohesion and white bloc voting. The Court makes this determination for three main reasons.

          191.   First, Dr. Katz’s opinions in this case are extremely limited. All Dr. Katz did was

run an RxC EI analysis for the Dodge City Commission elections in 2021, 2019, 2017, and 2014.

That means that Dr. Katz has no opinions about any of Dr. Barreto’s King’s EI analysis for any of

the 24 elections examined, including the four Dodge City Commission elections. And Dr. Katz ran

his RxC EI analysis for just four of the 24 elections that Dr. Barreto examined, meaning that even

his RxC EI analysis ignores 20 out of the 24 elections at issue. 230 This means that Dr. Katz leaves

the vast majority of Dr. Barreto’s analysis entirely unrebutted. As Dr. Barreto explained, even Dr.

Katz’s RxC analysis is insufficient because“[f]our elections is just far too few for us to draw a

conclusion.” 231




229
      Id. at 207:10–13 (Barreto).
230
      Id. at 176:18–177:4; 202:1–203:14 (Katz).
231
   Id. at 210:4–8 (Barreto). Indeed, Dr. Katz himself does not seem to be drawing much of a
conclusion; he testified that his only conclusion is that “we cannot reject the claim that there is no
racially polarized voting.” Id. at 158:22–159:6 (Katz). In other words, Dr. Katz does not actually
conclude that there is no racially polarized voting in Dodge City.


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          192.    Dr. Katz claimed—without citation to any authority—that analyzing the exogenous

elections would not be “helpful” because the available exogenous elections were partisan and only

between two candidates. 232 This is plainly wrong, as Dr. Katz himself confirmed. 233 Dr. Barreto

analyzed the 2021 Dodge City School Board election and the 2019 Dodge City Community

College Trustees election, both of which were nonpartisan, multi-candidate, citywide elections and

which demonstrate clear evidence of polarization. 234 Although he could have, Dr. Katz did not

analyze these races, nor the 2020 Ford County Clerk race that included much of the same electorate,

featured a Latina candidate, was a local race, and showed stark evidence of polarization. 235

          193.    More broadly, this Court rejects the idea that just because some exogenous elections

have some differences from the endogenous elections, that those elections have nothing to say

about racial polarization in Dodge City. Dr. Barreto’s ecological inference models measure how

Latinos and whites vote, and it is certainly relevant that across all statewide exogenous elections

there is a stark pattern of racial polarization. 236

          194.    Second, in the limited analysis he conducted, Dr. Katz largely agrees with Dr.

Barreto on the point estimates for the RxC EI analysis, i.e., Dr. Katz and Dr. Barreto got very

similar results for the figures that are the most accurate estimate of percent support from a group




232
      Id. at 158:11–17 (Katz).
233
      Id. at 179:6–9 (Katz).
234
      Id. at 177:5–178:16 (Katz); Barreto Report Appendix A Table 1, Ex. 121.
235
      Trial Tr. Vol. IV, 178:17–24 (Katz); Barreto Report Appendix A Table 1, Ex. 121.
236
      Barreto Report Appendix A Table 1, Ex. 121.


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of voters. 237 This both bolsters the validity of Dr. Barreto’s methodology and renders dubious Dr.

Katz’s finding that polarization is not established.

          195.    Third, Dr. Katz’s two main criticisms of Dr. Barreto’s work are unconvincing.

          196.    Dr. Katz claims that a jurisdiction must have a sufficient number of homogenous

precincts for ecological inference point estimates to be valid. 238

          197.    Yet both a federal court and a redistricting commission have rejected this

argument. 239 Indeed, even Dr. Katz himself has testified that Gary King, the political scientist who

developed ecological inference in the first place, has not indicated any bright-line rule for the

number of homogenous precincts for ecological inference estimates to be reliable. 240 In that case,

the federal court found “no basis to conclude that there is some minimum number of homogeneous

precincts required before ER and EI analysis have any probative value in a § 2 case.” 241

          198.    And indeed, Dr. Katz has personally performed work in other cases in which he

conducted ecological regression and ecological inference without any reference to the number of

homogenous precincts in the jurisdiction. 242




237
      Trial Tr. Vol. IV, 185:14–186:14 (Katz); 206:13–20 (Barreto).
238
      Id. at 162:24–163:8 (Katz).
239
      Id. at 187:13–189:7 (Katz).
240
      Id. at 188:10–16 (Katz).
241
      Luna v. Cnty. of Kern, 291 F. Supp. 3d 1088, 1123 (E.D. Cal. 2018).
242
      Trial Tr. Vol. IV, 189:1–10 (Katz).


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          199.   Dr. Katz also critiques Dr. Barreto’s RxC EI analysis of the four Dodge City

Commission elections because he asserts that some of the confidence intervals overlap, creating

some statistical uncertainty. 243

          200.   Yet as Dr. Barreto explained, “the center point” of the confidence interval—the

point estimate—“is by far the most likely” outcome. “As you move away from that [point estimate]”

and toward the lower bounds of the confidence interval, “these points are far, far less likely” to be

accurate than the point estimate. As such, “focus[ing] on the point estimates first and foremost” is

the best practices to determine whether racial polarization exists in a jurisdiction. 244

          201.   Dr. Katz himself appears to have been selective with this criticism. He

acknowledged in his testimony that he published a peer-reviewed article in which he stated that

one political party was likely to do better in an election than another political party despite the fact

that there were overlapping confidence intervals because the former party had a higher point

estimate. 245 As Dr. Barreto explained, Dr. Katz correctly interpreted the data when he wrote the

article—that “even though there is heavy overlap [in the confidence intervals], in his words . . . it

is still likely that this party defeated that party.” 246 It is unclear to the Court why Dr. Katz is taking

issue with the sort of analysis he himself conducted in a peer-reviewed journal some years ago.

          202.   Dr. Katz’s testimony even conflicts with his own work in this very case. In his

expert report and testimony to the Court, Dr. Katz testified as to BISG estimates he arrived at to

estimate the number of Latinos who live in Dodge City’s precincts. Dr. Katz testified that he did


243
      Id. at 181:12–18 (Katz).
244
      Id. at 208:5–209:6 (Barreto).
245
      Id. at 182:15–184:25 (Katz).
246
      Id. at 208:16–20 (Barreto).


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not disclose the confidence intervals for these point estimates but still found them to be valid and

accurate. 247

            203.   In other words, Dr. Katz’s core critique of Dr. Barreto runs contrary not just to his

own peer-reviewed, published work, but to his own work in this very case.

                   f. Additional Evidence of Racially Polarized Voting in Dodge City

            204.   Additionally, to aid the Court, Dr. Barreto presented his racially polarized voting

analysis through showing the demographic and physical divisions within the Dodge City

electorate. 248 Particularly in a racially segregated jurisdiction such as Dodge City, it is probative

for the racially polarized voting analysis that voters north of Comanche Street—a heavily white

area—vote in markedly different ways from voters south of Comanche Street—a heavily Latino

area. 249

            205.   For example, in the 2014 City Commission election, Latina candidate Liliana

Zuniga performed extremely well in high-density Latino precincts of Dodge City. 250 By contrast,

white candidate Rick Sowers underperformed in high-density Latino precincts but overperformed

in the low-density Latino precincts, such as a precinct in the far northeast region of Dodge City.251

Sowers won election to the Commission, while Zuniga lost. 252




247
      Id. at 180:6–21 (Katz).
248
      Trial Tr. Vol. II, 70:3–81:1 (Barreto).
249
      Trial Tr. Vol. II, 70:5-81:1 (Barreto).
250
      Id. at 73:9–13, 75:12–15 (Barreto).
251
      Id. at 75:16–76:12 (Barreto).
252
      Id. at 73:24–74:1, 75:12–15 (Barreto).


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          206.    In the 2017 City Commission election, Brian Delzeit received a lower-than-average

share of the vote in high-density Latino precincts but a higher-than-average share of the vote in

low-density Latino precincts that are at least 90% white. 253 Delzeit was elected to the Commission.

          207.    In the 2019 City Commission election, Joseph Nuci received a higher-than-average

share of the vote in the low-density Latino northern part of Dodge City and a lower-than-average

share of the vote in the high-density Latino southern part of Dodge City. 254 Nuci was elected to

the Commission. In the 2020 County Clerk election in Ford County, Latina candidate Angie

Gonzalez received above average support in the heavily Latino southern part of Dodge City and

below average support in the heavily white northern part of Dodge City. 255 By contrast, her

opponent, Debbie Cox, a white candidate, performed poorly in the southern part of Dodge City

and performed well in the northern part of Dodge City.256 Cox defeated Gonzalez in the election.

Across these many elections, the evidence demonstrates: (1) voters in the heavily Latino South

Dodge vote in markedly different ways than voters in the heavily white North Dodge; (2) voters

who perform well in North Dodge and poorly in South Dodge typically win elections; and (3)

voters who perform well in South Dodge but poorly in North Dodge typically lose elections.




253
      Id. at 77:22–78:8 (Barreto).
254
      Id. at 78:13–21 (Barreto).
255
      Id. at 79:18–80:21 (Barreto).
256
      Id. (Barreto).


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                 g. Dr. Barreto’s Performance Analysis

          208.   Separately, Dr. Barreto conducted what is called a “performance analysis”; that is,

whether and which of Dr. Oskooii’s illustrative maps contain majority-Latino districts where

Latinos have an opportunity to elect their preferred candidates. 257

          209.   To do so, for each district in each map, Dr. Barreto plugged in two main inputs: (1)

the percentage of the Citizen Voting Age Population by race (the first column); and (2) an estimated

percentage of the actual voters on Election Day who would be white versus Latino (the second

column). 258

          210.   From those two data points, Dr. Barreto was able to estimate what percentage the

Latino-preferred candidate and the white-preferred candidate would get on Election Day, taking

into account the racially polarized voting analysis Dr. Barreto had already conducted. In other

words, these estimates are based on the real data of how Latinos and whites vote in Dodge City,

rather than any sort of assumption that all Latinos would vote for the same candidate and all whites

would vote for a different candidate. 259

          211.   Dr. Barreto conducted this analysis using two models: (1) based on current turnout

patterns, and (2) based on elevated turnout. As to the latter, “there is a lot of political science

literature that suggests when you finally have an opportunity to elect someone from your

community there is something called empowerment and you vote at higher rates.” In fact, there is




257
      Trial Tr. Vol. II, 103:7–14 (Barreto); Barreto Report Appendix B Tables 1–14, 122–135.
258
   Trial Tr. Vol. II, 107:2–108:16 (Barreto); Barreto Report Appendix B Tables 1–14, Exs. 122–
135.
259
  Trial Tr. Vol. II, 108:17–109:15 (Barreto); Barreto Report Appendix B Tables 1–14, Exs. 122–
135.


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“considerable evidence that Latino turnout increases” when they are put into a majority-Latino

district. This elevated turnout model accounts for the possibility that turnout might increase if

Dodge City moved from at-large to single-member district elections with majority-Latino

districts. 260

          212.   Dr. Barreto’s performance analysis demonstrates that all 14 of Dr. Oskooii’s

illustrative maps contain at least one, and in some cases two, majority-Latino districts that provide

the Latino population an opportunity to elect their preferred candidates—even assuming the

current turnout model. Under the elevated turnout model, all 14 maps contain three majority-Latino

districts that provide the Latino population an opportunity to elect their preferred candidates. 261

          213.   Defendant conducted no performance analysis to counter Dr. Barreto’s analysis,

and offered no expert or lay testimony that rebutted or contradicted any part of this analysis. This

Court credits Dr. Barreto’s performance analysis in full.

 V.       Totality of the Circumstances

          214.   If the Court finds that the Gingles preconditions are met, the Court then must assess

whether, under the totality of the circumstances, members of the minority group have less

opportunity to participate in the electoral process and elect candidates of their choice. 262 The

Supreme Court has directed that the list of non-exhaustive factors in the Senate Report on the 1982




260
   Trial Tr. Vol. II, 106:6–24; 110:5–23 (Barreto); Barreto Report Appendix B Tables 1–14, Exs.
122–135.
261
      Trial Tr. Vol. II, 111:3–11 (Barreto); Barreto Report Appendix B Tables 1–14, Exs. 122–135.
262
      52 U.S.C. § 10301(b).


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amendments to the VRA (“Senate Factors”) be considered for the totality of the circumstances

analysis. 263

          215.    Plaintiffs put forth expert and lay witness testimony to demonstrate that the Latino

community has less opportunity than other members of the electorate to participate in the political

process and to elect representatives of their choice. This evidence is broken down below by Senate

Factor, focusing on the Senate Factors that Plaintiffs argued in closing were most applicable to this

case.

          A. Senate Factor 1

          216.    Senate Factor 1 focuses on the “extent of any history of official discrimination in

the state or political subdivision that touched the right of members of the minority group to register,

to vote, or otherwise to participate in the democratic process.” 264

          217.    There are multiple instances in which Latinos have faced de jure or de facto

discrimination in Ford County, of which Dodge City is the County Seat, in the context of voting.

          218.    In 1998, Ford County consolidated Dodge City’s seven polling locations into one

location. 265

          219.    Thereafter, the Department of Justice sent poll monitors to Ford County to ensure

that Section 203 Voting Rights Act requirements were being followed by Ford County. 266




263
      Gingles, 478 U.S. at 35–37.
264
      Gingles, 478 U.S. at 36–37.
265
      Stipulation of Fact and Exhibits, Doc. 178 ¶ 45.
266
      Trial Tr. Vol. I, 234:9–23 (Seibel).


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            220.    In 2018, Ford County moved Dodge City’s sole polling location from the Civic

Center to the Expo Center, which is located outside of Dodge City limits. 267

            221.    A U.S. Congressional Oversight Committee report found that local officials did not

meet with concerned citizens or attempt to address Latino concerns before they moved the polling

place outside of Dodge City in 2018. 268

            222.    In 2018, Plaintiff Rangel-Lopez sued the Ford County Clerk, Debbie Cox, for

moving Dodge City’s only polling location without sufficient notice to voters and for providing

incorrect information to voters regarding where to vote. 269

            223.    After the filing of the 2018 lawsuit, the Ford County Clerk committed to opening

an additional polling location for a total of two polling sites in Dodge City.270 Today, Ford County

operates two polling locations for all elections. 271

            224.    Spanish-language election materials were only made available following a fax from

the Department of Justice in 2011 notifying Ford County of its legal obligation under Section 203

of the Voting Rights Act to make ballots available in Spanish and meet disability requirements. 272

During Ms. Seibel’s tenure, the Ford County Clerk’s Office did not employ a full-time Spanish-




267
      Stipulation of Fact and Exhibits, Doc. 178 ¶ 46.
268
      Trial Tr. Vol. I, 105:23–106:3 (Bejarano).
269
      Trial Tr. Vol. I, 9:18–10:6 (Rangel-Lopez).
270
      Trial Tr. Vol. I, 10:7–15 (Rangel-Lopez).
271
      Id.
272
      Trial Tr. Vol. I, 232:8–233:8 (Seibel).


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speaking staff member to comply with these requirements, instead relying on various County

employees for translation. 273

            225.   Currently, Ford County still lacks sufficient election information in Spanish. 274

Information on how to run for office is not available in Spanish. 275

            226.   Additionally, Latino residents in Ford County have endured de facto and de jure

discrimination in access to public facilities in Dodge City in living memory.

            227.   For years, Dodge City’s Latino population was concentrated in the Mexican Village

south of town where homes did not have running water. 276 Stores in North Dodge did not allow

Latinos to enter and those that did would not allow Latinos to return items they had purchased. 277

            228.   The Dodge City public swimming pool only allowed Latino residents access on the

free day, which was the last day before the pool would be drained and new water would be put

in. 278

            229.   Latino students and children from the Mexican Village were only integrated into

the wider Dodge City public school system within living memory of current Dodge City

residents. 279




273
      Trial Tr. Vol. I, 233:9–19 (Seibel).
274
      Trial Tr. Vol. I, 19:20–20:4 (Rangel-Lopez).
275
      Id.
276
      Trial Tr. Vol. III, 155:7–22 (Scoggins).
277
      Trial Tr. Vol. III, 154:15–20 (Scoggins).
278
      Trial Tr. Vol. III, 155:2–6 (Scoggins).
279
      Trial Tr. Vol. III, 155:7–22 (Scoggins).


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           230.   Indeed, Latinos were denied access to other public accommodations and suffered

through segregated theaters in town. 280

           231.   Residents of Dodge City spoke to how many Latinos live in poor areas with gangs,

attend older and underfunded schools, and are consistently frustrated when the city buses regularly

skip stops in Latino areas. 281

           232.   Residents of Dodge City spoke to how predominantly white neighborhoods in

North Dodge City have better resources and government services, while the predominantly Latino

neighborhoods in South Dodge City suffer from buckled sidewalks, dilapidated alleyways where

residents’ garages open, highly inadequate snow removal compared to North Dodge City, and a

lack of playsets in the parks. 282 South Dodge City has few grocery stores, the only exceptions

being stores like Dollar General or family shops. 283 In the Dodge City school system, Latino

children were historically discouraged from speaking Spanish in school, 284 encouraged to be

perceived as “one of the good ones,” 285 and when offered the opportunity to build a Lego version

of their town, Latino children in South Dodge built jails rather than libraries. 286

           233.   Latinos in Dodge City have suffered from racial discrimination by other residents

in Dodge City and officials/employees of the City. Residents and Latino community leaders


280
      Trial Tr. Vol. II, 186:15–25 (Martinez).
281
      Trial Tr. Vol. III, 123:2–9, 125:6–126:3, 128:7–13 (Coca).
282
      Trial Tr. Vol. I, 14:8–16:10 (Rangel-Lopez).
283
      Trial Tr. Vol. I, 17:2–15 (Rangel-Lopez).

284
      Trial Tr. Vol. II, 186:22–25 (Martinez).
285
      Trial Tr. Vol. I, 27:9–28:11 (Rangel-Lopez).
286
      Trial Tr. Vol. III, 153:5–24 (Scoggins).


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described people driving through their neighborhoods screaming racial slurs, 287 discriminatory

remarks by teachers in the Dodge City schools, 288 and organizers from Dodge City threatening to

kick a Latina union leader out of a community event. 289

            B. Senate Factor 2

            234.   Senate Factor 2 evaluates “the extent to which voting in the elections of the state or

political subdivision is racially polarized.” 290 The Court incorporates by reference its Findings of

Fact, discussed supra, as it relates to the second and third Gingles preconditions and the

considerable evidence of racially polarized voting in Dodge City.

            C. Senate Factor 3

            235.   Senate Factor 3 concerns the extent to which “the state or political subdivision has

used…voting practices or procedures that may enhance the opportunity for discrimination against

the minority group.” 291

            236.   Dodge City continues to employ voting practices and procedures that increase the

opportunity for discrimination against Latino voters. One such practice is its at-large election

system.

            237.   At-large election systems affect both descriptive representation for Latinos; that is,

the rate at which Latinos are elected to office and how it relates to their share of the population 292;


287
      Trial Tr. Vol. III, 133:19–24 (Coca).
288
      Trial Tr. Vol. I, 27:9–28:11 (Rangel-Lopez).
289
      Trial Tr. Vol. I, 201:20–202:20 (Vargas).
290
      Gingles, 478 U.S. at 37.
291
      Id.
292
      Trial Tr. Vol. I, 76:2–20 (Bejarano).


                                                     56
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and substantive representation; that is, whether elected officials representing Latinos reflect, think

about, and act on the interests of their Latino constituents, whether or not those elected officials

themselves are actually Latino. 293

          238.    In terms of descriptive representation, there is a consistent finding in political

science literature that at-large election systems “hamper descriptive representation for racial and

ethnic minorities and Latinos in terms of lower rates of those minorities and Latinos that are able

to win office.” 294

          239.    This is because at-large election systems present obstacles to running for office,

including the increased costs of running a campaign city-wide versus in a smaller single-member

district. Latinos tend to have fewer resources and thus at-large systems disproportionately affect

Latino communities. Additionally, it is harder for Latinos to garner sufficient support to win at-

large elections. Thus, Latinos tend to run for office at lower rates in at-large systems as compared

to single-member district systems. 295

          240.    Preeminent historians who testified before Congress during the seminal 1982

reauthorization of the Voting Rights Act “made it very clear that the motivation for implementing

the spread of [the at-large] model at that time was grounded in racial animosity.” 296

          241.    Dr. Martinez explained that once an election system is institutionalized, it becomes

part of the day-to-day practices of communities that continue to carry out these systems that were

established to limit the representation of people of color in local office, even though the



293
      Trial Tr. Vol. I, 96:22–97:10 (Bejarano).
294
      Trial Tr. Vol. I, 93:3–15 (Bejarano).
295
      Trial Tr. Vol. I, 93:16–94:15 (Bejarano).
296
      Trial Tr. Vol. II, 202:22–203:2 (Martinez).


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communities today may not be aware of the history or original motivation for implementing the

system. 297

          242.    There is also a consistent finding in the political science literature that when

jurisdictions switch from at-large election systems to single-member district systems, the

opportunity for descriptive representation of racial and ethnic minorities and Latinos increases. 298

          243.    Minority populations that comprise more than 30 to 40 percent of the voting age

population and which are residentially segregated tend to see the greatest increase in descriptive

representation when an at-large election system is changed to a single-member district system. 299

          244.    Such is the case here. The Hispanic Citizen Voting Age Population in Dodge City

is approximately 46%, and perhaps more to the point, all of Dr. Oskooii’s illustrative maps have

three districts where Latinos make up a majority of the Citizen Voting Age Population. Further, the

factual record is clear that Dodge City is racially segregated such that the Hispanic population is

geographically concentrated. As such, Dodge City meets the conditions under which a minority

population is likely to experience an increase in descriptive representation after moving from an

at-large election system to a single-member district system. 300

          245.    According to the political science literature, at-large election systems also have a

dilutive effect on substantive representation for minority populations as compared to single-




297
      Trial Tr. Vol. II, 203:3–7 (Martinez).
298
      Trial Tr. Vol. I, 94:16–95:2 (Bejarano).
299
      Trial Tr. Vol. I, 95:21–96:10 (Bejarano).
300
      Trial Tr. Vol. I, 96:11–21 (Bejarano).


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member districts. 301 Substantive representation of Latinos is higher when they live in single-

member districts with large Latino populations. 302

            246.   The Dodge City Commission has differential terms for elected Commissioners –

the two candidates who receive the most votes serve four-year terms, while the third-place finisher

serves a two-year term. 303 A candidate who is a lower vote-getter will need to run for re-election

in order to stay in office as long as the top vote-getters. 304

            247.   The differential terms are compounded with other obstacles faced by Latino

candidates that result in decreased descriptive representation, i.e., the very same challenges that

make it difficult for Latinos to run for election citywide make it difficult for Latino candidates to

finish among the two top candidates and receive a full term. 305

            248.   Defendant offered no evidence to rebut Dr. Bejarano’s testimony that: (i) at-large

elections have a dilutive effect on descriptive representation for Latinos; (ii) at-large elections harm

substantive representation for Latinos; (iii) substantive representation is better for Latinos living

in single-member districts with large Latino populations; and (iv) moving from at-large to single-

member district elections can improve descriptive representation for Latinos, especially where the

Latino population is large and residentially segregated.

            249.   Indeed, Defendant’s expert Dr. Kimberly Nelson offered no testimony about the

dilutive effect of at-large election systems. Her testimony about Latino representation focused


301
      Trial Tr. Vol. I, 97:11–24 (Bejarano).
302
      Id.
303
      Trial Tr. Vol. I, 98:20–99:1 (Bejarano); Stipulation of Facts and Exhibits, Doc 178 ¶ 17.
304
      Trial Tr. Vol. I, 99:2–12 (Bejarano).
305
      Id.


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exclusively on whether, and under what conditions, moving from at-large to single-member

districts would improve descriptive representation for Latinos (i.e. whether single-member

districts can remedy the dilutive effect of at-large systems). Even on this more discrete, latter point,

Dr. Nelson acknowledged that moving from at-large to single-member districts has at least “some

effect” on the election of Latinos to office. 306

          250.    Dr. Nelson did not testify that moving from at-large to single-member districts

would have zero effect on descriptive representation for Latinos, but rather merely that based on

the literature she reviewed, it is “unlikely to result in a significant increase in minority

representation in city government.” 307 The only article Dr. Nelson discussed in her testimony to

support this conclusion analyzed California school board elections. 308 Dr. Bejarano referenced this

article when summarizing the political science literature that found that moving from at-large to

single-member district elections has “a more significant” effect when the minority population

comprises “30 to 40 percent of the voting age population.” 309

          251.    And indeed even on this narrow point, Dr. Nelson testified that she was not offering

an opinion about the effectiveness of a switch from at-large to single-member districts on the

ability of Latinos in Dodge City to elect representatives from their community to the Dodge City

Commission. 310 Dr. Nelson also testified that she does not know the level of geographic




306
      Trial Tr. Vol. IV, 43:3–6 (Nelson).
307
      Trial Tr. Vol. IV, 58:1–5 (Nelson) (emphasis added).
308
      Trial Tr. Vol. IV, 42:19–43:2 (Nelson).
309
      Trial Tr. Vol. I, 95:24–96:7 (Bejarano).
310
      Trial Tr. Vol. IV, 49:9–17 (Nelson).


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concentration of Latinos in Dodge City, nor the geographic concentration of Latinos in the

illustrative districts that Dr. Oskooii drew. 311

          252.    Dr. Nelson’s literature review even on her narrow focus was significantly

incomplete. For example, she acknowledged that she did not review a peer-reviewed article in the

Urban Affairs Review—a journal she has published in and which she called “reputable”—that

found a 10-12% increase in minority representation in municipal government by switching from

at-large to single-member districts. 312 Dr. Nelson testified that such an increase would qualify as

“significant.” 313 That same article found a 21% increase among cities with larger shares of

Latinos. 314 Dr. Nelson’s literature review also did not contain other peer-reviewed articles that

found beneficial effects of moving from at-large to single-member districts on descriptive

representation for Latinos. 315 Dr. Nelson later acknowledged that her literature review was not

fully “comprehensive” and that she “missed” the particular Urban Affairs Review article in

question. 316 For all these reasons, this Court finds Dr. Nelson’s opinions in this case unpersuasive

and extremely limited.




311
      Trial Tr.. Vol. IV, 56:17–23 (Nelson).
312
      Trial Tr. Vol. IV, 57:2–60:12 (Nelson).
313
      Trial Tr. Vol. IV, 58:11–15 (Nelson).
314
      Trial Tr. Vol. IV, 60:13–17 (Nelson).
315
      Trial Tr. Vol. IV, 61:4–11 (Nelson).
316
      Trial Tr. Vol. IV, 64:18–65:7 (Nelson).


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          253.    Another dilutive voting practice is off-cycle elections. Off-cycle elections occur in

odd-numbered years and do not occur at the same time as national and state elections, which are

held in November of even-numbered years. 317

          254.    Dodge City has off-cycle elections for the City Commission that occur in

November of odd-numbered years. 318

          255.    Off-cycle elections depress voter turnout because voters must devote more political

resources to keeping track of the election schedule and the candidates’ specific stances, particularly

in a nonpartisan race. The effect is disproportionately felt by racial and ethnic minorities because

they lack political resources as compared to majority populations and face additional costs in

allocating attention to elections. 319

          256.    It is uncontested that, as compared to on-cycle elections, the drop-off in voter

turnout from on-cycle to off-cycle elections is disproportionately larger for racial and ethnic

minorities compared to the drop-off for whites. 320

          257.    Because Dodge City uses at-large elections, differential terms and off-year

elections, the opportunity for discrimination against Latinos is enhanced. 321




317
      Trial Tr. Vol. I, 99:13–22 (Bejarano).
318
      Trial Tr. Vol. I, 99:23–100:2 (Bejarano).
319
      Trial Tr. Vol. I, 100:3–101:2 (Bejarano).
320
      Trial Tr. Vol. I, 101:3–10 (Bejarano).
321
   Trial Tr. Vol. I, 101:11–13 (Bejarano). Plaintiffs recognize that the Court granted the City’s
motion to dismiss Plaintiffs’ claim that, as a matter of remedy, the Court order the City to institute
even-year elections. Totally apart from the question of remedy, however, the evidence shows that
off-year elections, particularly in combination with at-large systems, as a factual matter tend to
discourage minority participation.


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          D. Senate Factor 5

          258.    Senate Factor 5 concerns “the extent to which members of the minority group in

the state or political subdivision bear the effects of discrimination in such areas as education,

employment and health, which hinder their ability to participate effectively in the political

process.” 322

          259.    Throughout trial, Plaintiffs put forward evidence pointing to significant barriers

across employment, education and health which hinder the Hispanic community’s ability to

participate effectively in the political process.

          260.    The Resource Mobilization Theory, a widely accepted theory in political science,

stands for the proposition that “political resources or social economic resources are needed to

effectively participate in politics, and those with fewer socioeconomic resources are also going to

have fewer political resources to devote to politics, so those with fewer socioeconomic resources

are going to have more obstacles to participate in politics.” 323

          261.    The political resources required to effectively participate in politics include time,

energy, political knowledge, education, and information. 324

          262.    Latinos in Dodge City have fewer political resources than whites because they

suffer from a slew of socioeconomic disparities in terms of financial resources, education, health,

and housing.




322
      Gingles, 478 U.S. at 37.
323
      Trial Tr. Vol. I, 123:5–21 (Bejarano).
324
      Trial Tr. Vol. I, 124:6–10 (Bejarano).


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          263.    A community that lacks economic resources also lacks political resources needed

to participate in politics. 325

          264.    There are economic disparities between the Latino population and white population

in Dodge City across key economic indicators. 326

          265.    Latinos in Dodge City have lower median household incomes, higher poverty rates,

higher child poverty rates, and higher unemployment rates, than white residents of Dodge City.

According to 2021 ACS 5-year estimates, the median household income in Dodge City was

$54,133 for Latinos as compared to $64,250 for whites; the income below poverty level rate was

17.9% for Latinos as compared to 6.8% for whites; the child poverty rate was 9% for Latinos as

compared to 0.3% for whites; and the unemployment rate was 4.5% for Latinos as compared to

2.8% for whites. 327 These disparities have been consistent across time. 328

          266.    Education is also correlated with political participation, both because education is

linked with economic well-being and because education provides individuals with the knowledge

to understand and participate in politics effectively. 329

          267.    Latinos in Dodge City have dramatically lower rates of educational attainment than

whites in Dodge City. According to the 2021 ACS 5-year estimates, the share of Latinos in Dodge

City who had less than a high school diploma was 44.2%, as compared to 4.5% of whites. 330 Just


325
      Trial Tr. Vol. I, 123:22–124:10 (Bejarano).
326
      Bejarano Report Table 2, Ex. 46; Trial Tr. Vol. I, 129:2–6 (Bejarano).
327
      Bejarano Report Table 2, Ex. 46; Trial Tr. Vol. I, 125:2–8 (Bejarano).
328
      Bejarano Report Table 2, Ex. 46; Trial Tr. Vol. I, 125:2–16 (Bejarano).
329
      Trial Tr. Vol. I, 129:7–14 (Bejarano).
330
      Bejarano Report Table 3, Ex. 47; Trial Tr. Vol. I, 130:3–131:18 (Bejarano).


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5.8% of Latinos in Dodge City have a college degree or higher, as compared to 40.5% of whites.

These disparities have been generally consistent over time. 331

            268.   Health and access to quality healthcare are further indicators of socioeconomic

standing. 332 Moreover, lack of health insurance “can negatively impact those political resources

that are needed to pay attention and participate effectively in politics.” When a group

disproportionately lacks quality health insurance, that group faces higher rates of disease and poor

health, leading to less time, information, knowledge, and resources to effectively participate in

politics. 333

            269.   Latinos in Dodge City have a much lower rate of health insurance coverage as

compared to whites in Dodge City. According to the ACS 2021 5-year estimates, 19.4% of Latinos

in Dodge City did not have any health insurance coverage, as compared to 6.6% of whites. 334

            270.   Home ownership is linked to higher political participation because (i) home

ownership is another indicator of wealth, and (ii) those who own a home have more stability and

are less likely to move frequently, which means their registration stays current and they become

more invested in political participation. 335

            271.   Latinos in Dodge City have a lower rate of home ownership and are more likely to

rent homes or apartments. According to the 2021 ACS 5-year estimates, 57.9% of Latinos owned

a home, as compared to 69.1% of whites, while 42.1% of Latinos were renters, as compared to


331
      Id.
332
      Trial Tr. Vol. I, 131:20–132:4 (Bejarano).
333
      Bejarano Report Table 7, Ex. 51; Trial Tr. Vol. I, 132:5–24 (Bejarano).
334
      Id.
335
      Trial Tr. Vol. I, 133:9–17 (Bejarano).


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30.9% of whites. 336 This disparity in the data remained consistent over the time period analyzed

by Dr. Bejarano.

          272.    According to the 2009 ACS 5-year estimates, the median home value for Latinos

in Dodge City was $67,300 as compared to $103,400 for whites. (The American Community

Survey did not produce this data after 2009). 337

          273.    There is thus a consistent and longstanding pattern of socioeconomic disparities for

Latinos in comparison to whites in Dodge City.

          274.    Latinos in Kansas consistently have a lower rate of voter registration and voter

turnout as compared to whites. In 2020, 51.5% of Latino citizens were registered to vote and 45.5%

turned out to vote, as compared to 75.3% of white citizens who were registered and 70.7% who

turned out. In 2016, 54.7% of Latino citizens were registered to vote and 48.9% turned out to vote,

while 74.4% of white citizens were registered and 65.3% turned out. 338

          275.    Dr. Nelson—who does not contest any of Dr. Bejarano’s data nor that these

socioeconomic disparities exist in Dodge City—noted that Dr. Bejarano did not do a statistical

significance test when evaluating socioeconomic disparities in Dodge City. 339 Dr. Bejarano

explained that “social scientists don’t generally use a statistical significance test” when evaluating

socioeconomic disparities and that “[i]t is common” for political scientists to evaluate

socioeconomic disparities using census or ACS data without statistical significance tests. 340 This


336
      Bejarano Report Table 6, Ex. 50; Trial Tr. Vol. I, 134:16–24 (Bejarano).
337
      Bejarano Report Table 6, Ex. 50; Trial Tr. Vol. I, 134:25–135:19 (Bejarano).
338
      Bejarano Report Table 9, Ex. 53; Trial Tr. Vol. I, 137:12–21 (Bejarano).
339
      Trial Tr. Vol. IV, 44:1–5 (Nelson).
340
      Trial Tr. Vol. I, 128:5–129:1 (Bejarano).


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is in part because social scientists consider ACS and census data particularly reliable within the

political science field. 341

          276.    It is important to note also that many of these socioeconomic disparities—in

addition to being consistent over time—have also worsened over time. The gaps between Latinos

and whites in Dodge City in areas such as median household income, poverty rates, college

graduation rates, rates of home ownership, health insurance coverage, and voter turnout and

registration rates are wider today than they have been in years past. 342

          277.    Dr. Martinez testified about the history of race relations in Dodge City and in

Kansas more broadly. 343 In order to examine this history, Dr. Martinez reviewed oral histories,

news accounts, official documents from the Ford County election office, historical documents, and

scholarly work. The oral histories he reviewed included those of Luis Sanchez, who was the first

Latino elected to the Dodge City Commission in 1982, and Fred Rodriguez, another resident of

Dodge City. 344

          278.    At its founding, Dodge City had segregation between white residents, who lived on

the north side of the Arkansas river, and African-American residents, who lived on the south side

of the Arkansas river. 345




341
      Trial Tr. Vol. I, 128:5–21 (Bejarano).
342
      Bejarano Report Tables, Exs. 46–47, 50–51, 53.
343
      Trial Tr. Vol. II, 183:14–16 (Martinez).
344
      Id. at 184:10–186:14 (Martinez).
345
      Id. at 194:18–22 (Martinez).


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          279.   Latinos first came to Dodge City in the early 1900s to work on the local railroads. 346

When Latinos arrived in Dodge City, the Mexican Village was formed. The Mexican Village

consisted of a number of row houses where Latinos lived, made of scrap wood and lumber, without

any running water or indoor plumbing. 347

          280.   In their oral histories, both Luis Sanchez and Fred Rodriguez described growing up

in the Mexican Village in Dodge City and spoke to their experiences being denied access to public

accommodations in Dodge City. They were not allowed to use the swimming pool or to enter into

barbershops. They described how Spanish was not permitted in the schools and that public theaters

were segregated. 348 When the Mexican Village was eliminated, the majority of Latino residents

moved to the southeast side of Dodge City. 349

          281.   There is evidence that restrictive housing covenants were used in Dodge City,

which prohibited the sale of certain houses in certain areas of Dodge City to Latinos. 350

          282.   In response to the discrimination they faced, Mexicans and Mexican-Americans in

Dodge City established a chapter of the American G.I. Forum in 1954. The American G.I. Forum

was a civil rights organization founded in south Texas after a funeral home refused to address the

wishes of the family of a Hispanic solider killed in World War II. 351




346
      Id. at 195:5–12 (Martinez).
347
      Id. at 195:9–17 (Martinez).
348
      Id. at 186:2–187:2 (Martinez).
349
      Id. at 196:4–8 (Martinez).
350
      Id. at 196:12–17 (Martinez).
351
      Id. at 196:21–197:22 (Martinez).


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          283.   Dr. Martinez opined that, despite the limited number of studies on the experience

of Latinos in Kansas, it is still possible to identify general patterns. For example, Kansas had

“sundown towns,” in which local ordinances and practices prohibited people of color from being

in the town after dark. The Ku Klux Klan also had a presence in Kansas and lynchings occurred. 352

          284.   Segregation existed with respect to African-Americans in Kansas before Latinos

began to arrive in the state. Latinos in turn “tended to be absorbed into those structures or patterns.”

For example, legislation allowed first-class cities in Kansas to segregate students of color from

white students. The Clara Barton School served the Mexican community of Kansas City, Kansas

from 1923 to 1953. In Dodge City, a school was built in the Mexican Village, which existed up

until approximately 1955. 353

          285.   With respect to current race relations in Dodge City, Dr. Martinez found that while

Latinos originally came to Dodge City to work on the railroads, they are now the labor force that

sustains the meatpacking plants. “They have been absorbed into…the lower strata of the economy.

So they stay there to work, and they continue to raise their kids there.” 354

          286.   Plaintiffs’ fact witnesses provided additional testimony in favor of Senate Factor 5.

Mr. Rangel-Lopez described experiencing racism in Dodge City public schools, where he was

described as “one of the good ones” by his elementary school teacher. He believes this label

referred to the fact that he could pass as white, spoke English well, and behaved in class. He heard

similar sentiments repeated by teachers and others in the community throughout his public-school




352
      Id. at 188:1–15 (Martinez).
353
      Id. at 193:6–194:9 (Martinez).
354
      Id. at 200:4–17 (Martinez).


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career. He perceived a subtle undertone that he should behave, or he would be “lumped in with the

rest of them.” 355

          287.    Mr. Coca recounted how he was considered an ESL student in Dodge City public

schools even though he learned to speak English and Spanish simultaneously. He was pulled out

of class for testing, which he found frustrating and caused additional academic challenges. Being

unnecessarily labeled an ESL student made him feel inferior. 356

          288.    Mr. Coca also described his less subtle experiences with people screaming racial

slurs at him while walking home in Dodge City. 357

          289.    Mr. Coca was appointed to the Dodge City library board in summer 2022, prior to

this lawsuit, but his application for re-appointment was not approved and he was replaced in

January 2024. 358

          290.    Former Dodge City Commissioner Jan Scoggins testified that growing up in Dodge

City, she witnessed prejudice against Latinos. Ms. Scoggins recalled that there was one public

swimming pool in Dodge City in Wright Park. Hispanics were allowed to swim on what was called

“free day.” It was the last day before they drained the pool and refilled it with fresh water. 359

          291.    Ms. Scoggins also testified that, when she was growing up, Hispanics were not

allowed in the stores in the north part of Dodge City. If a Hispanic person did enter a store, they




355
      Trial Tr. Vol. I, 27:9–28:11 (Rangel-Lopez).
356
      Trial Tr. Vol. III, 133:25–134:13 (Coca).
357
      Id. at 133:19–24 (Coca).
358
      Id. at 134:14–135:7 (Coca).
359
      Id. at 154:21–155:6 (Scoggins).


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would not be permitted to try on clothes. If they purchased something, they would not be allowed

to return it. 360

          292.      Ms. Scoggins recounted how her childhood neighbor, Art Scroggins, was the

superintendent of schools and was the first to integrate the Roosevelt School when Ms. Scoggins

was in kindergarten or first grade. Prior to that, Mexican children were not allowed to attend the

Dodge City public schools. 361

          293.      More recently, as a Commissioner, Ms. Scoggins visited Sunnyside Elementary

School, located in South Dodge. The elementary school had invited the Commissioners to see Lego

cities that the students built as part of an after-school art project. Ms. Scoggins observed that while

she did not see many libraries or airports, “every one of those kids had put a jail in their city.” 362

          294.      Ms. Scoggins testified that, in Dodge City, “the schools with the lowest family

income would be Sunnyside and Beeson”—two heavily Latino schools in South Dodge. 363 She

also testified that children in these schools lacked supplies such as Legos and their own books at

home. 364

          295.      Monica Vargas, Political and Community Outreach Director for the United Food

and Commercial Workers International Union, Local 2, testified that approximately 70% of all

meatpacking workers in the Dodge City plants (National Beef and Cargill) are Hispanic. 365 Ms.



360
      Id. at 154:15–20 (Scoggins).
361
      Id. at 155:7–22 (Scoggins).
362
      Id. at 153:1–24 (Scoggins).
363
      Id. at 152:18–22 (Scoggins).
364
      Id. at 153:11–12 (Scoggins); see also Trial Tr. Vol. III, 151:20–22 (Scoggins).
365
      Trial Tr. Vol. I, 190:8–10 (Vargas).


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Vargas explained that most members of the Hispanic community in Dodge City are connected to

the meatpacking plants through one or more family members who have worked in the plants. 366

            296.   Ms. Vargas testified about the resistance she has personally faced as an advocate

for the Hispanic community in Dodge City. For example, when Ms. Vargas attended a free dental

services fair held in Dodge City in order to provide bilingual information about the U.S. Census

and voter registration, the fair’s organizers stationed her in an area that made it difficult for her to

speak with the event’s participants. When she asked to be moved, the organizer threatened to kick

her out and said he knew her “kind of people.” 367

            297.   Ms. Vargas further testified that meatpacking workers in Dodge City are often

unable to participate effectively in the political process due to the exhausting nature of the work in

the plants. 368 Furthermore, many Hispanic individuals working in the meatpacking plants lack

understanding of the local electoral system because they are either immigrants themselves or

children of immigrants and grew up without parents who were familiar with and could educate

them on the electoral system. 369

            298.   During summer 2020, Mr. Rangel-Lopez worked as a COVID Compliance Monitor

at National Beef. 370 Mr. Rangel-Lopez detailed the conditions he experienced working at National




366
      Id. at 208:18–22 (Vargas).
367
      Id. at 201:20–202:20 (Vargas).
368
      Id. at 196:3–20 (Vargas).
369
      Id.
370
      Id. at 11:2–21 (Rangel-Lopez).


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Beef. There is a fabrication side of the plant, which is the cold freezer where workers put the meat

in boxes, and the kill floor, where workers slaughter the cows and prepare them for fabrication. 371

            299.   Mr. Rangel-Lopez described the kill floor at National Beef as sweltering hot.

Temperatures can reach 110 degrees Fahrenheit outside and even hotter inside the plant. There is

no air conditioning on the kill floor, only fans to provide cooling and popsicles are sometimes

handed out. People’s hands and feet look like they have been in the shower for too long and people

on the kill floor are always covered in blood. Meanwhile, the fabrication side of the plant is

freezing. In sum, according to Mr. Rangel-Lopez, working in the plants is brutal. 372

            300.   Defendant’s witness Ernestor De La Rosa, former Assistant City Manager, testified

that Dodge City does not have non-profit organizations that support Hispanic community members

who run for office in Dodge City. Mr. De La Rosa noted that Dodge City also lacks non-profits

that educate or engage first-generation immigrants about local elections and local government. 373

            301.   Mr. De La Rosa testified that campaigning as a first-generation immigrant and first-

time candidate against an experienced, longtime Commissioner is “a tall order.” 374 He also agreed

that it is difficult for community members to engage in the electoral process when the people in

power do not reflect the community members. 375




371
      Id. at 12:7–13:14 (Rangel-Lopez).
372
      Id.
373
      Trial Tr. Vol. IV, 23:16–24:14 (De La Rosa).
374
      Id. at 24:15–25:2 (De La Rosa).
375
      Id. at 16:20–17:8 (De La Rosa).


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          302.    Mr. Coca likewise testified that he rarely sees Hispanic people in positions of power

in Dodge City. Rather, he noted that his family members primarily work retail and fast food jobs

in Dodge City and have many Hispanic coworkers in these types of jobs. 376

          303.    Mr. Coca has never considered running for Dodge City Commission because he

does not believe that resources are available to him that would allow him to run successfully and

that it would be “difficult trying to garner support.” 377

          304.    David Rebein testified that elections in Dodge City are “more of a popularity

contest.” 378 He also explained that “candidates are recruited by their friends…[T]hat’s the way it

has historically been, that’s the way it still is.” 379 Mr. De La Rosa agreed that one “could argue”

that Dodge City elections are popularity contests. 380

          305.    Mr. Rangel-Lopez testified that elections are yard-sign contests and that candidates

put them in front of businesses or properties they own. Mr. Rangel-Lopez observed that the people

who run for Commission are often realtors or people with high name recognition. He believes it is

difficult to get into the political space because of the need for name recognition. 381




376
      Trial Tr. Vol. III, 132:8–21 (Coca).
377
      Id. at 131:21–132:7 (Coca).
378
      Id. at 231:7–16 (Rebein).
379
      Id. at 228:17–21 (Rebein).
380
      Trial Tr. Vol. IV, 25:3–17 (De La Rosa).
381
      Trial Tr. Vol. I, 19:3–20 (Rangel-Lopez).


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          306.    Mr. Rangel-Lopez believes that in order to run for office successfully in Dodge City,

you have to know whom to talk to and be part of a certain group. You need to know people in

power. 382

          307.    Mr. Rangel-Lopez testified that the Kansas for Liberty PAC broadcasted a

Republican slate of candidates for the ostensibly non-partisan 2021 Dodge City Commission and

School Board Elections. 383

          308.    Ms. Scoggins believes she came in last place in the 2023 Commission election

because a group of three candidates who aligned with the Republican party engaged in negative

campaigning against her. 384

          309.    According to Mr. Rangel-Lopez, there is a lack of information available in Spanish

on how to run for office. The County Clerk website is outdated. 385

          310.    Mr. Coca has never considered running for Dodge City Commission because he

does not believe that resources are available to him that would allow him to run successfully and

that it would be “difficult trying to garner support.” 386

          311.    Senate Factor 5 is met due to the disparities in education, health, housing, poverty,

and voter turnout and registration among the Latino community in Dodge City. 387 These disparities

cannot be realistically separated, at least in part, from the earlier history of racial discrimination


382
      Id. at 20:5–9 (Rangel-Lopez).
383
      Id. at 53:9–16 (Rangel-Lopez); Barreto Report Appendix D, Ex. 137.
384
      Trial Tr. Vol. III, 161:3–162:6 (Scoggins).
385
      Trial Tr. Vol. I, 19:20–20:4 (Rangel-Lopez)
386
      Trial Tr. Vol. III, 131:21–132:7 (Coca).
387
      Trial Tr. Vol. I, 137:22–24 (Bejarano).


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against non-whites in Dodge City, as exemplified by the unimpeached testimony of Ms. Scoggins,

Ms. Vargas, Mr. Rangel Lopez and Mr. Coca about their personal experiences and observations of

such behavior. While it is extraordinarily difficult to show “causation” for social scientists, 388 the

longstanding nature of the disparities also shows that they are not simply the result of a recent

influx of immigrants to the city.

          E. Senate Factor 7

          312.    Senate Factor 7 concerns “the extent to which members of the minority group have

been elected to public office in the jurisdiction.” 389

          313.    Plaintiffs demonstrated that Hispanic community members have seldom been

elected to public office in Dodge City, Ford County, or Kansas.

          314.    Dr. Bejarano testified that under minority empowerment theory, “if racially ethnic

minorities can see themselves reflected in those that represent them, they can be more [] motivated

to…pay attention to politics, to have political interest, to be more likely to participate in politics

and vote, and also to feel like they have a more representative democracy and feel more trust in

the government.” 390

          315.    Dr. Bejarano used data published by the National Association of Latino Elected and

Appointed Officials (“NALEO”) survey, which is regularly relied on by experts in the field of

Latino politics, to determine the rate of election of Latinos in Dodge City, Ford County, and

Kansas. 391



388
      Id. at 143:12–16 (Bejarano).
389
      Gingles, 478 U.S. at 37.
390
      Trial Tr. Vol. I, 76:21–77:7 (Bejarano).
391
      Id. at 76:10–20, 77:8–14 (Bejarano).


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            316.   The NALEO directory is an annual publication intended to provide a

comprehensive directory of Latinos that have been elected and appointed to office throughout the

U.S. NALEO staff verify the accuracy of the survey to ensure the source represents the number of

Latinos elected in the U.S. 392

            317.   Plaintiffs’ expert Dr. Barreto testified that he worked on the NALEO directory as a

graduate student. 393 He considers the directory to be “extremely accurate” and believes it is

“widely used by academics to understand Latino elected and appointed officials. 394

            318.   To determine whether a particular group is underrepresented, overrepresented, or

otherwise, political scientists compare the group’s share of the population with its share of elected

officials in the relevant jurisdictions. 395

            319.   As of 2021, Latinos comprised 64.6% of the total population in Dodge City, 55.8%

of the total population in Ford County, and 12.7% of the total population in the state of Kansas.396

            320.   As of 2021, Latinos made up 46.1% of the Citizen Voting Age Population in Dodge

City, 37.1% of the citizen voting-age population in Ford County, and 8.1% of the Citizen Voting

Age Population in the state of Kansas. 397




392
      Id. at 77:8–78:5 (Bejarano).
393
      Trial Tr. Vol. II, 49:7–18 (Barreto).
394
      Id. at 49:19–50:7 (Barreto).
395
      Trial Tr. Vol. I, 76:2–20 (Bejarano).
396
      Bejarano Report Table 10, Ex. 54; Trial Tr. Vol. I, 79:20–80:2, 83:11–15 (Bejarano).
397
      Id.


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          321.    Based on their share of the total population and Citizen Voting Age Population,

Latinos in Dodge City are dramatically underrepresented at all levels of government—municipal,

county, statewide, and federal.

          322.    Just two Latinos—Fernando Jurado and Joseph Nuci—have been elected to the

Dodge City Commission between 1996–2023. There is “stark underrepresentation for Latinos on

the Dodge City Commission” and there has been for decades. 398

          323.    Dr. Bejarano’s Table 11 includes Blanca Soto, a Latina, for 2021. Yet, to be clear,

Ms. Soto was never elected to office. She was appointed to fill a vacancy on the Commission in

2021, but subsequently lost her campaign for election. 399 Mr. Nuci was not included in the NALEO

directory of Latino elected officials. For that reason, Dr. Bejarano did not include him in her table

demonstrating her findings in reliance on the NALEO directory. However, Dr. Bejarano identified

Commissioner Nuci as a Latino elected official through supplemental research and included this

information in a footnote to the table of Latino Municipal Officials in Kansas and Dodge City

(1996–2021). 400 Regardless, as noted supra, Mr. Nuci is just one of two Latinos elected to the

Dodge City Commission in the past nearly 30 years; his inclusion or non-inclusion does not change

the “stark underrepresentation for Latinos on the Dodge City Commission.” 401 The other, Mr.

Jurado, is included in Dr. Bejarano’s table and not in a footnote, as Defendant erroneously

suggested at trial.




398
      Bejarano Report Table 11, Ex. 55; Trial Tr. Vol. I, 81:18–82:4 (Bejarano).
399
      Bejarano Report Table 11, Ex. 55; Trial Tr. Vol. I, 82:6–12 (Bejarano).
400
      Bejarano Report Table 11, Ex. 55; Trial Tr. Vol. I, 82:13–83:6 (Bejarano).
401
      Trial Tr. Vol. I, 83:8–15 (Bejarano).


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          324.   Between 1996 and 2021, Latinos made up less than 1% of municipal officials in the

state of Kansas, compared to their much larger share of the total and Citizen Voting Age Population

statewide. Latinos are underrepresented in municipal offices statewide. 402

          325.   Only one Latino served on the Dodge City School Board between 1996 and 2021.

Thus, Latinos are heavily underrepresented on the Dodge City School Board. 403

          326.   Between 1996 and 2021, far less than 1% of School Board officials in the state of

Kansas have been Latinos. Thus, Latinos are also underrepresented on School Boards in Kansas.404

          327.   In Dodge City, no Latino served as an elected judicial or law enforcement official

between 1996 and 2021, indicating stark underrepresentation. 405

          328.   Latinos are underrepresented in both judicial and law enforcement offices in Kansas.

Between 1996–2012 and 2017–2021, no Latinos in Kansas held any of those offices. Just one

Latino held one of the offices between 2013–2016. 406

          329.   No Latinos were elected to the Ford County Commission between 1996 and 2021,

denoting significant underrepresentation. 407

          330.   Between 1996 and 2021, there have been no more than 3 Latinos serving as county

board officials across the state of Kansas at any given time. There are anywhere between 315 and

1,000 such positions each year. Even in a best case scenario, this means Latinos have a rate of


402
      Id. at 84:6–16 (Bejarano).
403
      Bejarano Report Table 12, Ex. 56; Trial Tr. Vol. I, 85:15–24 (Bejarano).
404
      Bejarano Report Table 12, Ex. 56; Trial Tr. Vol. I, 85:25–86:12 (Bejarano).
405
      Bejarano Report Table 13, Ex. 57; Trial Tr. Vol. I, 87:12–88:1 (Bejarano).
406
      Bejarano Report Table 13, Ex. 57; Trial Tr. Vol. I, 87:12–88:1 (Bejarano).
407
      Bejarano Report Table 14, Ex. 58; Trial Tr. Vol. I, 88:19–24 (Bejarano).


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election to county boards across Kansas of less than one percent, which constitutes significant

underrepresentation. 408

          331.    There have been 2 to 6 elected Latinos in the Kansas State Legislature, out of 165

total seats, each year between 1996 and 2021. This range of 1.2%-3.6% Latino representation in

the state legislature is far less than their share of the statewide population. 409

          332.    No Latinos were elected to any of the seven statewide executive offices Dr.

Bejarano examined between 1996 and 2021. 410

          333.    No Latinos were elected to the U.S. Congress to represent Kansas between 1996

and 2021. 411

          334.    Plaintiffs’ fact witnesses provided additional testimony in favor of Senate Factor 7.

Mr. De La Rosa testified to the difficulties Hispanic candidate Blanca Soto faced in seeking

election to the Dodge City Commission. As a consequence of Dodge’s at-large election system,

Ms. Soto had to spread her efforts and campaign throughout Dodge City. Mr. De La Rosa recalled

hearing criticism of Ms. Soto such as “why isn’t she campaigning?” or “why is she so late putting

up signs?” 412 He had a conversation with Ms. Soto in which she expressed frustration because she

was trying to run a campaign as a single mom also working a full-time job. 413 Mr. De La Rosa felt

that Latino community leaders should have done more to support Ms. Soto’s campaign, but


408
      Bejarano Report Table 14, Ex. 58; Trial Tr. Vol. I, 88:25–89:21 (Bejarano).
409
      Bejarano Report Table 15, Ex. 59; Trial Tr. Vol. I, 90:13–25 (Bejarano).
410
      Bejarano Report Table 15, Ex. 59; Trial Tr. Vol. I, 91:1–13 (Bejarano).
411
      Trial Tr. Vol. I, 91:16–23 (Bejarano).
412
      Trial Tr. Vol. IV, 23:16–24:14 (De La Rosa).
413
      Trial Tr. Vol. III, 317:13:23 (De La Rosa).


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understood “[t]hat was a lot to ask of them.” 414 Mr. De La Rosa suggested that “it goes back to the

ecosystem of the infrastructure” and that Dodge City doesn’t have non-profit organizations that

support Latino candidates or work to engage and energize voters. 415 Ultimately, Blanca Soto was

not elected. 416

            335.   Ms. Vargas testified that Hispanic candidate Angie Gonzalez ran for Ford County

Clerk in 2020. Despite conducting what Ms. Vargas characterized as “a pretty impressive campaign”

consisting of knocking on doors with her children, Ms. Gonzalez lost the election. 417

            336.   Former Commissioners spoke to the cost of running a citywide campaign in Dodge

City. Mr. Sowers’ campaign for Commission cost him between $4,000 and $6,000. 418 Fernando

Jurado’s 1998 campaign cost approximately $2,000. 419 Ms. Scoggins self-financed her campaign

in 2023. 420

            337.   Mr. De La Rosa agreed that Hispanics are underrepresented on the Dodge City

Commission. Moreover, Mr. De La Rosa testified that the low-to-moderate income individuals

living in South Dodge have never successfully elected anyone from their community to the

Commission. 421


414
      Trial Tr. Vol. IV, 24:7–10 (De La Rosa).
415
      Id.
416
      Id. at 23:16–24:14 (De La Rosa).
417
      Trial Tr. Vol. I, 197:10–18 (Vargas).
418
      Trial Tr. Vol. IV, 120:14–25 (Sowers).
419
      Deposition Designation of Fernando Jurado, Doc. 186, 11:7–11.
420
      Trial Tr. Vol. III, 160:9–11 (Scoggins).
421
      Trial Tr. Vol. IV, 19:21–20:2 (De La Rosa).


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          338.    Mr. De La Rosa discussed “how crucial it is to have representation on some of these

important commissions.” 422

          339.    Assistant City Manager Melissa McCoy believes that “having service from our

diverse representatives in the community is always beneficial.” She agreed that the election of a

Latino candidate in Dodge City would provide inspiration to Latinos in Dodge City.423

          340.    Mr. Rangel-Lopez and Mr. Coca recalled voting for Jan Scoggins and Blanca Soto

for Dodge City Commissioner. Mr. Coca explained that he voted for these candidates because they

had “the interests of the Hispanic population at heart” and “they listen.” Neither of these candidates

won. 424

          341.    Mr. Coca testified that Hispanic candidate Liliana Zuniga also ran for Dodge City

Commission and lost.425

          342.    According to Mr. Coca, former Commissioner Joseph Nuci has not been involved

in the Latino community in Dodge City. Mr. Coca and Mr. Rangel-Lopez did not know Mr. Nuci

was Hispanic prior to the filing of this lawsuit. 426

          343.    After having been elected twice, Mr. Nuci lost re-election in 2023, after it became

public knowledge in Dodge City that he is Hispanic. 427




422
      Id. at 23:13–15 (De La Rosa).
423
      Trial Tr. Vol. IV, 83:2–84:5 (McCoy).
424
      Trial Tr. Vol. I, 20:10–21 (Rangel-Lopez); Trial Tr. Vol. III, 130:11–22 (Coca).
425
      Trial Tr. Vol. III, 131: 9–20 (Coca)
426
      Id. at 130:23–131:8 (Coca); Trial Tr. Vol. I, 61:17–22 (Rangel-Lopez).
427
      Trial Tr. Vol. IV, 84:16–85:1 (McCoy); Trial Tr. Vol. I, 61:6–22 (Rangel-Lopez).


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          344.    Because Latinos are underrepresented in elected offices at each of the city, county,

statewide, and federal levels, Senate Factor 7 is met. 428

          F. Senate Factor 8

          345.    Senate Factor 8 concerns “whether there is a significant lack of responsiveness on

the part of elected officials to the particularized needs of the members of the minority group.” 429

          346.    Plaintiffs presented evidence of a significant lack of responsiveness on the part of

elected officials to the needs of the Hispanic community in Dodge City.

          347.    Political science literature states that responsiveness to a community indicates

substantive representation, i.e., when elected officials act “on behalf of their constituents[.]” 430

          348.    In evaluating responsiveness in local offices, political scientists consider (1)

concerns or preferences expressed by the community or a proxy group, (2) whether there is a

disproportionate impact of policies on the community, and (3) if local or state officials

acknowledge the community’s preferences or concerns. Dr. Bejarano followed this rubric in

evaluating the Commission’s responsiveness to the Latino community in Dodge City.431

          349.    Dr. Bejarano researched responsiveness to Latino concerns in Dodge City by

examining certain illustrative issues: “voter access, [health], [] racial discrimination and

immigration enforcement.” 432 Her findings, which the Court credits, are discussed below.




428
      Trial Tr. Vol. I, 91:24–92:2 (Bejarano).
429
      Gingles, 478 U.S. at 36–37.
430
      Id. at 101:25–102:7 (Bejarano).
431
      Id. at 103:13–22 (Bejarano).
432
      Id. at 102:21–103:1 (Bejarano).


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          350.    Voter Access. Prior to 2002, Dodge City had seven polling locations. 433 From 2002

until the 2018 election, only one polling location existed for all of Dodge City. 434 In 2018, the sole

polling location in Dodge City was moved to a new location outside of city limits. There were

concerns expressed that the move would disproportionately impact the Latino community, as the

new polling location was not accessible by public transportation. A Congressional oversight

committee concluded that local officials did not hold meetings with concerned citizens or address

Latino concerns before making the decision to move the polling location outside city. 435

          351.    Furthermore, in a meeting initiated by Latino community leaders in Dodge City

following a high-profile shooting in 2010 that sparked racial tensions, the City indicated that it

would look into its use of at-large elections in response to Latinos’ expressed concerns that they

did not have political representation on the Commission. Dr. Bejarano found little evidence of any

substantial follow-through on this promise. 436

          352.    Finally, residents of South Dodge City have indicated their concerns about the use

of at-large elections by expressing the sentiment that it is not “worth [it] to try to run city wide and

to put their hat in the ring to run for City Commission.” Dr. Bejarano explained that “those

concerns were expressed,” including to Commissioner Jan Scoggins in 2019. “[T]he City

Commission had discussions and didn’t follow through.” 437




433
      Stipulation of Facts and Exhibits Doc. 178 ¶ 29, Trial Tr. Vol. I, 104:15–21 (Bejarano).
434
      Stipulation of Facts and Exhibits Doc. 178 ¶ 29.
435
      Trial Tr. Vol. I, 104:14–105:10 (Bejarano).
436
      Id. at 109:11–110:20 (Bejarano).
437
      Id. at 103:23–104:13 (Bejarano).


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          353.   As to voting, all three indicia of unresponsiveness were met. As to the first indicator,

Latinos expressed concerns about both the at-large method of election and the reduced number of

polling locations. As to the second indicator, both issues disproportionately affected Latinos. And

as to the third indicator, the City acknowledged the concerns that the at-large system was

preventing Latinos from having more robust political representation. 438

          354.   Health. The meatpacking industry was the hardest-hit industry during the COVID-

19 pandemic, with infection rates even higher than in long-term care facilities. In Dodge City,

Latinos “heavily comprise the workers in the meatpacking plants.” “[T]here were concerns about

the meatpacking plants in terms of safety protocols that were taken and whether there was enough

precaution, safety precautions taken to both safeguard the workers and the surrounding

communities during the height of the pandemic.” 439

          355.   Latino meatpacking workers expressed concerns about the safety conditions

through their union. Workers also submitted complaints to the Occupational Safety and Health

Administration (“OSHA”) about fearing for their health and safety. The evidence supports those

concerns: Latinos suffered from the highest rates of COVID-19 in Kansas, and higher rates of

death from COVID-19 than other racial and ethnic groups in Kansas. 440 The Latino meatpacking

community was continuously concerned that not enough was being done to protect workers from

COVID-19. 441




438
      Id. at 105:11–106:3 (Bejarano).
439
      Id. at 106:4–21 (Bejarano).
440
      Id. at 106:22–107:19 (Bejarano).
441
      Id. at 107:20–108:3 (Bejarano).


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          356.   Despite union and OSHA complaints, nothing was done to address these health

concerns. The City took no steps, formal or informal, to provide health resources, or family or

other support, to this vital industry whose Latino workers were being disproportionately affected

by the pandemic. 442

          357.   Racial Discrimination. In 2010, there was a high-profile shooting in Dodge City

that involved a Latino and two white men. This shooting “sparked discussions about racial

discrimination and a hostile climate that Latinos and immigrants were facing in Dodge City.”443

After the shooting, Latino leaders met with City officials to discuss their concerns and the issue of

racial profiling by local law enforcement toward Latinos. City leaders responded by saying that

they did not believe “racial bias was evident” in the community. Latino leaders were quoted saying

the City was in denial regarding instances of racial discrimination in Dodge City. 444

          358.   The City pledged to address these concerns among the Latino community by

looking into its use of at-large elections, investigating racial profiling, and developing a committee

to facilitate open dialogue with Latinos and other diverse communities in Dodge City.445 However,

Dr. Bejarano found little evidence of any substantial follow-through by the City on these action

items to address the concerns of the Latino community. The City briefly discussed switching from

at-large elections to single-member districts but did not make the change. The City did not engage

in a racial profiling study, nor did it address any possible issues with racial profiling. The City did

create the Cultural Relations Advisory Board, but there is no evidence that it was able to quell the


442
      Id. at 106:22–107:19 (Bejarano).
443
      Id. at 108:4–14 (Bejarano).
444
      Id. at 108:15–109:10 (Bejarano).
445
      Id. at 109:11–110:11 (Bejarano).


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racial unease in Dodge City, or pass any concrete policies that addressed Latinos’ concerns about

racial discrimination in Dodge City. 446 Furthermore, former Commissioner Jan Scoggins testified

that the Cultural Relations Advisory Board is advisory in nature only, and it has no authority to act

on its own accord. She also testified that the Board has had little effect on addressing any of the

disparities between north and South Dodge. 447

          359.    Based on data available from September 2017 through February 2018, December

2018, and January 2020, Dr. Bejarano concluded that Latinos face a disproportionate rate of law

enforcement citations and arrests – the most punitive outcomes for law enforcement stops – as

compared to their share of the voting age population. Dr. Bejarano utilized the voting age

population as the reference point because it reflects the number of adult residents. 448

          360.    All three indicia of unresponsiveness are met as it relates to racial discrimination

issues. As to the first indicator, Latinos in the community spoke out against racial discrimination

and racial profiling, and even went as far as to say City officials were in denial about the fact. As

to the second indicator, the racial profiling statistics show that Latinos are disproportionately cited

and arrested compared to their share of the voting-age population. And as to the third indicator, the

City acknowledged that they had room for improvement on these issues (but provided little

substantive follow through). 449

          361.    Immigration. Dr. Bejarano also expressed concerns about the effect of Dodge City

law enforcement cooperating with Immigration and Customs Enforcement (ICE) officials during


446
      Id. at 110:12–113:12 (Bejarano).
447
      Trial Tr. Vol. III, 156:3–22 (Scoggins).
448
      Bejarano Report Table 17, Ex. 61; Trial Tr. Vol. I, 112:3–22 (Bejarano).
449
      Trial Tr. Vol. I, 113:8–23 (Bejarano).


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high-profile immigration raids that targeted areas in Southwest Kansas, including Dodge City,

particularly among the meatpacking employees. 450 Although not a violation of federal, state, or

local law, local law enforcement officials recognized that the raids destroyed trust with the Latino

community and created a further divide between community leaders and the Latino community.451

          362.      Plaintiffs’ fact witnesses provided additional testimony in favor of Senate Factor 8.

Ms. Vargas testified that the minority communities of rural Kansas and Southwest Kansas face

particularly harsh circumstances in comparison to Hispanics living in other parts of Kansas.

Services and resources in Dodge City are lacking. 452 Ms. Vargas described the lack of immigration

and naturalization services available to the Hispanic community in Dodge City. Specifically, Ms.

Vargas noted that her organization, the United Food and Commercial Workers International Union

(UFCW), currently provides approximately 45 to 50 naturalization scholarships per year, each

worth $600. By contrast, Catholic Charities, working in tandem with Dodge City, provides 12

scholarships per year worth $400 each. In Ms. Vargas’s view, these immigration programs are

insufficient. 453

          363.      Despite the lack of services available in Dodge City, the Commission does not

coordinate with the UFCW. 454 Ms. Vargas testified that she does not know how to contact the

Commission and only interacts with the Dodge City government on occasion through certain




450
      Id. at 113:24–114:9 (Bejarano).
451
      Id. at 114:10–25; 122:22–23 (Bejarano).
452
      Id. at 194:12–195:5 (Vargas).
453
      Id. at 191:19–192:11 (Vargas).
454
      Id. at 198:16–25 (Vargas).


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employees, namely Ernestor De La Rosa and Melissa McCoy. 455 By comparison, Ms. Vargas noted

that in her role as the UCFW’s Political and Community Outreach Director, she “know[s] who to

approach at the state government or event at the federal government” and that she “[doesn’t] see a

willingness to create that [connection] with the union” on the part of the Dodge City

Commission.456

          364.   Ms. Vargas also testified that the Dodge City government did not assist the UFCW

in protecting meatpacking workers in Dodge City during the COVID-19 pandemic. Approximately

700–800 workers rotated shifts at the plants in a given day, working in close quarters. The UFCW

focused on providing hand sanitizer and masking guidelines because meatpacking workers were

continuously exposed to the virus. As a result of the COVID-19 pandemic, the Local 2 lost 17

members. 457

          365.   In the early days of the pandemic, Ms. Vargas reached out to Mr. De La Rosa, who

provided her with contact information for the Dodge City Health Department. Despite Ms.

Vargas’s efforts to establish contact, the Health Department never responded. 458

          366.   Mr. Rangel-Lopez and Ms. Vargas both described Dodge City as “two different

towns” or “two communities in one town.” 459 Mr. Hernandez testified that the north is

characterized by larger, more expensive houses as compared to the south part of Dodge City.460


455
      Id. at 210:25–211:19 (Vargas).
456
      Id. at 198:20–25 (Vargas).
457
      Id. at 192:12–193:12 (Vargas).
458
      Id. at 193:13–24 (Vargas).
459
      Id. at 220:23–221:15 (Vargas); Trial Tr. Vol. I, 13:19–14:8 (Rangel-Lopez).
460
      Trial Tr. Vol. IV, 108:13–24 (Hernandez).


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Mr. Hernandez lives north of Comanche Street. 461 Mr. Rangel-Lopez noted that the part of town

north of Comanche Street has a country club, nicer neighborhoods, newer houses, more affluent

areas, and better resources than the part of town south of Comanche Street. 462 Mr. Rangel-Lopez

observed that white people generally live in the north part of town. 463

          367.    Ms. Scoggins testified that “North Dodge is a higher socioeconomic area north of

Comanche. The homes are bigger. The streets are wider. The yards are bigger.” She also testified

that the roads have better upkeep in North Dodge, and that there is more retail in North Dodge.464

          368.    Mr. Rangel-Lopez believes that North Dodge controls resources and the formal

power structure. 465 In Mr. Rangel-Lopez’s experience, the part of town north of Comanche Street

gets more attention from the city government. 466 To his knowledge, most of the Commissioners

come from North Dodge. 467

          369.    Ms. Scoggins testified that she knows where current or former Dodge City

Commissioners Kent Smoll, Rick Sowers, Brian Delzeit, Joyce Warshaw, Joe Nuci, Jeff Reinert,

and Daniel Pogue live, and that they all live in North Dodge. 468




461
      Id. at 108:8–10 (Hernandez).
462
      Trial Tr. Vol. I, 13:19–14:7 (Rangel-Lopez).
463
      Id. at 17:20–18:1 (Rangel-Lopez).
464
      Trial Tr. Vol. III, 149:7–13, 150:10–21, 150:25–151:5 (Scoggins).
465
      Trial Tr. Vol. I, 17:20–18:10 (Rangel-Lopez).
466
      Id. at 13:19–14:7 (Rangel-Lopez).
467
      Id. at 17:20–18:14 (Rangel-Lopez).
468
      Trial Tr. Vol. III, 149:23–150:9 (Scoggins).


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          370.    Commissioner Rick Sowers testified he lives north of Comanche Street. 469

          371.    In comparison to North Dodge, the area south of Comanche Street has brick roads,

intersections without stop signs, sidewalks that are not maintained, or are buckled with tree roots

or blocked by trash cans. 470 Ms. Vargas testified that the roads in front of the meatpacking plants

are destroyed. The baseball field, the soccer field and the YMCA, where Hispanic community

members take their children for recreational purposes, are all in poor condition. By contrast, the

golf course located in North Dodge is well kept. 471

          372.    Mr. Rangel-Lopez testified that South Dodge City is lower income and that

immigrants tend to live in the south east part of Dodge City. 472 Mr. Hernandez confirmed that the

majority of the Hispanic minority community is located in the poorer neighborhoods of South

Dodge. 473

          373.    In Mr. Rangel-Lopez’s view, because Commissioners do not live or spend time in

South Dodge, they are not familiar with the issues encountered by the people who live there. People

in South Dodge get left behind and there is a lack of investment by the City. 474

          374.    Mr. Rangel-Lopez testified that his neighborhood has alleys through which

residents access their garages. At some point more than 10 years ago, the trash collection system




469
      Trial Tr. Vol. IV, 129:17–22, 130:17–18 (Sowers).
470
      Trial Tr. Vol. I, 13:19–14:11 (Rangel-Lopez); see also Trial Tr. Vol. III, 150:12–14 (Scoggins).
471
      Trial Tr. Vol. I, 220:23–221:15 (Vargas).
472
      Trial Tr. Vol. I, 17:20–18:5 (Rangel-Lopez); see also Trial Tr. Vol. III, 149:15–22 (Scoggins).
473
      Trial Tr. Vol. IV, 108:13–24 (Hernandez).
474
      Trial Tr. Vol. I, 17:20–18:21 (Rangel-Lopez).


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in the alleys switched from dumpsters to rolling bins and the City stopped maintaining the alleys

after that switch. There are potholes and huge ruts in the alleys. 475

          375.   Mr. Rangel-Lopez recalled that the park in his neighborhood had a wooden playset

when he was growing up. The playset was later removed and has not yet been replaced. 476 In

comparison, the playgrounds north of Comanche Street are nicer and have new playsets and

rubberized flooring. 477

          376.   Mr. Rangel-Lopez testified that the roads are different between North and South

Dodge City. The roads are plowed and cleared in the nicer parts of town. In his neighborhood,

Division Street is the main road where people pick up their children from Linn Elementary, the

school he attended. After a storm, Division Street will have an inch or two of ice. In comparison,

streets on the north side of Dodge City will be plowed, salted, and accessible after storms. 478

          377.   According to Mr. Rangel-Lopez, there are visible differences between the

elementary schools in North and South Dodge. Ross Elementary, the newest school, is where

people want to send their children. Ross is located in the north part of town. Sunnyside, Linn, and

Beeson Elementary are located in the south part of town. 479




475
      Id. at 13:19–14:22 (Rangel-Lopez).
476
      Id. at 13:19–15:12 (Rangel-Lopez).
477
      Id. at 15:4–15 (Rangel-Lopez).
478
      Id. at 15:16–16:10 (Rangel-Lopez).
479
      Id. at 16:11–17:1 (Rangel-Lopez); see also Trial Tr. Vol. III, 152:15–153:6 (Scoggins).


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          378.    Mr. Rangel-Lopez testified that there are limited grocery stores in the south and

east part of Dodge City. East Dodge is a food desert, meaning there is no access to fresh fruit and

produce. 480

          379.    In Mr. Rangel-Lopez’s view, wanting “better services in your part of town…[for]

your part of town [to] have good roads [that are] better plowed during the winter…and parks that

are well maintained” are standard things “that anyone who lives in a community would want in

their neighborhood” and should not be considered “divisive.” 481

          380.    Mr. Coca testified that he lived in a trailer park in South Dodge from birth until age

13. He recalled that while living in the trailer park, his family was struggling, that his parents

worked 10 to 12 hour shifts, and that his siblings took care of him. 482 His parents worked at a gas

station, a truck stop restaurant, and a truck wash. 483

          381.    Mr. Coca testified that most of his neighbors in the trailer park were Hispanic. He

described conditions in the trailer park as consisting of rough streets and dilapidated trailers. He

mostly stayed indoors because there was gang activity in the trailer park. 484

          382.    Mr. Coca’s family had to move out of their trailer on three days’ notice and they

moved to a house in South Dodge City. The neighborhood was mostly Hispanic. 485




480
      Trial Tr. Vol. I, 17:2–19 (Rangel-Lopez); see also Trial Tr. Vol. III, 150:25–151:5 (Scoggins).
481
      Trial Tr. Vol. I, 50:10–24 (Rangel-Lopez).
482
      Trial Tr. Vol. III, 122:11–123:1 (Coca).
483
      Id. at 123:17–21 (Coca).
484
      Id. at 123:2–14 (Coca).
485
      Id. at 123:22–124:20 (Coca).


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          383.    Mr. Coca attended public school in Dodge City from elementary school through

high school. Mr. Coca went to Beeson Elementary near the trailer park, Comanche Intermediate,

Dodge City Middle School, and Dodge City High School. Mr. Coca testified that Beeson

Elementary and Comanche Intermediate are in South Dodge, that Dodge City Middle School is

slightly north of Comanche, and that Dodge City High School is in North Dodge. 486

          384.    Mr. Coca described Beeson Elementary and Comanche Intermediate as older

schools. Beeson Elementary in particular was very Hispanic and most students shared his

socioeconomic status. According to Mr. Coca, Dodge City High School was nicer and significantly

better funded. 487

          385.    Mr. Coca testified that the east side of South Dodge is largely Hispanic. He said

many of his neighbors work in agriculture and there is agriculture housing not far from where he

lives. 488

          386.    Mr. Coca testified that East Dodge is similar to South Dodge, with dilapidated

buildings and trailers in his neighborhood. The streets in East Dodge are not in great condition.489

          387.    Like Mr. Rangel-Lopez, Mr. Coca described South Dodge as having limited options

for grocery stores: only a Dollar Tree, a Dollar General, and a deli. 490

          388.    Mr. Coca’s family members mostly work in retail and fast food, along with many

Hispanic co-workers. According to Mr. Coca, more affluent people work in banks and office jobs.


486
      Id. at 124:22–125:14 (Coca).
487
      Id. at 125:15–126:3 (Coca).
488
      Id. at 127:1–7 (Coca).
489
      Id. at 128:14–20 (Coca).
490
      Id. at 133:4–12 (Coca); see also Trial Tr. Vol. III, 150:25–151:5 (Scoggins).


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Mr. Coca expressed that he is lucky to have an office job working at the Dodge City Community

College. 491

          389.    Mr. Coca indicated that there are only one or two parks in South Dodge and there

was a “micro park” with a swing set when he was growing up. 492

          390.    Mr. Coca described how he frequently took the bus to work from South Dodge,

where he used to live with his family. In his experience, buses in South Dodge are often late and

his stop has been skipped many times. One week in November 2023, the bus passed by his stop

every time he tried to take it. 493

          391.    There was also significant testimony regarding whether the City has been

responsive to requests from the community directly relevant to this case, including whether to

move to single-member commission districts. For example, former Commissioner Scoggins

testified that, at the request of a community group, she raised the idea of introducing single-

member districts in Dodge City but, as confirmed by Mr. De La Rosa, the Commission did not

hold any kind of public forum to seek feedback from the local community on the issue. 494 Nor was

a study prepared by or for the City on the matter. 495 Ultimately, the Commission directed staff to

gather some information on single-member districts but there was no further follow up or

discussion on the matter. 496


491
      Id. at 132:8–20 (Coca).
492
      Id. at 133:14–18 (Coca).
493
      Id. at 128:1–13 (Coca).
494
      Id. at 167:6–169:19 (Scoggins); Trial Tr. Vol. IV, 12:11–21 (De La Rosa).
495
      Trial Tr. Vol. IV, 111:25–112:2 (Hernandez).
496
      Trial Tr. Vol. III, 167:6–-169:19 (Scoggins); Trial Tr. Vol. IV, 12:42–13:5 (De La Rosa).


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          392.    Similarly, former Ford County Clerk Sharon Seibel testified that, at some point

before she became County Clerk, Ford County received notice from the Department of Justice that,

under Section 203 of the VRA, Ford County was required to make voting materials, including

ballots, available in Spanish. 497 Prior to receiving this notification, Ford County did not provide

voting materials in Spanish. 498

          393.    The Department of Justice reached out to Ford County again in 2011 when Ms.

Seibel was serving as the County Clerk for Ford County.499 The Department of Justice requested

information regarding Dodge City elections back to 2000. 500

          394.    Around the same time, in mid-2011, Ms. Seibel attended a conference in Atlantic

City, New Jersey at which Bruce Adelson, a former lawyer in the Department of Justice’s voting

section, gave a seminar on vote dilution in counties or cities that have a majority minority

population. After attending this presentation, Ms. Seibel contacted the Ford County

Commissioners and told them “this could very well be something we need to be watching for.” 501

          395.    In response, Ford County authorized Ms. Seibel to have a phone conference with

Mr. Adelson and Ford County subsequently signed a retainer agreement with Mr. Adelson in




497
      Trial Tr. Vol. I, 232:22–233:1 (Seibel).
498
      Id. at 233:2–5 (Seibel).
499
      Letter from DOJ to Ford Cnty., 6/29/2011, Ex. 1.
500
      Letter from S. Seibel to Ford Cnty. Commissioners, 7/13/2011, Ex. 3.
501
      Trial Vol. I, 234:24–236:9 (Seibel).


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August 2011 to “[c]onduct [a] Section 2 investigation of the Dodge City Commission’s at-large

election system, and related issues, for possible violation of the VRA’s Section 2.” 502

          396.    Mr. Adelson’s investigation consisted of reviewing election data and traveling to

Dodge City with his colleague, Gilda Daniels, to interview community members. Ms. Seibel

testified that she was confident in Mr. Adelson’s methods and the results he reached. 503

          397.    Ms. Seibel testified that she and Mr. Adelson met with City Clerk Nannette Pogue,

then-City Manager Cherise Tieben, and the Dodge City mayor to discuss Mr. Adelson’s

investigation. 504 Ms. Seibel recalled that she “made them aware that there [was] a potential for a

violation and that a study should be done to verify that.” 505 Ms. Seibel testified that after she went

to the City with Mr. Adelson’s findings, she was not made aware of any further action taken by the

City on the issue. 506

          398.    Although the DOJ did not issue a findings letter, there was no evidence that DOJ

issued a closing letter or any other document demonstrating that they concluded there was not a

Section 2 violation.




502
   Id. at 236:14–23 (Seibel); Trial Tr. Vol. II, 5:1–12 (Seibel); Bruce Adelson Retainer Agreement,
Ex. 5.
503
      Trial Tr. Vol. II, 5:15–6:17 (Seibel).
504
      Trial Tr. Vol. I, 237:15–25 (Seibel); Bruce Adelson Invoice, Ex. 6.
505
      Trial Tr. Vol. II, 14:1–10 (Seibel).
506
      Id. at 14:19–24 (Seibel).


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          399.    Mr. Rangel-Lopez identified Jan Scoggins as someone he spoke to about at-large

elections and recalled discussing the topic with Ms. Scoggins before she raised it to the

Commission in 2019. 507

          400.    In November 2018, at the request of then-City Manager Cherise Tieben, City Clerk

Nannette Pogue researched the possibility of switching to district-based elections for the Dodge

City Commission.508 Ms. Tieben had been notified by then City Commissioner Jan Scoggins that

a community group might attend a Commission meeting to discuss the topic of districting. 509 As

part of her research, Ms. Pogue contacted the League of Kansas Municipalities (the “League”) to

request information on the different types of governments within Kansas. 510 The League outlined

considerations under Section 2 of the Voting Rights Act and informed Ms. Pogue that Dodge City

would need to be careful to not dilute the voting power of Hispanic and Latino voters in any

adopted map. 511 Ms. Pogue does not recall her findings being discussed at any Dodge City

Commission meeting that she attended. 512

          401.    In February 2019, Ms. Scoggins emailed Ms. Tieben to request that districting be

added to the agenda for the next Commission meeting. 513 Ms. Tieben responded that Ms. Scoggins


507
    Trial Tr. Vol. I, 20:22–21:4 (Rangel-Lopez); Trial Tr. Vol. I, 22:5–18 (Rangel-Lopez);
Commission Meeting Minutes, 3/4/2019, Ex. 29; Email from N. Pogue to B. Ralph, 3/5/2019, Ex.
30.
508
      Nannette Pogue Deposition Designations, Doc. 191, 53:8–11.
509
   Id. at 52:11–53:3 ; Email and attachment from C. Tieben to City Commissioners, 11/5/2018,
Ex. 20 at 2.
510
      Nannette Pogue Deposition Designations, Doc. 191, 55:13–19.
511
      Id. at 68:20–24.
512
      Id. at 69:19–70:1.
513
      Trial Tr. Vol. III, 165:2–16; Email from J. Scoggins to C. Tieben, 2/26/2019, Ex. 27.

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could instead raise the issue at the end of the meeting. 514 Ms. Scoggins was disappointed that the

issue could not even garner enough interest to be put on the formal agenda. 515

          402.    After Jan Scoggins raised the issue at a City Commission meeting, there was very

little discussion and it was never brought up among the Commission again. 516 Ms. Scoggins

described the other Commissioners’ reactions to the proposal as “dismissive.” 517

          403.    Mr. Rangel-Lopez testified that he was involved in the Dodge City Cultural

Relations Advisory Board (“CRAB”), an advisory board established by Dodge City and made up

of community members that makes non-binding suggestions and published a Strategic Plan for

Welcoming and Integration. 518

          404.    Mr. Rangel-Lopez recalled that, during a meeting of the Steering Committee for the

Strategic Plan for Welcoming and Integration, he raised his concern that at-large elections are a

structural issue in Dodge City and a barrier to achieving representation. He recalled that the topic

was discussed for about ten to fifteen minutes, but it was not included as a recommendation in the

final plan. 519

          405.    Mr. De La Rosa similarly recalled the Steering Committee discussing district-based

elections at Mr. Rangel-Lopez’s request and that it “somehow [] did not land with a




514
      Email from C. Tieben to J. Scoggins, 2/26/2019, Ex. 27.
515
      Trial Tr. Vol. III, 169:11–19 (Scoggins).
516
      Trial Tr. Vol. I, 22:5–23 (Rangel-Lopez); see also Trial Tr. Vol. III, 167:6–169:19 (Scoggins).
517
      Trial Tr. Vol. III, 168:9–24 (Scoggins).
518
      Trial Tr. Vol. I, 23:2–24:3 (Rangel-Lopez).
519
      Id. at 25:5–25 (Rangel-Lopez).


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recommendation for that particular item.” 520 Mr. De La Rosa testified that the Steering Committee

did not hold a vote on the suggestion and, that at that time, Mr. De La Rosa was aware that

Commissioner Scoggins had previously proposed single-member districts at a Commission

meeting and that the Commission did not support the idea. 521

          406.   During the Steering Committee meetings, Mr. Rangel-Lopez also raised the idea of

implementing a municipal ID program, which would provide a government issued ID to

undocumented individuals or others who do not qualify for other forms of ID in order to help them

access city services and other public benefit programs. 522

          407.   Mr. Rangel-Lopez believes that Dodge City tries to be welcoming but that its

policies do not match the rhetoric. 523

          408.   Mr. Rangel-Lopez testified that he did not go to the Commission to ask about

single-member districts because he did not believe that his concerns would be seriously

considered. 524 It became clear when he worked as an intern for Dodge City that the City

government operates on a need-to-know basis. Mr. Rangel-Lopez explained that he did not know

the Commissioners, as they did not campaign or engage with his community. 525

          409.   Mr. Rangel-Lopez testified that he brought this lawsuit because he wanted people

to have hope that they could have representation in local government, where it matters most. He


520
      Trial Tr. Vol. III, 305:19–306:11 (De La Rosa).
521
      Trial Tr. Vol. IV, 14:6–15:16 (De La Rosa).
522
      Trial Tr. Vol. I, 24:4–25:4 (Rangel-Lopez).
523
      Id. at 26:10–25 (Rangel-Lopez).
524
      Id. at 28:12–29:6 (Rangel-Lopez).
525
      Id. at 28:12–30:10 (Rangel-Lopez).


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wants his family to feel comfortable and safe, and to live with dignity. He hopes his future children

have opportunities he did not have growing up. 526

          410.    Mr. Coca testified that he did not vote in local elections prior to 2019 because he

felt it was pointless and that his vote did not matter. 527 In 2016, Mr. Coca began to realize how

things trickle down to local government. He started voting in local elections in 2019. He has voted

in every election since and plans to continue. 528

          411.    Mr. Coca testified that he did not raise his concerns regarding the at-large election

system to the Commission because he believed it was pointless. He also has family members who

work for the City and feared for their jobs. Mr. Coca explained that there is severe distrust of

government in the Hispanic community.529

          412.    Mr. Coca testified that he brought this lawsuit because he wanted to create change.

He believes single-member districts would encourage people to run for office so the Hispanic

community has a voice. Mr. Coca believes that having a candidate supported by the Latino

community on the Commission would create change for multiple generations. 530

          413.    Mr. Hernandez testified that Dodge City does not track what proportion of its

residents’ primary language is Spanish. 531 Dodge City also does not assess how its budget




526
      Id. at 31:1–32:2 (Rangel-Lopez).
527
      Trial Tr. Vol. III, 129:11–22 (Coca).
528
      Id. at 129:23–130:10 (Coca).
529
      Id. at 136:9–23 (Coca).
530
      Id. at 136:24–137:17 (Coca).
531
      Trial Tr. Vol. IV, 102:8–10 (Hernandez).


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decisions regarding road maintenance impact the Hispanic minority community. 532 Nor does

Dodge City assess whether its services are being provided equitably. 533

          414.   Furthermore, according to Mr. Hernandez, Dodge City also does not track voter

turnout rates, nor does the City analyze whether there are lower rates of voter turnout among

Hispanics as compared to white voters in Dodge City. 534 The City publishes information on voter

registration in English and Spanish – as required under Section 203 of the Voting Rights Act – but

the City does not track whether residents are receiving the information nor whether the information

measures are effective. 535

          415.   Mr. Hernandez testified that in 2018, over 70 percent of police arrests, stops,

citations and warnings in Dodge City involved Hispanic community members. Mr. Hernandez

acknowledged that he has access to racial and ethnic demographics of policing data in Dodge City

but has only reviewed the data in the context of this litigation.536

          416.   Mr. Hernandez testified that the decision by the Dodge City police department to

send an undercover police officer to secretly record a June 2023 meeting held by the Kansas

Hispanic and Latino American Affairs Commission to educate the public on immigration-related

legislation was made in “poor judgment” and agreed it was “not a good way of building trust with

the Hispanic community.” 537


532
      Id. at 104:16–20 (Hernandez).
533
      Id. at 105:15–18 (Hernandez).
534
      Id. at 109:15–21 (Hernandez).
535
      Id. at 109: 4–14 (Hernandez).
536
      Id. at 1105:19–106:11 (Hernandez).
537
      Id. at 108:2–7 (Hernandez).


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          417.    Ms. Vargas, who led the June 2023 meeting as Chair of the Kansas Hispanic and

Latino American Affairs Commission described learning of the undercover police officer’s

presence months later as “upsetting” and “creat[ing] more fear and distrust.” 538

          418.    Ms. Scoggins testified that based on her experience as a Commissioner and her

decades of living and voting in Dodge City, she does not believe the Commission as a whole has

been responsive to the concerns of Latinos. 539

          419.    Mr. Rangel-Lopez says he has never had a Commissioner knock on his door in

South Dodge City to ask for his vote, nor has he seen Commissioners in his neighborhood. 540

Similarly, Mr. Coca has never seen any Commissioners visit South or East Dodge, other than

former Commissioner Blanca Soto. Mr. Coca testified that he has never seen any Commissioner,

other than Blanca Soto, attend events of the Hispanic community. 541

          420.    Ms. Scoggins testified that when she campaigned in South Dodge in 2021 and 2023,

she never encountered any other candidates campaigning in South Dodge nor saw their campaign

signs in South Dodge. 542

          421.    Dr. Bejarano’s testimony provided credible examples of how Dodge City and other

area elected officials are unresponsive to, or take actions contrary to, the Latino community’s needs.




538
      Trial Tr. Vol. I, 199:11–201:19 (Vargas).
539
      Trial Tr. Vol. III, 155:23–156:2 (Scoggins).
540
      Trial Tr. Vol. I, 18:22–19:2 (Rangel-Lopez).
541
      Trial Tr. Vol. III, 135:8–33 (Coca).
542
      Id. at 159:18–23; 160:21–161:2 (Scoggins).


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          G. Senate Factor 9

          422.    Senate Factor 9 concerns “whether the policy underlying the state or political

subdivision’s use of such voting…practice or procedure is tenuous.” 543

          423.    Dodge City has been on notice that there may be issues related to Latino vote

dilution and representation since 2010. 544

          424.    In 2010, after a high-profile shooting that occurred in Dodge City, Latino

community leaders brought up the lack of political representation of Latinos on the Dodge City

Commission and the City government responded that it would investigate the use of at-large

elections. 545

          425.    As explained supra, the City was notified in 2011 by Ford County Clerk that the

Department of Justice was investigating Dodge City’s method of election for a potential Section 2

Voting Rights Act violation. 546

          426.    After the Department of Justice notice, then-Ford County Clerk Sharon Seibel hired

a former Department of Justice lawyer and Voting Rights Act consultant to meet with Dodge City

to discuss potential Voting Rights Act liability with respect to the use of at-large elections. 547




543
      Gingles, 478 U.S. at 36–37.
544
      Trial Tr. Vol. I, 108:9–110:6 (Bejarano).
545
      Id. at 109:21–110:3.
546
      Id. at 237: 15–22.
547
      Id. at 237:23–25.


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          427.    Further, the issue of moving to district-based elections for the Dodge City

Commission had been discussed within the City continuously in the years prior to 2018 as

something that Dodge City would have to “monitor” as the City grew. 548

          428.    Prior to 2018, Dodge City was on notice that there was a threat of a lawsuit to force

the City into district based elections. 549

          429.    Again, in 2019, the implementation of district-based elections was raised to the

Dodge City Commission by a sitting Dodge City Commissioner, Jan Scoggins. 550 In 2019, then-

Dodge City Commissioner Jan Scoggins asked then-City Manager Cherise Tieben to add moving

to district-based elections to a formal Dodge City Commission meeting agenda. 551

          430.    Commissioner Scoggins felt that Dodge City staff were not willing to add the issue

of districting to the Commission meeting agenda. 552

          431.    Researching the possibility of districting for the Dodge City Commission was then

briefly discussed at two Dodge City Commission meetings in 2019 and ultimately dismissed.553

The Court heard testimony at trial regarding Dodge City’s minimal justifications for continuing to

use at-large elections for City Commission. For example, Defendant’s expert Dr. Kimberly Nelson

opined that the Council-Manager form of government is associated with certain benefits such as



548
      Trial Tr. Vol. III, 253:6–11 (Tieben).
549
      Id. at 257:8–13 (Tieben).
550
      Trial Tr. Vol. I, 22:5–23 (Rangel-Lopez).
551
      Trial Tr. Vol. III, 165:17–166:3 (Scoggins).
552
      Id. at 165:22–166:3 (Scoggins).
553
  Id. at 166:12–169:19 (Scoggins). See also Commission Meeting Minutes, 3/4/2019, Ex. 29;
Commission Meeting Minutes, 4/15/2019, Ex. 32.


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less dysfunctional conflict, greater budget solvency, increased innovation, and lower risks of

corruption. 554

          432.    However, Dr. Nelson acknowledged that the benefits of the Council-Manager form

of government are not dependent on electing those representatives through an at-large election

system. Nearly 20% of representatives in Council-Manager governments are elected through

districts. 555

          433.    Defendant provided no evidence that the at-large election system is necessary to

achieve any particular policy purpose, and provided no evidence demonstrating that the at-large

election system accomplishes any particular goal, other than that it has always been in place.

          434.    Indeed, when asked whether he sees any benefits of the current at-large election

system in Dodge City, former Assistant City Manager Mr. De La Rosa acknowledged that he

“struggle[s] with it” because he wants to see Latino representation. Mr. De La Rosa did not name

any benefits of the at-large system in his response to this question and stated that he is “on the

fence on the issue.” 556

          435.    Furthermore, the City hired public relations firm Trozzolo shortly after the filing of

this lawsuit. Trozzolo prepared a “Dodge City Community Engagement Plan” that listed

“strengthen the position of the current at-large system [as] the strongest method now and in the

future” as one of the challenges faced by the City. 557 The City’s consultant thus acknowledged that




554
      Trial Tr. Vol. IV, 45:20–46:18 (Nelson).
555
      Id. at 52:1–12 (Nelson).
556
      Trial Tr. Vol. III, 317:6–318:15 (De La Rosa); Trial Tr. Vol. IV, 27:3–21 (De La Rosa).
557
      Trial Tr. Vol. IV, 79:17–81:11 (McCoy).


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the City needed to convince its residents of the correctness of its official position that at-large

elections are the “strongest” electoral method.

          436.    Current City Manager Mr. Hernandez testified that the Dodge City Commission

believes at-large elections are the best election method for Dodge City because it “wants to have

a unified community.” 558 However, no evidence was put forward to indicate that this aspiration

has been achieved in Dodge City, while there is considerable evidence of a significant

socioeconomic divide between Dodge City’s Hispanic and non-Hispanic populations, that is

reflected in the rates of political participation of these two groups and the rates of political success

of their candidates of choice in the at-large system. Mr. Hernandez also acknowledged that some

of the Commissioners could lose their positions if the at-large system were replaced. 559 Mr.

Hernandez believes that “the public” should decide Dodge City’s method of election. 560

          437.    In fact, to the contrary, there is evidence that Dodge City Commission elections

have grown more partisan and bitterly contested over time. Ms. Scoggins testified that in the 2023

election, “[t]here was a whole change in the environment and that she experienced “negative

campaign[ing]” and “negative advertising” against her by three other candidates for the Dodge

City Commission affiliated with the Republican party—two of whom subsequently won

election. 561

          438.    Ms. Scoggins also testified that, when she brought up the possibility of districting

to the Commissioners, other Commissioners appeared “dismissive” and “almost bothered even to


558
      Trial Tr. Vol. IV, 98:18–22 (Hernandez).
559
      Id. at 100:3–101:14 (Hernandez).
560
      Id. at 99:13-15 (Hernandez).
561
      Trial Tr. Vol. III 161:13–162:6 (Scoggins).


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have to consider it.” Ms. Scoggins testified that no Commissioner or city employee opposed single-

member districts on the basis of disunity, or otherwise expressed that at-large elections were

important for unity. And Ms. Scoggins noted that if the City did switch to districts, “it would be

very possible that many of [the current Commissioners] would be running against each other in

the same district.” 562

                                     CONCLUSIONS OF LAW

          Plaintiffs’ claim alleges that the Dodge City Commission’s at-large voting scheme violates

Section 2 of the VRA because it dilutes the voting power of the Latino voting population in Dodge

City and prevents them from electing their representatives of choice. “Th[e Supreme] Court has

long recognized that multimember districts and at-large voting schemes may operate to minimize

or cancel out the voting strength of racial [minorities in] the voting population.” 563 “In Thornburg

v. Gingles, the Supreme Court established the framework for assessing at-large voting systems

under Section 2.” 564 The Gingles preconditions set out three threshold requirements Plaintiffs

must meet to demonstrate that an at-large voting system unlawfully dilutes the minority group’s

vote and prevents them from electing candidates of choice.

          The Court then must assess whether, under the totality of the circumstances, members of

the minority group have less opportunity to participate in the electoral process and elect candidates

of their choice. 565 The Supreme Court has directed that the list of non-exhaustive factors in the



562
      Id. at 168:15–170:2 (Scoggins).

563
      Thornburg v. Gingles, 478 U.S. 30, 47 (1986) (internal quotation marks omitted).

  Holloway v. City of Va. Beach, 42 F.4th 266, 270 (4th Cir. 2022) (citing Gingles, 478 U.S. at
564

38–51).
565
      52 U.S.C. § 10301(b).


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Senate Report on the 1982 amendments to the VRA (“Senate Factors”) be considered for the

totality of the circumstances analysis. 566

             The Court’s conclusions regarding the Gingles preconditions and the totality of the

circumstances are set forth below.

      I.     Plaintiffs Have Met the Gingles Preconditions for a Section 2 Violation

             A. Gingles I

             To meet the first Gingles precondition, Plaintiffs must show that the Latino population in

Dodge City is “sufficiently large and geographically compact to constitute a majority in a single-

member district.” 567 In other words, Plaintiffs must demonstrate that it is possible for Latinos to

constitute a majority in at least one district in a single-member district map for the Dodge City

Commission.568

             The Court begins with a brief review of the caselaw governing Gingles I. With respect to

numerosity, contrary to Defendant’s representation, a bright-line 50% plus one rule applies in

assessing whether the minority population is sufficiently large for the purposes of Gingles I. 569

With respect to compactness of the minority population, for Gingles I purposes, compactness

“refers to the compactness of the minority population, not to the compactness of the contested


566
      Gingles, 478 U.S. at 35–37.
567
       Id. at 50.
568
   See Fusilier v. Landry, 963 F.3d 447, 455 (5th Cir. 2020) (“Under Gingles, plaintiffs challenging
an at-large system on behalf of a protected class of citizens must demonstrate that (1) the group is
sufficiently large and geographically compact to constitute a majority in a single-member
district …”) (internal citation omitted); Ruiz v. City of Santa Maria, 160 F.3d 543, 550 (9th Cir.
1998) (similar); Wright v. Sumter Cnty. Bd. of Elections and Registration, 979 F.3d 1282, 1288
(11th Cir. 2020) (similar); Large v. Fremont Cnty., Wyo., 709 F. Supp. 2d 1176, 1190 (D. Wyo.
2010); Gingles, 478 U.S. at 50.
569
       See Bartlett v. Strickland, 556 U.S. 1, 19–20 (2009) (plurality opinion).


                                                    109
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district.” 570 “While no precise rule has emerged governing § 2 compactness, the inquiry should

take into account ‘traditional districting principles such as maintaining communities of interest

and traditional boundaries.’” 571 One of those traditional districting criteria is the constitutional

requirement to maintain equal population 572; “[a] maximum population deviation between voting

districts of less than ten percent is presumptively constitutional.” 573 And as the Supreme Court

recently confirmed, Section 2’s “question whether additional majority-minority districts can be

drawn, after all, involves a ‘quintessentially race-conscious calculus,’” and allows a mapdrawer to

“take race into account” as one, non-predominant factor when drawing maps in compliance with

federal law. 574

          In Section 2 vote dilution litigation, such as this case, illustrative maps offered by plaintiffs

are used to assess whether the jurisdiction has committed a violation of Section 2 only; that is, to

help the Court establish that it is possible for the jurisdiction in question to draw a map that contains

a district where the minority group is large and geographically compact enough to constitute a

majority. 575 To that end, plaintiffs at the trial stage need not establish that the illustrative maps are




570
    League of United Latin Am. Citizens v. Perry (“LULAC”), 548 U.S. 399, 433 (2006) (internal
citation omitted).
571
   Id.; see also Allen v. Milligan, 599 U.S. 1, 18 (2023) (“A district will be reasonably configured,
our cases explain, if it comports with traditional districting criteria, such as being contiguous and
reasonably compact.”).
572
      Allen, 599 U.S. at 20.
573
      McCoy v. Chi. Heights Election Comm’n, 880 F.3d 411, 415 (7th Cir. 2018).
574
      Allen, 599 U.S. at 30–31 (internal citation omitted).
575
   See Sanchez v. State of Colo., 97 F.3d 1303, 1311 (10th Cir. 1996) (“[P]laintiffs’ proposed
district is not cast in stone. It was simply presented to demonstrate that a majority-black district is
feasible….”) (quoting Clark v. Calhoun Cnty., Miss., 21 F.3d 92, 95 (5th Cir. 1994)).


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the exact proper remedy; “at this stage, a plaintiff need only show that a remedy may be feasibly

developed,” and “neither the plaintiff nor the court is bound by the precise lines drawn in these

illustrative redistricting maps.” 576

          As one federal court explained:

          [E]very Section 2 case may be divided into two phases: a liability phase, where the Court
          determines whether the challenged electoral device dilutes minority voting power, and a
          remedy phase, where the challenged jurisdiction remedies the dilution. Under this scheme,
          the ultimate viability and effectiveness of a remedy is considered at the remedial stage of
          litigation and not during analysis of the Gingles preconditions. 577

          Put simply, the “ultimate end of the first Gingles precondition is to prove that a solution

is possible, and not necessarily to present the final solution to the problem.” 578

          Based on the uncontested evidence presented at trial, Gingles I is easily met in this case.

Plaintiffs’ expert Dr. Oskooii has put forth 14 demonstrative maps that all show that the Latino

population is large and geographically compact enough to constitute a numerical majority in three

single-member districts. FOF ¶¶ 64-66. This is far more than what is necessary to establish the

first Gingles precondition, which is satisfied when the minority group makes up the majority in

just one single-member district. Dr. Oskooii’s maps abided by applicable districting criteria,

including equal population; reasonable shape, compactness, and contiguity to the extent the




576
   Luna v. Cnty. of Kern, 291 F. Supp.3d 1088, 1106 (E.D. Cal. 2018); see also Chen v. City of
Houston, 206 F.3d 502, 519 (5th Cir. 2000) (“[T]here is more than one way to draw a district so
that it can reasonably be described as meaningfully adhering to traditional principles.”).
577
      Rodriguez v. Harris Cnty., Tex., 964 F. Supp. 2d 686, 745 (S.D. Tex. 2013).
578
   Bone Shirt v. Hazeltine, 461 F.3d 1011, 1019 (8th Cir. 2006) (internal citation omitted); see also
Hall v. Louisiana, 108 F. Supp. 3d 419, 429 n.7 (M.D. La. 2015) (acknowledging distinction
“between an illustrative plan used to establish the first Gingles precondition, versus a redistricting
plan submitted as a proposed remedy after a Section 2 violation has been found.”).


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jurisdiction allows; and respecting different conceptions of communities of interest. FOF ¶¶ 67-

80.

          Defendant concedes the Gingles I inquiry, confirming on the record: “[T]here’s no dispute

that you can create one or more CVAP districts where Hispanics have more than 50 percent.” FOF

¶ 63. Defendant presented no maps; presented no evidence that any of Dr. Oskooii’s maps failed

to abide by applicable districting criteria; contested no findings about Dr. Oskooii’s communities

of interest; and indeed did not present evidence that it was even possible to draw a map for the

Dodge City Commission that contains no districts where Latinos make up a numerical majority.

FOF ¶¶ 68.

          At trial, Defendant made three arguments regarding Gingles I, none of which have merit.

First, Defendant seemed to take issue with the extent to which race may or may not have been

taken into account by Dr. Oskooii in drawing his maps. Defendant is correct that race cannot

predominate the map drawing process. 579 “The racial predominance inquiry concerns the actual

considerations that provided the essential basis for the lines drawn” and ultimately centers on the

mapmakers’ “predominant motive for the design of the district as a whole.” 580 The Supreme Court

provides certain guideposts that can be used in determining whether racial predominance exists,

including: (1) whether the mapdrawer credibly testified that he balanced the various traditional

districting principles and that race did not predominate among the various considerations; (2)

whether the mapper articulated specific factors and reasons other than race that support the

particular mapping decisions taken in constructing the illustrative maps; and (3) whether plaintiffs



579
   Allen, 599 U.S. at 31 (“[R]ace may not be ‘the predominant factor in drawing district lines
unless [there is] a compelling reason.’”) (internal citation omitted).
580
      Bethune-Hill v. Va. State Bd. of Elections, 580 U.S. 178, 189, 192 (2017).


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put forward additional evidence to show the illustrative maps maintain and respect communities

of interest. 581

          There is zero evidence of racial predominance here. As noted supra, there is no evidence

in the record—from Defendant or otherwise—that Dr. Oskooii subordinated traditional districting

criteria in favor of race. There is, by contrast, voluminous evidence in the record that Dr. Oskooii

applied traditional districting criteria, drew his maps based on these districting criteria, and

respected different conceptions of communities of interest. See FOF ¶¶ 67-80. Indeed, the

unrebutted evidence is that Dr. Oskooii did not even consider race and ethnicity for twelve of his

fourteen maps and that when he considered race for Maps 13 and 14, he used it as just one, non-

predominant factor. FOF ¶¶ 114-118. There is simply no evidence in the record to suggest racial

predominance. Defendant’s suggestion that Dr. Oskooii intentionally gerrymandered the majority-

white Districts 4 and 5 lacks any evidentiary support; as Dr. Oskooii explained, those districts are

majority-white because those areas have a large white population, and it would violate traditional

redistricting principles to draw districts otherwise. FOF ¶ 117.

          Second, Defendant has argued that Gingles I requires that majority-minority districts be

performing districts, but Defendant is wrong about the law on this point. For starters, this Court is

unaware of any court that has determined a performance analysis as part of the Gingles I analysis.

Even more broadly, courts differ on whether a performance analysis—i.e. an analysis proving that

at least one of the majority-minority districts in the illustrative maps gives the minority group an

opportunity to elect preferred candidates—is even necessary at all. Some courts consider it only




581
      See Allen, 599 U.S. at 19–22, 29–32 n.5


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as part of the totality of the circumstances analysis rather than under any of the Gingles

preconditions. 582

          Regardless, Plaintiffs’ expert Dr. Matthew Barreto conducted the very performance

analysis Defendant seeks, and found that all 14 of Dr. Oskooii’s maps contain at least one

performing majority-Hispanic district, even assuming current turnout levels. FOF ¶ 212. (Under

the elevated turnout model, for which there is support in the political science literature, all 14 maps

would have three majority-Hispanic districts in which the Hispanic community can elect

candidates of choice. FOF ¶ 212). This analysis is unrebutted; Defendant has put forth no evidence

to the contrary. FOF ¶ 213. Therefore, even if a performance analysis is necessary to Plaintiffs’

Gingles I claim—which it is not—Plaintiffs have satisfied it.

          Finally, Defendant made statements at trial and in prior briefing that the Latino population

in Dodge City is too large to be covered by Section 2, but this argument is also contrary to law.

Under the VRA, the term “‘minority’ does not refer to a purely numerical fact,” but rather to the

protection of “any citizen who is a member of a protected class of racial or language minorities.”583

“The plain text of the statute, as affirmed by caselaw, makes clear that the [VRA] is concerned

with protecting the minority in its capacity as a national racial or language group.” 584 Thus, as the

Supreme Court has acknowledged, “it may be possible for a citizen voting-age majority to lack

real electoral opportunity” and still require the protection of the VRA. 585 Thus, even racial



582
      See Perez v. Abbott, 253 F. Supp. 3d 864, 883 (W.D. Tex. 2017).
583
   Mo. State Conf. of the NAACP v. Ferguson-Florissant Sch. Dist., 894 F.3d 924, 933 (8th Cir.
2018) (quoting Gingles, 478 U.S. at 43).
584
      Salas v. Sw. Tex. Jr. Coll. Dist., 964 F.2d 1542, 1547 (5th Cir. 1992).
585
      LULAC, 548 U.S. at 428.


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minorities who constitute a majority within a challenged district can prevail on a Section 2 claim

when the district does “not present the ‘real electoral opportunity’ protected by Section 2.” 586 The

“demographic and political contexts” in which a Court must assess a vote dilution claim can

support a finding that “minority voters might have ‘less opportunity . . . to elect representatives of

their choice’ even where they remain an absolute majority in a contested voting district.” 587 The

Court therefore concludes that “[Plaintiffs’] do not lose VRA protection simply because they [now]

represent a bare numerical majority within [a] district.” 588 Of course, this argument is irrelevant

also because Defendant is wrong on the facts—Latinos are not a majority of the Dodge City

population based on citizen voting-age population data, even using the 2023 ACS 5-year estimates.

          Further, “[u]nder § 2, a municipality cannot defend diluting a minority's voting power with

the argument that demographic shifts might or even will eventually tilt the balance in the other

direction.” 589 This is particularly true here, where the Defendant does not have any statistical

evidence to suggest that any speculative demographic shifts in the future will have any electoral

effect. Indeed, unrebutted testimony from Dr. Barreto reveals that just 30 percent of actual voters

in Dodge City are Latino, compared to about 64 percent who are white. FOF ¶ 55. There is no

indication in the record that Latinos are on the verge of becoming a dominant political group in

Dodge City.




586
   Pope v. Cnty. of Albany, 687 F.3d 565, 576 n.8 (2d Cir. 2012) (quoting LULAC, 548 U.S. at
428).
587
      Kingman Park Civic Ass’n v. Williams, 348 F.3d 1033, 1041 (D.C. Cir. 2003).
588
      Ferguson-Florissant Sch. Dist., 894 F.3d at 934.
589
  Patino v. City of Pasadena, 230 F. Supp. 3d 667, 713 (S.D. Tex. 2017), judgment entered, No.
CV H-14-3241, 2017 WL 10242075 (S.D. Tex. Jan. 16, 2017).


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          For all of the foregoing reasons, the Court concludes that Plaintiffs have satisfied the first

Gingles precondition.

          B. Gingles II

          Having satisfied the first precondition, Plaintiffs must also demonstrate that the Latino

population is politically cohesive. 590 This is referred to as the second Gingles precondition. As

with Gingles I, the Court begins with a review of the applicable law.

          Plaintiffs can satisfy Gingles II by demonstrating that members of a protected class vote

together for candidates or electoral outcomes. For example, “[a] showing that a significant number

of minority group members usually vote for the same candidates is one way of proving the political

cohesiveness necessary to a vote dilution claim.” 591 Political cohesiveness is proven through

voting patterns over time. 592 Cohesion is a “sliding scale that varies with the district and a variety

of factual circumstances and may emerge more distinctly over a period of time.” 593 Additionally,

a showing of racially polarized voting does not require completely divergent racial preferences. 594

          Importantly, in assessing racially polarized voting under Gingles, there is no requirement

that Plaintiffs demonstrate that white voters are hostile or hold racist views towards minority-




590
      Gingles, 478 U.S. at 51.
591
      Id. at 56.
592
   Montes v. City of Yakima, 40 F. Supp. 3d 1377, 1401 (E.D. Wash. 2014); Gomez v. City of
Watsonville, 863 F. 2d 1407, 1415 (9th Cir. 1988) (“[W]hether a racial group is politically cohesive
depends on its demonstrated propensity to vote as a bloc for candidates or issues popularly
recognized as being affiliated with the group’s particularized interests”) (internal citation omitted).
593
      Sanchez v. State of Colo., 97 F.3d 1303, 1312–13 (10th Cir. 1996).
594
      See Sanchez, 97 F.3d at 1319.


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preferred candidates to demonstrate racially polarized voting. 595 The standard “looks only to the

difference between how majority votes and minority votes were cast; it does not ask why those

votes were cast the way they were nor whether there are other factors present in contested

elections.” 596

        Courts may analyze any elections it sees fit when evaluating polarized voting. Some

elections may have more probative value than others, such as contested elections and endogenous

elections. 597 Under Section 2, Plaintiffs may also demonstrate vote dilution based on evidence of

racially polarized voting drawn from exogenous elections, and not just endogenous elections. 598

        In Gingles, the Court expressly advocated for flexibility when there may be sparse or

incomplete data for determining whether polarized voting exists. 599 The Tenth Circuit has held that

“Gingles doesn’t require perfect uniformity of result. That plaintiffs’ figures presented a pattern of



595
   See Gingles, 478 U.S. at 70–71; Jenkins v. Red Clay Consol. Sch. Dist. Bd. of Educ., 4 F.3d
1103, 1123 (3d Cir. 1993).
596
   Collins v. City of Norfolk, Va., 816 F.2d 932, 935 (4th Cir. 1987); see also, e.g., Gingles, 478
U.S. at 51, 61–62; Sanchez, 97 F.3d at 1321; Gomez v. City of Watsonville, 863 F.2d 1407, 1416
(9th Cir. 1988).
597
   See Missouri State Conf. of the NAACP v. Ferguson-Florissant Sch. Dist., 201 F. Supp. 3d 1006,
1040 (E.D. Mo. 2016), aff’d, 894 F.3d 924 (8th Cir. 2018).
598
   See Westwego Citizens for Better Gov’t v. City of Westwego, 872 F.2d 1201, 1208 (5th Cir.
1989) (“To the extent that these comments indicate that the district court believed that plaintiffs
could not, as a matter of law, make out a vote dilution claim based on evidence of racially polarized
voting drawn from elections other than the aldermanic elections themselves, this view is incorrect
under both Gingles and Citizens for a Better Gretna.”); Cane v. Worcester Cnty., Md., 840 F. Supp.
1081, 1088 (D. Md. 1994).
599
    Gingles, 478 U.S. at 57 n.25 (“The number of elections that must be studied in order to
determine whether voting is polarized will vary according to pertinent circumstances.”); see also
Cane, 840 F. Supp. at 1088 (relying on exogenous elections and testimony that changes from at-
large to single member system mitigates discouragement of the minority community to elect
candidates of choice satisfied Gingles II.).


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racial bloc voting over time is probative of Gingles’ second and third preconditions.” 600 As such,

the size of a jurisdiction’s population or the number of voting precincts evaluated also does not

hinder a finding of political cohesion. 601

        In analyzing the evidence Plaintiffs presented in support of Gingles II, the Court credits

and relies heavily on the testimony of Plaintiffs’ expert Dr. Matt Barreto and concludes that Latino

voters in Dodge City are political cohesive. This Court finds that Plaintiffs have proven that Latino

voters vote cohesively over an extensive period of time. See supra. Plaintiffs have offered

overwhelming and largely undisputed evidence that over a ten-year period, the electorate within

Dodge City exhibits racial polarization. FOF ¶¶ 142-189. The point estimates, “which are

undisputedly the ‘best estimates’ in the data” 602 shows that Latinos in Dodge City vote in favor of

preferred candidates and do so in an established pattern over 24 elections in 9 election cycles. FOF

¶¶ 143-145. Latino voter cohesion was clear in all of the Dodge City Commission elections

analyzed, in which Latino voters strongly supported a preferred candidate. FOF ¶ 146. In all of

those elections, the Latino-preferred candidate did not win election, in large part because they were



600
   Sanchez, 97 F.3d at 1317 n.29; see also Cuthair v. Montezuma-Cortez, Colo. Sch. Dist. No. RE-
1, 7 F. Supp. 2d 1152, 1167 (D. Colo. 1998) (“[Racially polarized voting and bloc voting] is
determined on a sliding scale. It varies based on the district and a variety of other circumstances.”).
601
    See Windy Boy v. Big Horn Cnty., 647 F. Supp. 1002, 1004 (D. Mont. 1986) (finding a Section
2 violation in a county that has a total population of 11,096.); U.S. v. Blaine Cnty., Montana, 363
F.3d 897, 910 (9th Cir. 2004) (affirming a finding of a Section 2 violation in a jurisdiction with
7,009 residents, almost four times less populous than Dodge City); Cuthair, 7 F. Supp. 2d at 1154
(finding a Section 2 violation where about 600 total votes were cast in the relevant election); Cane
v. Worcester Cnty, Md., 35 F.3d 921, 923 (4th Cir. 1994) (finding a Section 2 violation in a county
with a total population of about 35,000); Potter v. Washington Cnty., Fla., 653 F. Supp. 121, 122
(N.D. Fla. 1986) (approving a consent decree finding Section 2 effects liability for a jurisdiction
that is has a total population of 14,509).
602
  Fabela v. City of Farmers Branch, Tex., No. 3:10-CV-1425-D, 2012 WL 3135545, at *11 (N.D.
Tex. Aug. 2, 2012).


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one of the least preferred candidates among the white population. FOF ¶¶ 147-150. In both local

and statewide exogenous elections, Latino voters also demonstrated strong cohesion, upwards of

over two-thirds and in some cases over 75% cohesion for preferred candidates. FOF ¶¶ 157-158.

The Latino-preferred candidates identified over the twenty-four elections analyzed were different

than the white-preferred candidates in Dodge City. FOF ¶¶ 121; 147-161; 174. Indeed, on average

Latinos who are clustered in South Dodge gave more vote share to a certain, preferred candidate,

such as Liliana Zuniga. FOF ¶ 147.

        While Latino voters have different vote choices than white voters in Dodge City, this does

not mean that voters have any racial animosity, but instead simply that voters of different racial or

ethnic groups within Dodge City express opposite electoral preferences. FOF ¶¶ 179-188. Simply

put, Plaintiffs have demonstrated clearly that Latino voters have different vote choices in City,

Ford County, and Statewide elections than non-Hispanic white voters.

        While Dodge City is a small jurisdiction, it is not the case that racial polarization cannot

be determined. If the number of precincts was a barrier to determine racial polarization,

jurisdictions around the country could limit the number of voting precincts such that racially

polarized voting could never be examined. This cannot be so. Plaintiffs’ evidence demonstrates

that the use of BISG can allow for the determination of cohesion and voter preference in

jurisdictions with limited number of precincts. FOF ¶¶ 128-135. Defendant’s expert’s assertions

that Dodge City is too small of a jurisdiction to determine if polarized voting is occurring is

unpersuasive. FOF ¶¶ 196-198. Indeed, polarized voting has often been found in comparably-sized

or smaller jurisdictions than Dodge City. 603 Additionally, since Gingles instructs a local appraisal



603
    See Blaine Cnty., Montana, 363 F.3d at 910 (affirming a finding of a Section 2 violation in a
jurisdiction of 7,009, almost four times less populous than Dodge City); Cuthair, 7 F. Supp. 2d at
1154 (finding a Section 2 violation and racially polarized voting in at-large elections where about

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when evaluating minority group cohesion, Plaintiffs produced evidence that Latino voters who are

primarily located within South Dodge City, which is located below Camanche Street, have

different vote choices than the non-Hispanic white voters who live primarily in North Dodge. FOF

¶ 186. This evidence also shows both Latino cohesion and non-Hispanic white cohesion in Dodge

City Commission elections. As such, the Court places weight on Plaintiffs’ evidence that different

areas of Dodge City have different candidate and vote choice preferences. Plaintiffs also provided

ample evidence of non-statistical cohesion among Latinos in Dodge City, in that Latino voters had

preferred candidates in Dodge City Commission elections. FOF ¶¶ 204-207.

        Once again, as noted supra, the vast majority of Plaintiffs’ evidence on racial polarization

is uncontested. Dr. Katz’s opinions are extremely limited. He did not run King’s EI analysis for

any of the 24 elections that Dr. Barreto examined, meaning that Dr. Barreto’s King’s EI analysis is

fully unrebutted. FOF ¶ 163. And Dr. Katz only ran an RxC EI analysis for four out of those 24

elections, meaning that his RxC EI analysis itself ignores 20 out of 24 elections at issue. FOF ¶

191. This leaves Dr. Barreto’s testimony largely untouched.

        Dr. Katz claims that evaluating exogenous elections would not be “helpful,” see FOF ¶ 192,

but he provides no authority to support this proposition. Indeed, federal appellate courts and the

law of the case dictate that exogenous elections—while not as probative as endogenous elections—

are no doubt “probative” for determining racial cohesion. 604 Dr. Katz ignored several exogenous


600 total votes were cast); Cane v. Worcester Cnty, Md., 35 F.3d 921, 923 (4th Cir. 1994) (finding
a Section 2 violation in a county of about 35,000); Windy Boy v. Big Horn Cnty., 647 F. Supp. 1002,
1004 (D. Mont. 1986) (finding a Section 2 violation in a county of 11,096); Potter v. Washington
Cnty., Fla., 653 F. Supp. 121, 122 (N.D. Fla. 1986) (approving a consent decree finding Section 2
effects liability for a jurisdiction that is has a total population of 14,509).
604
   Rodriguez v. Bexar Cnty., Tex., 385 F.3d 853, 860 n.5 (5th Cir. 2004) (“This court has repeatedly
endorsed the analysis of exogenous elections in Section 2 vote dilution cases.”); Bone Shirt v.
Hazeltine, 461 F.3d 1011, 1021 (8th Cir. 2006) (“[E]xogenous elections hold some probative
value.”); Coca v. City of Dodge City, No. 22-1274-EFM, 2023 WL 8545263, at *6 (D. Kan. Dec.

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elections that were substantially similar to the Dodge City Commission elections—multi-candidate,

local, nonpartisan, and off-cycle elections—that demonstrated stark evidence of polarization. Id.

Moreover, Dr. Katz testified that he had the ability to analyze all of the elections that Dr. Barreto

examined, but simply choose not to. Id. It is surprising that Dr. Katz chose only to analyze four

elections, given that another court rejected Dr. Katz’s conclusion that statistically significant

evidence of racially polarized voting did not exist based on analysis of a limited number of

elections. 605 Similarly, this Court finds that Dr. Katz’s conclusion that there is no statistically

significant evidence of racially polarized voting based on his analysis of only four elections is

insufficient to rebut Dr. Barreto’s findings.

        Further, the minimal analysis that Dr. Katz conducted is largely unpersuasive. Dr. Katz

received similar point estimates to Dr. Barreto in the only four elections that Defendant analyzed,

meaning that both experts largely agree on the point estimates for the RxC EI analysis. FOF ¶ 194.

This means that both experts agree on the likeliest estimates for vote share, which weighs in favor

of polarization and bolsters Dr. Barreto’s analysis.

        And this Court rejects Dr. Katz’s two major criticisms of Dr. Barreto’s report. This Court,

like others, finds that ecological inference analysis does not require the presence of homogenous

precincts to be accurately conducted given that both experts received similar point estimates.606

FOF ¶¶ 196-197. Rather, conclusions reached through ecological inference analysis of non-


11, 2023) (noting courts “uniformly recognize the[] relevance [of exogenous elections] in voting
dilution cases, especially when data concerning endogenous elections is limited.”) (Melgren, J.).
605
    Soliz v. Santa Clarita Comm. Coll. Dist., No. BC512736, 2014 WL 3555687, at *2 (Cal.Super.
June 09, 2014).
606
    Luna v. Cnty. of Kern, 291 F. Supp. 3d 1088, 1123 (E.D. Cal. 2018). (“Dr. Katz admitted that
Gary King, the political scientist who developed EI [(Ecological Inference)], indicated no bright
line percentage of homogeneous precincts is necessary in order for ecological inference estimates
to be reliable.”).


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homogenous precincts are no more statistically uncertain than those reached through analysis of

homogenous precincts. Id.

        Additionally, Dr. Katz’s argument regarding confidence intervals or bands are also

unpersuasive. FOF ¶¶ 199-200. As Dr. Barreto explained, and as many courts have found, when

analyzing the statistical evidence put on by plaintiffs to demonstrate political cohesion, courts have

relied on point estimates—especially where, as here, the point estimates are consistent across

elections. FOF ¶ 200. “[P]oint estimates [] are undisputedly the best estimates in the data” for

determining racially polarized voting. 607 Indeed, as a federal court recently noted, “point estimates

are the most likely outcomes,” especially when “similar results repeat[] year after year,” and,

therefore, it is not necessary to “rely on confidence intervals where voting patterns were

consistent.” 608 Courts in Section 2 cases have denied similar arguments regarding broad

confidence intervals made by Dr. Katz, and instead have found that broad confidence intervals do

not defeat a finding of voter cohesion, especially when point estimates are consistent. 609 This is

especially the case when Latino turnout is low, such as in Dodge City. 610


607
   Benavidez v. Irving Indep. Sch. Dist., No. 3:13-CV-0087-D, 2014 WL 4055366, at *12 (N.D.
Tex. Aug. 15, 2014) (internal citation omitted); Fabela v. City of Farmers Branch, Tex., No. 3:10-
CV-1425-D, 2012 WL 3135545, at *10 (N.D. Tex. Aug. 2, 2012) (same).
608
    NAACP, Spring Valley Branch v. East Ramapo Cent. Sch. Dist., 462 F. Supp. 3d 368, 390
(S.D.N.Y. 2020); see also Alpha Phi Alpha Fraternity Inc. v. Raffensperger, 587 F. Supp. 3d 1222,
1309 (N.D. Ga. 2022) (crediting racially polarized voting expert who conducted ecological
regression and Kings ecological inference as reliable and qualified despite not using confidence
intervals with her analysis).
609
    Montes, 40 F. Supp. 3d at 1404–05; ( “[T]he Court respectfully declines Defendant’s invitation
to reject Dr. Engstrom’s analysis on the basis of the challenged confidence intervals.”); Fabela v.
City of Farmer’s Branch, Tex., No. 3:10-CV-1425-D, 2012 WL 3135545, at *10 (N.D. Tex. Aug.
2, 2012).
610
   Montes v. City of Yakima, 40 F. Supp. 3d 1377, 1404–05 (E.D. Wash. 2014) (“[I]f low voter
turnout could defeat a section 2 claim, excluded minority voters would find themselves in a vicious
cycle: their exclusion from the political process would increase apathy, which in turn would

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          Dr. Katz’s criticism does not just cut against federal courts’ findings around the country,

but against his own work. As noted supra, Dr. Katz, in his peer-reviewed published work, has made

findings about likely vote choice in the face of confidence intervals with heavy overlap, and indeed

in this case relied on BISG estimates without disclosing the associated confidence intervals. FOF

¶¶ 201-202. Plaintiffs do not need to carry their burden at the 95 percent statistical level; Plaintiffs’

largely unrebutted evidence demonstrates Latino voter cohesion in Dodge City by a preponderance

of the evidence. 611

          Taken together, the undisputed King’s EI statistical analysis of twenty-four elections, the

RxC EI analysis of twenty-four elections, and the non-statistical evidence of cohesion all support

the conclusion that Latino voters are politically cohesive, and that cohesion is distinctly evident

over a period of time. 612 The Court finds that Plaintiffs have met Gingles II.

          C. Gingles III

          The final Gingles precondition, Gingles III, requires that “the white majority votes

sufficiently as a bloc to enable it . . . usually to defeat the minority’s preferred candidate.” 613 Many

of the legal standards outlined in the section on Gingles II also govern the Gingles III inquiry, but

the Court makes note of a few additional areas of applicable law.




undermine their ability to bring a legal challenge to the discriminatory practices, which would
perpetuate low voter turnout, and so on.”).
611
    Luna v. Cnty. of Kern, 291 F. Supp. 3d 1088, 1123–24 (E.D. Cal. 2018) ) (“Dr. Katz admitted
that Gary King, the political scientist who developed EI [(Ecological Inference)], indicated no
bright line percentage of homogeneous precincts is necessary in order for ecological inference
estimates to be reliable.”).
612
      Sanchez, 97 F.3d at 1312–13.
613
      Id. at 1310; Gingles, 478 U.S. at 90 (O’Connor, I., concurring).


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          As the Tenth Circuit has made clear, “[r]acial polarization or bloc voting ‘exists where there

is a consistent relationship between the race of the voter and the way in which the voter votes . . .

or to put it differently, where [minority] voters and white voters vote differently.’” 614 Gingles III

has “no simple doctrinal test” and can “vary according to a variety of factual circumstances.”615

Bloc voting is determined on a sliding scale that varies and there needs to be “a flexible approach,

noting that the isolated success of a minority candidate in a district that usually exhibits vote

polarization will not alone negate plaintiffs' showing.” 616 “[W]hile legally significant white bloc

voting enables the majority ‘in the ordinary course, to trounce minority-preferred candidates most

of the time,’ its presence may be more subtle requiring close inquiry over time. 617

          Based on the evidence presented at trial, the Court concludes that white voters in Dodge

City are political cohesive and vote at a sufficient rate to usually defeat Latino-preferred candidates.

FOF ¶¶ 174-175. The evidence shows that white voters in Dodge City vote cohesively and in

opposition to Latino voters in almost all elections and that they do so at a rate sufficient to usually

defeat the minority-preferred candidate consistently. Id.

          Defendant did not dispute the King’s EI statistical evidence presented by Dr. Barreto

demonstrating that over a ten-year period, white voters in Dodge City voted cohesively in both

exogenous and endogenous elections. FOF ¶ 163. As noted above, Dr. Katz analyzed only four

elections only using the RxC methodology, and did not state whether white voters were cohesive

or not in those only four elections. FOF ¶ 191. Indeed, he admitted that in the 2017 Dodge City



614
      Sanchez, 97 F.3d at 1312.
615
      See Gingles, 478 U.S. at 57–58.
616
      Sanchez, 97 F.3d at 1313.
617
      Id. at 1312.

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Commission election, candidate Zuniga—who lost that election—was least preferred among white

voters. As stated above, based on a local appraisal, all types of elections are probative for

determining political cohesion within Dodge City. Defendant did not produce any evidence that

rebuts a showing that white voters are cohesive and bloc vote in exogenous elections. Further,

white voters within Dodge City are a larger percent of the electorate and vote at higher rates in

elections than Latino voters. FOF ¶¶ 51-55. Because white voters make up a larger share of actual

voters in Dodge City, their voting strength and levels of cohesion work together to usually bloc

Latino-preferred candidates in both local and statewide elections. FOF ¶ 176. Additionally, over a

twenty-five-year period, just two Latinos have been elected to the Dodge City Commission, FOF

¶ 322, one of which has been identified as not being a Latino-preferred candidate. FOF ¶ 207, 342.

The lack of Latino candidates being elected in the history of the at-large voting system in Dodge

City is powerful evidence that the non-Latino majority will “usually” defeat the Latino minority’s

preferred candidate. 618 The ability of the majority to “usually” defeat the minority’s preferred

candidate is borne out by the statistical evidence. FOF ¶ 121.

        The undisputed evidence shows that white voters in Dodge City vote cohesively and in

opposition to Latino voters in almost all elections and that they do so at a rate sufficient to defeat

the minority-preferred candidate consistently. FOF ¶ 121. As such, the Court finds that—like

Gingles II—Gingles III has been met.

        In reaching this conclusion, the Court gives considerable weight to the following: (i)

Plaintiffs’ quantitative expert’s results were largely uncontested, (ii) Plaintiffs analyzed a sufficient



618
   See Montes v. City of Yakima, 40 F. Supp. 3d 1377, 1405 (E.D. Wash. 2014) (“At the outset, it
bears noting that no Latino candidate has ever been elected to the Yakima City Council in the
history of the current at-large voting system. This is powerful evidence that the non-Latino
majority will ‘usually’ defeat the Latino minority's preferred candidate.”).


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number of local and state elections to demonstrate both Latino and white political cohesion within

Dodge City utilizing both King’s EI and RxC EI, and (iii) Defendant did not deny the existence of

racially polarized voting occurring in Dodge City, and (iv) Defendant’s expert did not conduct a

full racially polarized voting analysis in that his analysis lacked sufficient elections to discern

whether a pattern of polarized voting existed. Further, in reaching this conclusion, the Court is not

suggesting that non-Latinos in Dodge City are deliberately conspiring to outvote their Latino

counterparts nor that they vote with any racial intent or wrongdoing. As stated above, intent is not

relevant in a Section 2 effects claim. 619 Plaintiffs have made a compelling showing that it is more

likely than not that Latino voters and white voters within Dodge City have different and distinct

electoral preferences. FOF ¶ 121, 143-189. Plaintiffs have proven based on a preponderance of the

evidence that the electorate in the City of Dodge City is racially polarized, and therefore, satisfied

Gingles II and III.

          In sum, Plaintiffs have satisfied all three Gingles preconditions.

 II.      Plaintiffs Have Demonstrated a Section 2 Violation, Considering the Totality of the
          Circumstances

          Having found that the Plaintiffs satisfied the Gingles preconditions, this Court must next

determine whether “the totality of the circumstances reveal that the [minority group’s] . . . members

have less opportunity than other members of the electorate to participate in the political process

and to elect representatives of their choice.” 620 To determine whether vote dilution exists under the

totality of the circumstances, the Court conducts “a searching practical evaluation of the past and




619
      See Gingles, 478 U.S. at 70–71; Jenkins, 4 F.3d at 1123; Montes, 40 F. Supp. 3d at 1407.
620
      Gingles, 478 U.S. at 43 (internal quotations omitted).


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present reality,” which is an analysis “peculiarly dependent upon the facts of each case . . . and

requires an intensely local appraisal.” 621 “The lack of electoral opportunity is the key.” 622

          As federal appeals courts around the country have found, “it will be only the very unusual

case in which [the plaintiffs] can establish the existence of the three Gingles factors but still have

failed to establish a violation of § 2 under the totality of circumstances.” 623 If Plaintiffs have

satisfied the Gingles preconditions but a court determines the totality of the circumstances does

not show vote dilution, “the district court must explain with particularity why it has concluded,

under the particular facts of that case, that an electoral system that routinely results in white voters

voting as a bloc to defeat the candidate of choice of a politically cohesive minority group is not

violative of § 2 of the Voting Rights Act.” 624

          To undertake the totality-of-the-circumstances determination, courts use the nine factors

specified in a report of the Senate Judiciary Committee accompanying the 1982 amendments to

the Voting Rights Act, known as the “Senate Factors.” 625 The nine Senate Factors are:

              (1) “[T]he extent of any history of official discrimination in the state or political
                  subdivision that touched the right of the members of the minority group . . . to
                  participate in the democratic process;

              (2) [T]he extent to which voting in the elections of the state or political subdivision is
                  racially polarized;


621
      Gingles, 478 U.S. at 45, 79 (internal quotation marks and citations omitted).
622
      Sanchez, 97 F.3d at 1310 (emphasis removed).
623
    Jenkins v. Red Clay Consol. Sch. Dist. Bd. of Educ., 4 F.3d 1103, 1135 (3d Cir. 1993); Wright
v. Sumter Cnty. Bd. Of Elections and Registration, 979 F.3d 1282, 1304 (11th Cir. 2020) (internal
citations omitted); Sanchez, 97 F.3d at 1303, 1322; Clark v. Calhoun Cnty., Miss., 21 F.3d 92, 97
(5th Cir. 1994).
624
      Jenkins, 4 F.3d at 1135.
625
      Gingles, 478 U.S. at 36–37, 44–46.


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              (3) [T]he extent to which the state or political subdivision has used . . . voting practices
                  or procedures that may enhance the opportunity for discrimination against the
                  minority group[,]” such as unusually large election districts, majority vote
                  requirements, and prohibitions against bullet voting;

              (4) “[I]f there is a candidate slating process, whether the members of the minority
                  group have been denied access to that process;

              (5) [T]he extent to which members of the minority group in the state or political
                  subdivision bear the effects of discrimination in such areas as education,
                  employment, and health, which hinder their ability to participate effectively in the
                  political process;”

              (6) The use of over or subtle racial appeals in political campaigns;

              (7) “[T]he extent to which members of the minority group have been elected to public
                  office in the jurisdiction;”

              (8) Evidence demonstrating that elected officials are unresponsive to the particularized
                  needs of the members of the minority group; and

              (9) That the policy underlying the state’s or the political subdivision’s use of the
                  contested practice or structure is “tenuous.” 626

          The Senate factors are “neither comprehensive nor exclusive,” and “there is no requirement

that any particular number of factors be proved, or that a majority of them point one way or the

other.” 627 “When combined with the Gingles preconditions, any one factor or combination of

factors may be sufficient, but are not necessary in whole or part, for a Section 2 violation.” 628 The

Supreme Court has explained that “the most important” Senate Factors are Senate Factor 7 (the

“extent to which minority group members have been elected to public office in the jurisdiction”)

and Senate Factor 2 (the “extent to which voting in the elections of the state or political subdivision


626
      Id. at 36–37.
627
      Id. at 45 (internal citations omitted).
628
   Clerveaux v. E. Ramapo Cent. School Dist., 984 F.3d 213, 231 (2d Cir. 2021); see Campos v.
City of Baytown, Tex., 840 F.2d 1240, 1249–50 (5th Cir 1988) (finding totality of circumstances
met with just Senate Factors 2, 5, and 7, and explicitly rejecting the argument that “responsiveness
precludes a finding of a § 2 violation”).


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is racially polarized”). 629 Indeed, Senate Factors 2 and 7 “predominate the totality-of-circumstance

analysis.” 630

          The Senate Report “emphatically rejects” mechanistic application of the Senate Factors. 631

As such, courts may look beyond the political subdivision at issue and consider evidence relating

to the broader context in which the jurisdiction is situated. 632 Each Senate Factor and the Court’s

conclusions of law related thereto is discussed below.

          A. Senate Factor 1

          There is some evidence of a history of official discrimination within Dodge City and

Kansas that has impacted the right of Latinos in Dodge City to participate in the democratic process.

When drafting Senate Factor 1, “Congress was concerned not only with present discrimination,

but with the vestiges of discrimination which may interact with present political structures to

perpetuate a historical lack of access to the political system.” 633 Evidence that is relevant under



629
      Gingles, 478 U.S. at 48 n.15 (internal quotation marks omitted).
630
   Mo. State Conf. of the NAACP v. Ferguson-Florissant Sch. Dist., 201 F. Supp. 3d 1006, 1063
(E.D. Mo. 2016), aff’d, 894 F.3d 924 (8th Cir. 2018); Harvell v. Blytheville Sch. Dist. No. 5, 71
F.3d 1382, 1390 (8th Cir. 1995); Bone Shirt v. Hazeltine, 461 F.3d 1011, 1022 (8th Cir. 2006);
Gingles, 478 U.S. at 48–49 n.15.
631
      United States v. Blaine Cnty., Mont., 363 F.3d at 913.
632
   Mo. State Conf. of the NAACP v. Ferguson-Florissant Sch. Dist., 894 F.3d 924, 940 (8th Cir.
2018) (finding it appropriate for courts to evaluate “statewide data or expert testimony applying
general data to the [jurisdiction]” under Senate Factors 1, 3, and 5); see also United States v. Blaine
Cnty., Montana, 363 F.3d at 913 (rejecting defendant’s argument that “the district court could only
look at official discrimination by [the defendant] County, not the state or federal government).
633
   Rodriguez v. Harris Cnty., Tex., 964 F. Supp. 2d 686, 778–79 (S.D. Tex. 2013), aff'd sub
nom. Gonzalez v. Harris Cnty., Tex., 601 F. App'x 255 (5th Cir. 2015); Gingles, 478 U.S. at 69
(“Congress intended that the Voting Rights Act eradicate inequalities in political opportunities that
exist due to the vestigial effects of past purposeful discrimination.”).


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this Senate Factor includes statewide data applying to the jurisdiction, evidence of past voting

rights lawsuits or settlements within the state and region in which the jurisdiction is located, and

the existence of racially segregated schools and public facilities. 634 Lay witness testimony is

relevant and highly credible in evaluating Senate Factor 1. 635

          Plaintiffs have provided contemporaneous evidence that there have been voting rights

issues within Ford County that apply to Latinos in Dodge City. FOF ¶¶ 216-233. Specifically, there

was a lawsuit against Ford County in 2018 concerning the movement of the sole voting location

in Dodge City and lack of sufficient notice to voters in Dodge City of the move. FOF ¶¶ 220, 222.

A Congressional report found that the movement of the polling location was a voter suppressive

action by the Ford County Clerk and done without proper community input from the Latino

community. FOF ¶ 221. The Court notes that in Fish v. Kobach, 309 F. Supp. 3d 1048 (D. Kan.

2018), aff’d sub nom. Fish v. Schwab, 957 F.3d 1105 (10th Cir. 2020), two Kansas statutes were

found to violate the National Voter Registration Act and infringe the rights of Kansas voters under

the Fourteenth Amendment. While Fish does not directly concern Dodge City or Ford County, the

Senate Factor 1 inquiry looks to statewide and a regional history of discrimination as state laws

and barriers obviously effect local jurisdictions. 636 The Court finds these two recent instances of

voting related discrimination probative. 637 Furthermore, several witnesses—including former



634
   See Rodriguez 964 F. Supp. 2d at 778–79; Mo. NAACP, 894 F.3d at 940; see also Blaine, 363
F.3d at 913; Soto Palmer v. Hobbs, No. 3:22-CV-05035-RSL, 2023 WL 5125390, at *7 (W.D.
Wash. Aug. 10, 2023).
635
      See Soto Palmer, 2023 WL 5125390 at *7; Rodriguez, 964 F. Supp. 2d at 779.
636
   See Mo. State Conf. of the NAACP v. Ferguson-Florissant Sch. Dist., 201 F. Supp. 3d 1006,
1066–72 (E.D. Mo. 2016), aff’d, 894 F.3d 924 (8th Cir. 2018)
637
      Montes v. City of Yakima, 40 F. Supp. 3d 1377, 1409–10 (E.D. Wash. 2014).


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Dodge City Commissioner Scoggins—testified about discrimination and segregation against

Latinos in Dodge City. Ms. Scoggins testified about an area in South Dodge City called “Mexican

Village” that was south of the railroad tracks and where Latino rail workers resided. FOF ¶¶ 227;

see also FOF ¶ 279. The Latino residences in the Mexican Village did not have running water and

their children were not allowed to attend public schools. FOF ¶¶ 227, 229. Ms. Scoggins discussed

how Latinos were not allowed in stores in North Dodge when she was young. FOF ¶ 227. When

Ms. Scoggins was growing up in Dodge City, Latino residents were only allowed to swim in Dodge

City park facilities during “free day,” which was the last day before the City drained the pool and

put in new water. FOF ¶ 228, see also FOF ¶ 280. Ms. Scoggins testified that the Dodge City

schools had to be desegregated. FOF ¶ 229. The effects of this segregation can be felt today, as

Latino residents still live primarily in South Dodge City and the Latino students in Dodge City

schools have lower educational achievement than white students. FOF ¶¶ 231-232.

          Given both the recent voting rights litigation and testimony regarding a history of

segregated facilities in Dodge City, the Court finds this factor weighs slightly in Plaintiffs’ favor.

          B. Senate Factor 2

          The second Senate Factor is “the extent to which voting in the elections of the state or

political subdivision is racially polarized.” 638 “Although no [Senate Factor] is indispensable, the

legislative history of the amendment to section 2 indicates that racially polarized voting will

ordinarily be the keystone of a dilution case.” 639 For the reasons discussed above in conjunction




638
      Gingles, 478 U.S. at 37.
639
    McMillian v. Escambia Cnty., 748 F.2d 1037, 1043 (5th Cir. 1984); see also Gingles, 478 U.S.
at 51 n.15.


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with the second and third Gingles preconditions, the Court finds that elections are marked by racial

polarization. FOF ¶ 234. As such, this factor weighs very strongly in favor of Plaintiffs.

          C. Senate Factor 3

          Based on the evidence at trial regarding Senate Factor 3, this Court finds that this factor

weighs in favor of Plaintiffs. It is important to note that this Senate Factor does not examine intent

nor ask why an election practice was selected or utilized; the inquiry is whether or not a subdivision

uses a practice that has the effect of enhancing the opportunity for discrimination. 640 For purposes

of satisfying Senate Factor 3, these voting practices or procedures need not be “the but-for cause

of a minority candidate's electoral defeat.” 641 Voting practices or procedures that tend to enhance

the opportunity for discrimination against the minority group include at-large electoral systems,

off-year elections, staggered terms, and inconveniently located polling locations or limited polling

locations. 642 Here, Dodge City employs several voting practices or procedures that may enhance

the opportunity for discrimination against the Latino community in at least three ways.

          Dodge City continues to utilize at-large elections, off-cycle elections, and differential terms,

FOF ¶¶ 236-257, three practices that courts have repeatedly found to enhance the opportunity of



640
   NAACP, Spring Valley Branch v. E. Ramapo Cent. Sch. Dist., 462 F. Supp. 3d 368, 402
(S.D.N.Y. 2020), (citing Gingles, 478 U.S. at 37, 45), aff'd sub nom. Clerveaux v. E. Ramapo Cent.
Sch. Dist., 984 F.3d 213 (2d Cir. 2021).
641
      Luna v. Cnty. Of Kern, 291 F. Supp. 3d 1088, 1136 (E.D. Cal. 2018).
642
   See Large v. Fremont Cnty., Wyo., 709 F. Supp 2d 1176, 1216–17 (D. Wyo. 2010); Soto Palmer
v. Hobbs, NO. 3:22-cv-05035-RSL, 2023 WL 5125390 at *7–8 (W.D. Wash. 2023); NAACP,
Spring Valley Branch v. E. Ramapo Cent. Sch. Dist., 462 F. Supp. 3d 368, 401–02 (S.D.N.Y. 2020)
(“The District holds at-large, staggered, off-cycle elections with numbered posts, all of which have
the effect of diluting minority votes.”), aff’d sub nom. Clerveaux v. E. Ramapo Cent. Sch. Dist.,
984 F.3d 213 (2d Cir. 2021); United States v. Village of Port Chester, No. 06-CV-15173, 2008 WL
190502, at *28 (S.D.N,Y, Jan. 17, 2008); Luna v. Cnty. Of Kern, 291 F. Supp. 3d 1088, 1136 (E.D.
Cal. 2018).


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discrimination and satisfy Senate Factor 3. 643 As to Dodge City’s at-large election system,

Congress and the Supreme Court have recognized that “among the most common [election

schemes which enhance vote dilution] are at-large elections…” 644 As Dr. Bejarano testified, and

Defendant does not contest, the political science literature is clear that at-large election systems

both hamper descriptive representation for Latinos by making it harder for Latinos to win office,

and hamper substantive representation for Latinos such that their representatives are less

responsive to their concerns and needs. FOF ¶¶ 237-241, 245. Dr. Bejarano also testified that the

political science literature is clear that switching from at-large to single-member district systems

increases the opportunity for Latinos to win office in a jurisdiction, particularly when the Latino

population is of a sufficient size (about 30-to-40 percent of the population) and racially

segregated—both of which are the case in Dodge City. FOF ¶¶ 242-244. Defendant’s own expert

acknowledges that moving from at-large to single-member districts has at least “some effect” on

the election of Latinos to office, and acknowledges that her incomplete literature review did not

address articles that found significant increases in Latino representation in municipal government

upon switching from at-large to single-member districts. FOF ¶¶ 249-252.

        Further, as other courts have noted, “off-cycle elections also enhance the opportunity for

discrimination” because the unrebutted testimony is that minority groups have a larger drop-off in

turnout from presidential to off-cycle elections as compared to whites, see FOF ¶¶ 253-256, and



643
   See Large v. Fremont Cnty., Wyo., 709 F. Supp 2d 1176, 1216–17 (D. Wyo. 2010); Luna v. Cnty.
of Kern, 291 F. Supp. 3d 1088, 1136; (E.D. Cal. 2018); Soto Palmer v. Hobbs, No. 3:22-cv-05035-
RSL, 2023 WL 5125390 at *7–8 (W.D. Wash. 2023).
644
    Luna v. Cnty. of Kern, 291 F. Supp. 3d 1088, 1136; (E.D. Cal. 2018); Rogers v. Lodge, 458 U.S.
613, 616 (1982) (“At-large voting schemes and multimember districts tend to minimize the voting
strength of minority groups by permitting the political majority to elect all representatives of the
district.”) (emphasis in original).


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because they “increase the relative influence of well-organized interest groups in maintaining the

status quo.” 645 While Plaintiffs no longer seek to move from off-cycle to on-cycle elections as a

remedy, the case law is clear that off-cycle elections are a type of election practice “that tend[s] to

enhance the opportunity for discrimination”—which is all that is required to satisfy Senate Factor

3. 646 Thus, while off-cycle/odd-numbered year elections are themselves lawful, their use in

combination with the at-large method of election hampers the opportunity of minorities to vote for

candidates of choice, and is thus probative of Senate Factor 3. FOF ¶¶ 254-256.

        Finally, Dodge City’s differential length of terms compounds the dilutive nature of its at-

large election system. Courts have also concluded that staggered terms for elected officials enhance

opportunities for discrimination against minorities, because this prevents strategic “bullet voting”

by the minority group in elections with multiple winners. 647 The unrebutted testimony from Dr.

Bejarano is that the challenges that make it difficult for Latinos to win election citywide are the




645
   Mo. State Conf. of the NAACP v. Ferguson-Florissant Sch. Dist., 201 F. Supp. 3d 1006, 1079–
80 (E.D. Mo. 2016), aff’d 894 F.3d 924 (8th Cir. 2018); see also, e.g., Ketchum v. Byrne, 740 F.2d
1398, 1404 n.5 (7th Cir. 1984); NAACP, Spring Valley Branch, 462 F. Supp. 3d at 401.
646
    Id. (quoting Gingles, 478 U.S. at 37, 45); see also generally NAACP, Spring Valley Branch,462
F. Supp. 3d at 409 “[T]he third Senate Factor does not examine intent; rather, it asks whether the
subdivision has used election practices “that tend to enhance the opportunity for discrimination.”
(citing Gingles, 478 U.S. at 37, 45)).
647
    “When all candidates for a legislative body are elected at-large at the same time, a minority
group still has the opportunity to elect a minority-preferred candidate through bullet voting, also
known as one-shot voting. Minority voters can concentrate their vote on electing one minority-
preferred candidate, while the majority vote will be split among the majority candidates.” Blaine,
363 F.3d, at 913 n.25; see id. at 913–14; Wright, 979 F.3d at 1295–96 (Senate Factor 3 weighed
slightly in favor of the plaintiff because the county used “staggered terms for the at-large seats”);
United States v. Charleston Cnty., S.C., 365 F.3d 341, 351 (4th Cir. 2004); Collins v. City of
Norfolk, Va., 883 F.2d 1232, 1236 (4th Cir. 1989); Harvell v. Blytheville Sch. Dist. No. 5, 71 F.3d
1382, 1390 (8th Cir. 1995) (“The majority vote requirement, staggered terms, and at-large structure
also tend to suppress minority voters' influence.”).


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same challenges that make it difficult for Latino candidates to finish among the top two candidates

and win a four-year term. FOF ¶¶ 246-248.

        Because Dodge City uses these voting practices, and because these practices enhance the

opportunity for discrimination against Latinos, Senate Factor 3 weighs in favor of Plaintiffs.

        D. Senate Factor 4

        While there appears to be some candidate slating in the Dodge City Commission elections,

there is no evidence in the record that Latinos have been denied access to those slates. It is

noteworthy, however, that the candidate slate introduced into evidence was in fact for a particular

political party, which cuts against the City’s theory that its at-large elections foster unity because

they are non-partisan. FOF ¶¶ 308, 437.

        E. Senate Factor 5

        Under Senate Factor 5, Plaintiffs are required to “demonstrate both depressed political

participation and socioeconomic inequality, but need not prove any causal nexus between the

two.” 648 The Court concludes that there is evidence of stark socioeconomic disparities between

Latinos and whites in Dodge City, historical discrimination against Latinos, and depressed voter

turnout among Latinos.

        Plaintiffs have offered overwhelming, unrebutted evidence through the testimony of Dr.

Bejarano that the Latino community in Dodge City has long-suffered, and continues to suffer,

socioeconomic and other disparities in various aspects of life that impair their ability to participate

in the political process—in median household income, poverty rates, child poverty rates,


648
   Luna v. Cnty. of Kern, 291 F. Supp. 3d 1088, 1137 (E.D. Cal. 2018) (finding Senate Factor 5
weighed in plaintiffs’ favor where Latinos “constitute the majority of the population in Kern
County (50.4 percent in 2014), [but] have been unable to influence elections commensurate with
their population size because they form a much smaller percentage of the electorate and are
socioeconomically disadvantaged compared to non-Hispanic whites.”).


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unemployment rates, high school graduation rates, college graduation rates, health insurance rates,

homeownership rates, median home values, and voter registration and turnout rates. FOF ¶¶ 259-

276. These are precisely the sort of indicators that support a finding that Senate Factor 5 is met.649

And, because there is a multitude of disparities, more weight is afforded to Plaintiffs’ position.650

        “Plaintiffs are not required to prove a causal connection between [the effects of

discrimination] and a depressed level of political participation.” 651 “Rather, the burden is on those

who deny the causal nexus to show that the cause is something else.” 652

        Defendant does not seriously dispute that Latinos in Dodge City suffer from disparities in

nearly every facet of life, from socioeconomic indicators such as employment, income, poverty,

and education, to health and housing. Defendant also does not dispute that these disparities have

the effect of making it harder to participate in the political process, or that minority participation

is depressed. Defendant suggested at trial that things have improved over time for Latinos; that



649
    Cuthair v. Montezuma-Cortez, Colo. Sch. Dist. No. RE-1, 7 F. Supp. 2d 1152, 1169–70 (D. Colo.
1998); Wright v. Sumter Cnty. Bd. Of Elections and Registration, 979 F.3d 1282, 1294–95 (11th
Cir. 2020); United States v. Blaine Cnty., Mont., 363 F.3d 897, 914 (9th Cir. 2004); Bone Shirt v.
Hazeltine, 336 F. Supp. 2d 976, 1037–38 (D.S.D. 2004); United States v. Berks Cnty., Pa., 277 F.
Supp. 2d 570, 580–81 (E.D. Pa. 2003); Jeffers v. Clinton, 730 F. Supp. 196, 211 (E.D. Ark. 1989),
aff'd, 498 U.S. 1019 (1991); Mo. State Conf. of the NAACP v. Ferguson-Florissant Sch. Dist., 201
F. Supp. 3d 1006, 1069–73 (E.D. Mo. 2016), aff’d, 894 F.3d 924 (8th Cir. 2018); United States v.
Vill. of Port Chester, 704 F. Supp. 2d 411, 435–36, 445 (S.D.N.Y. 2010).
650
   Wright v. Sumter Cnty. Bd. Of Elections and Registration, 979 F.3d 1282, 1294–95 (11th Cir.
2020).
651
   Teague v. Attala Cnty., Miss., 92 F.3d 283, 294 (5th Cir. 1996); U.S. v. Village of Port Chester,
2008 WL 190502, at *29–30 (S.D.N.Y. 2008); Whitfield v. Democratic Party of State of Ark., 890
F.2d 1423, 1430–31 (8th Cir. 1989) (similar); S. Rep. No. 97–417, at 29 n.144 (1982) (similar).
652
   Bone Shirt v. Hazeltine, 336 F. Supp. 2d 976, 1038 (D.S.D. 2004); Marengo Cnty. Comm’n, 731
F.2d 1546, 1569 (11th Cir. 1984) (“when there is clear evidence of present socioeconomic or
political disadvantage . . . the burden is not on the plaintiffs to prove that this disadvantage is
causing reduced political participation”); Wright, 979 F.3d at 1294.


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argument ignores that wide disparities exist and in fact in many areas have widened over time.

FOF ¶ 276.

        Dr. Martinez’s testimony further supports a finding that Latinos have experienced

discrimination in Dodge City and Kansas, including segregation in schools and public

accommodations and racially restrictive covenants. FOF ¶¶ 277-285. Testimony from lay

witnesses confirms this history and also speaks to the hostilities faced by Latinos in day-to-day

life in Dodge City and as advocates for the Hispanic community. FOF ¶¶ 286-311.

        Importantly, courts routinely conclude that Senate Factor 5 is met without an express

finding of causation between past discrimination and present socioeconomic inequalities, and have

done so where Latinos were the minority population at issue. 653 Such a finding of definitive




653
   See, e.g., Sanchez v. State of Colo., 97 F.3d 1303, 1323 (10th Cir. 1996) (finding factor 5 favored
plaintiffs when “poverty, unemployment, school drop-out, housing, and alcoholism
disproportionately affect the Hispanic community,” even though defendant’s witness testified that
“today, ‘Hispanics have equal access to education, jobs, and loans’”); U.S. v. Blaine Cnty.,
Montana, 363 F.3d 897, 914 (9th Cir. 2004) (“[T]he County contends that there is no causal link
between discrimination and whatever socioeconomic disparities might exist.”); NAACP, Spring
Valley Branch v. East Ramapo Cent. Sch. Dist., 462 F. Supp. 3d 368, 408 (S.D.N.Y. 2020) (“This
factor concerns how blacks and Latinos are doing socioeconomically compared to whites in the
District… Plaintiffs have shown that blacks and Latinos in the District lag behind whites
socioeconomically . . . Thus, Senate Factor 5 weighs in Plaintiffs’ favor[.]”), aff'd sub nom.
Clerveaux v. E. Ramapo Cent. Sch. Dist., 984 F.3d 213 (2d Cir. 2021); U.S. v. Village of Port
Chester, 2008 WL 190502, at *29–30 (S.D.N.Y. 2008); Montes v. City of Yakima, 40 F. Supp. 3d
1377, 1413 (E.D. Wash. 2014) (finding that Senate Factor 5 weighed in favor of the Plaintiffs over
the defendant’s argument that the socioeconomic disparities could not be attributed to
discrimination); Luna v. Cnty. of Kern, 291 F. Supp. 3d 1088, 1137–38 (E.D. Cal. 2018) (finding
factor 5 favored plaintiffs even when “Latino educational attainment [] had improved,” because
“defendants did not present evidence at trial that there currently is no education gap between
Latinos and non-Hispanic whites”); United States v. Osceola Cnty., Fla., 475 F. Supp. 2d 1220,
1234 (M.D. Fla. 2006) (“Hispanics in Osceola County have lower levels of education and income,
and are more likely to be living in poverty than are non-Hispanics, particularly non-Hispanic
whites . . . These disparities make it more difficult for Hispanic candidates to run for countywide
office . . .”); Benavidez v. Irving Indep. Sch. Dist., No. 3:13-CV-0087-D, 2014 WL 4055366, at
*22 (N.D. Tex. Aug. 15, 2014) (finding Senate Factor 5 was met because Hispanics “exhibit lower
educational attainment, lower income, and higher poverty rates”); see also U.S. v. City of Euclid,

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causation would be almost impossible to prove, see FOF ¶ 311, and would essentially render Senate

Factor 5 duplicative of Senate Factor 1.

         Although the Court expressed some questions during closing arguments that current

socioeconomic disparities may be attributable to the Dodge City Latino population’s recent

immigration, rather than historical inequalities, the weight of the evidence and the legal principles

governing analysis of Senate Factor 5 indicate that the answer to that question is not dispositive.

         For these reasons, the Court finds that there is sufficient evidence to conclude that Senate

Factor 5 weighs in favor of Plaintiffs.

         F. Senate Factor 6

         There is no evidence in the record of racial appeals used in campaigns in Dodge City.

         G. Senate Factor 7

         The Court concludes that Senate Factor 7 weighs strongly in Plaintiffs’ favor because

Latinos have a staggering lack of electoral success at all levels of government—in Dodge City,

Ford County, statewide and federal elections.

         As noted, supra, Senate Factors 7 and 2 are “the most important Senate factors” when the

challenging an at-large electoral system. 654 “The core question posed in Factor 7 is whether

[minority] candidates have historically been successful in the [jurisdiction], not whether individual

[minority] candidates were more attractive candidates or could have run better campaigns.” 655

When viewing the extent of minority electoral success, the appointment of a Latino candidate and


580 F. Supp. 2d 584, 609–10 (N.D. Ohio 2008); Large v. Fremont Cnty., Wyo., 709 F. Supp. 2d
1176, 1218–19 (D. Wyo. 2010).
654
   Montes v. City of Yakima, 40 F. Supp. 3d 1377, 1410 (E.D. Wash. 2014); see also Blaine Cnty.,
363 F. 3d at 903; Gingles, 478 U.S. at 48 n.15.
655
      Mo. NAACP, 894 F.3d at 939.


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subsequent loss by that appointed candidate is a circumstance that weighs heavily of finding vote

dilution.656

          The Court credits Dr. Bejarano’s analysis of the lack of Latino success in Dodge City. FOF

¶¶ 314-315, 318-333. Currently, no Latinos serve on the Dodge City Commission. See FOF ¶¶

322-323, 343. From 1996–2021, just two Latinos were elected to the Dodge City Commission,

only one Latino was elected to the Dodge City School Board, and none were elected to judicial or

law enforcement offices or to the Ford County Commission. FOF ¶¶ 322-323, 325, 327, 329. This

is an extraordinary paltry rate compared to the Latino share of the Dodge City and Ford County

population. FOF ¶¶ 319-320. Evidence from just outside Dodge City and Ford County paints a

similar picture—the rates of Latinos to elected offices in municipal offices, school boards, judicial

and law enforcement positions, and statewide office across Kansas, as well as to federal

congressional office, are similarly very low compared to their share of the population. FOF ¶¶ 324,

326, 328, 330-333.

          Defendant did not rebut this evidence. Instead, they pointed to the fact that over a twenty-

four-year period, two Latino candidates have been elected to the Commission, and that non-elected

members of the City’s government are Latino. Proof that a couple of Latino candidates have been

elected over several decades does not foreclose satisfaction of Senate Factor 7, 657 especially if




656
      Montes v. City of Yakima, 40 F. Supp. 3d 1377, 1414 (E.D. Wash. 2014).
657
    Gingles, 478 U.S. at 75 (“[T]he Senate Report expressly states that the election of a few
minority candidates does not necessarily foreclose the possibility of dilution of the [minority] vote,
noting that if it did, the possibility exists that the majority citizens might evade § 2 by manipulating
the election of a safe minority candidate.”) (internal quotations omitted); Harvell v. Blytheville Sch.
Dist. No. 5, 71 F.3d 1382, 1390 (8th Cir. 1995); Large v. Fremont Cnty., Wyo., 709 F. Supp. 2d
1176, 1221 (D. Wyo 2010); see also Sanchez v. State of Colo., 97 F.3d 1303, 1325 (10th Cir. 1996);
Clerveaux v. E. Ramapo Cent. School Dist., 984 F.3d 213, 241 (2d Cir. 2021) (“[The] two black
men who won four of six contested elections, were heavily vetted and slated by the Organization.

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those elected are unresponsive to the needs of their Latino constituents, as Plaintiffs contend with

respect to Joe Nuci. FOF ¶¶ 207, 342. Furthermore, Blanca Soto’s appointment to the Dodge City

Commission in 2021 and subsequent failure to be reelected to the Dodge City Commission

demonstrates the lack of electoral success for Latino candidates. FOF ¶¶ 323, 334. And evidence

that Dodge City has hired non-elected Hispanic employees is “neither relevant nor probative” of

Senate Factor 7 and “has no bearing on whether [an election scheme] dilutes [minority] voting

strength or whether [minorities] have an equal opportunity to become involved in the political

process” 658 Overall, that relatively few Latinos have run for office in Dodge City weighs in favor

of Senate Factor 7. 659

          Plaintiffs also put forward lay witness testimony regarding the barriers that Latinos face

when running political campaigns in Dodge City, particularly in the at-large system. FOF ¶¶ 300-

306, 309-310, 334-. Lay witnesses credibly testified that these barriers discourage Latinos from

running for office. FOF ¶¶ 300-306, 309-310. Expert witnesses testified that it is more difficult for

Latino candidates to run in at-large systems because of the increased cost. FOF ¶ 239. Defendant’s

evidence in response—anecdotal testimony from a small number of individuals about the costs of

their own campaigns—does little to convince this Court that Latino candidates are able to have

electoral success in Dodge City.

          Based on all of this evidence, the Court finds that Senate Factor 7 weighs in favor of the

Plaintiffs.


They were not minority-preferred candidates. Once elected, they aligned with the white majority
and took positions counter to minority interests.”).
658
    Bone Shirt v. Hazeltine, 336 F. Supp. 2d 976, 1043 (S.D. 2004); see City of Carrollton Branch
of the N.A.A.C.P. v. Stallings, 829 F.2d 1547, 1560 (11th Cir. 1987).
659
      United States v. Blaine Cnty., Mont., 363 F.3d 897, 914 (9th Cir. 2004).


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          H. Senate Factor 8

          The Court concludes that Senate Factor 8 weighs in Plaintiffs’ favor because elected

officials in Dodge City are unresponsive to the interests and needs of its Latino constituents. A

lack of responsiveness is “evidence that minorities have insufficient political influence to ensure

that their desires are considered by those in power.” 660 Where elected officials are “largely unaware”

of the particularized issues of the minority community, there is generally a lack of

responsiveness. 661 Furthermore, while the City may be responsive to some needs of Latinos,

overall, the testimony demonstrated a lack of services and a disparity in the quality between where

Latino residents in Dodge City live and where white residents primarily live. 662

          The Court credits Dr. Bejarano’s testimony concluding that the Commission has been

unresponsive to the Latino community’s expressed concerns with respect to voting issues, health,

and racial discrimination. FOF ¶¶ 347-360. In particular, Dr. Bejarano testified that several indicia

of unresponsiveness that political scientists examine were met as to all three of these issue areas.

FOF ¶¶ 347-360. Dr. Bejarano also noted the consensus in the political science literature that

Latinos face a lack of responsiveness in jurisdictions around the country, but experience higher

rates of responsiveness when they live in districts with large Latino populations. FOF ¶¶ 347, 245,

248. Such would be the case in a single-member district plan in Dodge City, given that the Latino

population is large enough to constitute three majority-Hispanic districts. FOF ¶¶ 66, 212.


660
   United States v. Marengo Cnty. Comm’n, 731 F.2d 1546, 1572 (11th Cir. 1984); Sanchez v. State
of Colo., 97 F.3d 1303, 1325 (10th Cir. 1996) (“Responsiveness is a question of both kind and
degree.”) (quoting Clark v. Calhoun County, Miss., 88 F.3d 1383, 1401 (5th Cir. 1994)).
661
      Large v. Fremont Cnty., Wyo., 709 F. Supp. 2d 1176, 1226 (D. Wyo. 2010).
662
   See Campos v. City of Baytown, Tex., 840 F.2d 1240, 1250 (5th Cir. 1988) (A finding of
responsiveness   does     not    necessarily    preclude    a     §     2     violation.”).


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       Moreover, many of Plaintiffs’ lay witnesses testified credibly to the existence of “two towns”

in Dodge City: one in North Dodge where affluent residents are able to have their concerns heard

and marshal resources for investment in schools, roads, parks and infrastructure, and one in South

Dodge, where the poorer Hispanic community deals with poorly maintained roads, dilapidated

housing, worse public resources, less access to fresh food, less affluent schools, and unreliable

public transportation. FOF ¶¶ 362-368, 371-390, 413. Indeed, the City itself acknowledges this

tale of two towns, designating the entire area south of Comanche Street as an area of economic

need and none of the area north of Comanche Street. FOF ¶ 93. Witnesses testified that most Dodge

City Commission candidates—and certainly the ones who win election—do not campaign in South

Dodge and are not visible in the Latino community. FOF ¶¶ 408, 419-420. The vast majority of

current and former Commissioners live in North Dodge. FOF ¶¶ 368-370. The Court heard

testimony that the Dodge City government does not coordinate with, and is unresponsive to, the

UFCW, the meatpacking plant union whose members are heavily Latino. FOF ¶¶ 363-365. The

City is, at best, falling woefully short of even tracking these problems, let alone addressing them—

it does not track whether its City services are offered equitably, whether its budget decisions

disproportionately harm Latinos, or the racial voter turnout and registration gap in the City. FOF

¶¶ 413-415. And the City’s racial discrimination in policing—about which Latino leaders in the

City said the City was in denial, FOF ¶¶ 357-360, 415—persist to today. Dodge City’s own City

Manager called the police department’s decision to send an undercover police officer to secretly

record a June 2023 meeting among Latino community members “poor judgment” and “not a good

way of building trust with the Hispanic community.” FOF ¶ 416. While the history that led to the

existence of “two towns” may be complex, the overall lack of responsiveness to the needs of the




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Latino community indicates that the political process is not equally open to Latinos in Dodge City.

Based on this evidence, Senate Factor 8 weighs in favor of Plaintiffs.

          I. Senate Factor 9

          The Court concludes that Senate Factor 9 is met because the justifications proffered by

Defendant for the at-large election system are tenuous. The “tenuousness of the justification for a

state policy may indicate that the policy is unfair.” 663 While a jurisdiction “‘is entitled to make

policy choices about when and how it will address various priorities,’ a policy’s rationales

are tenuous when the enacted law ‘fail[s] to correspond in any meaningful way to the legitimate

interests [it] claims to have been advancing.’” 664

          Defendant did not introduce any convincing testimony explaining why the City must

continue to use the at-large method of election. FOF ¶¶ 433, 436. Instead, multiple witnesses

testified to expressly telling City officials about the impact of the at-large method of election on

the Latino community in Dodge. FOF ¶¶ 334, 351-352, 399-405, 429, 434. For example, in a

meeting initiated by Latino community leaders in Dodge City following a high-profile shooting in

2010 that sparked racial tensions, the City indicated that it would look into its use of at-large

elections in response to Latinos’ expressed concerns that they did not have political representation

on the Commission. FOF ¶ 424. One year after the City indicated it would look into the lack of

Hispanic political representation, the Ford County Clerk and a Voting Rights Act consultant

notified the Dodge City Mayor and City officials that the City may have Section 2 VRA liability.

FOF ¶¶ 425-426, 428, 394-397. The former City Manager testified that the issue of district-based


663
      United States v. Marengo Cnty. Comm’n, 731 F.2d 1546, 1571 (11th Cir. 1984).
664
   Petteway v. Galveston Cnty., No. 3:22-CV-57, 2023 WL 6786025, at *51 (S.D. Tex. Oct. 13,
2023), aff’d sub nom. Petteway v. Galveston Cnty., Texas, 86 F.4th 214 (5th Cir. 2023), reh'g en
banc granted, opinion vacated, 86 F.4th 1146 (5th Cir. 2023).


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elections had been discussed on-and-off for multiple years since 2010 and it was something that

the City would need to “monitor” as the city grew. FOF ¶ 427. The City again looked into district-

based election systems in 2018 and 2019 when a City Commissioner raised the idea of voting

districts before the City Commission. FOF ¶¶ 429-431. Indeed, a former high-level City employee

declined to express a view as to whether at-large election systems are favorable, said he “struggle[d]

with it” and failed to offer a compelling reason why the City must retain its current system. FOF

¶¶ 434.

          The main justification the City has offered is the abstract idea that at-large elections

promote “unity,” and the unsupported proposition that “the public” should choose the method of

election. FOF ¶¶ 436, 438. Yet all evidence in the record suggests the opposite. A public relations

firm hired by Dodge City found that “strengthen[ing] the position of the current at-large system”

was one of the challenges the City faced. FOF ¶ 435. Ms. Scoggins testified that elections under

the at-large system are not unified, but in fact bitterly contested and partisan; she faced a deluge

of negative campaigning from Commission candidates running on a partisan slate. FOF ¶¶ 308,

437. Ms. Scoggins also testified that none of the Commissioners or city employees she spoke with

expressed “unity” as a justification for sticking with the current at-large system. FOF ¶ 438. Instead,

both Plaintiffs’ and Defendant’s witnesses noted that—because the current Commissioners live in

North Dodge—they would likely have to run against each other if the City moved to single-

member districts, and as such some of those Commissioners would lose their positions. FOF ¶¶

436, 438. Ms. Scoggins testified that the Commissioners were “dismissive” about the issue and

had no interest in debating it. FOF ¶¶ 402, 438. The City changed its position on the importance

of debating the issue only when doing so benefited its position in this litigation. FOF ¶¶ 402, 438




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          Regardless, the very point of Section 2 of the VRA is to avoid subjecting a minority group

to the political will of the majority if that results in an electoral system that deprives the minority

of the opportunity to elect candidates of choice. Because the City’s defense of its at-large system

is at best questionable and unsupported, the Court finds that Senate Factor 9 weighs in favor of

Plaintiffs.

          J. Proportionality.

          One final note regarding proportionality. While it is not dispositive, “proportionality is a

relevant fact in the totality of circumstances” analysis. 665 “‘Proportionality’ as the term is used

here links the number of majority-minority voting districts to minority members’ share of the

relevant population.” 666 Here, the proportionality analysis involves “comparing the percentage of

total districts that are Latino opportunity districts with the Latino share of the citizen voting-age

population.” 667 Despite comprising more than 46% of the citizen voting-age population, FOF ¶ 49,

Latinos have no majority-Latino districts or opportunity to elect Latino-preferred candidates in the

at-large system. By contrast, Plaintiffs have demonstrated—through Dr. Oskooii’s illustrative

maps—that it is possible for Dodge City to comply with the Supreme Court’s directive of “‘rough

proportionality’” by adopting a single-member district system. 668

                                                  ***

          For the foregoing reasons, the Court finds that Plaintiffs have demonstrated by a totality of

the circumstances that Latines in Dodge City “have less opportunity than other members of the


665
      LULAC v. Perry, 548 U.S. 399, 436 (2006) (internal quotation marks omitted).
666
      Johnson v. De Grandy, 512 U.S. 997, 1014 n.11 (1994).
667
      LULAC, 548 U.S. at 436–38 (evaluating proportionality in that case by using CVAP).
668
      Id. at 438 (quoting De Grandy, 512 U.S. at 1023).


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electorate to participate in the political process and to elect representatives of their choice.” 669

Specifically, the Court finds that Senate Factors 1, 2, 3, 5, 7, 8, and 9, as well as the proportionality

factor, all support this conclusion.

                                           CONCLUSION

          Based on all of the evidence heard at trial, the Court concludes that Dodge City’s at-large

City Commission election scheme violates Section 2 of the Voting Rights Act. The Court therefore

concludes that Plaintiffs have carried their burden under both Section 2 and 42 U.S.C. § 1983, and

that they are entitled to equitable relief, including a change in the election system from at-large to

single-member districts.

          The Court shall issue a separate Order governing the remedial phase of this case, to include

the submission of proposed remedial maps for dividing Dodge City into five single-member

districts.




669
      Gingles, 478 U.S. at 43 (internal quotations omitted).


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Dated: March 22, 2024                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       Pursuant to D. Kans. Loc. R. 5.1(f), I hereby certify that on this 22 day of March 2024, a

true and correct copy of the foregoing was served via the United State District Court’s CM/ECF

system on all parties or persons requiring notice, including upon attorneys for defendant:

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